     Infectious Disease Control
     We are all concerned about infectious disease control in an institutional setting. Trousdale
     Turner Correctional Center has an infectious disease control program. In order to assist, be
     sure to report any and all incidents that result in body fluid spills to your unit housing
     officer or nearest staff member. There are special clean-up kits available throughout the
     facility for use in cleaning up body fluid spills. Inmates are required to have a Tuberculosis
     screening yearly.


    WHAT IS AIDS?


    AIDS stands for Acquired Immune Deficiency Syndrome. A virus called HIV causes AIDS. A
    person with AIDS can get sick with ·many illnesses that healthy people do not usually get. Some
    of these diseases can be fatal. There is no cure for AIDS. A milder form of AIDS is called AIDS
    Related Complex (ARC).

    AIDS has afflicted people mostly from these groups:
           1.       People who shoot up or skin-pop drugs.
           2.       People who receive blood or blood products, which had the virus.
           3.       Gay and bi-sexual men.
           4.       People who had sex with any of the above people.
           5.       Babies born to parents with the virus.

    How do I know if I have the virus?
    There is a test. The nurse or doctor takes one tube of blood from your arm and sends it to the
    lab to be checked for the virus. Talk to a nurse or doctor in the medical unit or infirmary to find
    out more about the test.

    How does AIDS spread?
    The HIV virus is carried in blood, semen, and vaginal fluid. The blood, semen, or vaginal fluid
    from an infected person must go directly into another person. Infected semen can spread the
    virus during vaginal, anal, or oral sex. Sharing needles during drug use also spreads the virus
    because there is always a tiny amount of blood left on or in the needle.

    You cannot get AIDS from:
           1.      Using plates, glasses, or forks after a person infected with the virus.
           2.      Breathing the same air as someone infected.
           3.      Doing the laundry of an infected person.
           4.      Hugging or shaking the hands of an infected person.
           5.      Delivering mail to or from an infected person.
           6.      Cleaning the cell or the bathroom after a person infected with the virus has been
                   there or from toilet seats or water fountains.
           7.      Being beside or near an infected person when he coughs, sneezes, or spits.

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             8.    Sharing a cell with an infected person.
             9.    Swimming pools.
             10.   Mosquito bites.
             11.   Food.

    HIV IS NOT IN THE AIR. HIV IS SPREAD THROUGH BLOOD, SHARING NEEDLES, SEXUAL
    CONTACT, AND INFECTION OF UNBORN BABIES DURING PREGNANCY.
    Kissing does not spread HIV. In fact, some studies show that saliva actually kills the virus.
    However, if someone who is infected has a sore or cut in the mouth and blood mixes with
    saliva, the blood could possibly spread the virus.

    High Risk Behavior
    1.     Having sex (anal, vaginal, or oral) with someone infected with HIV
    2.     Sharing needles used to shoot drugs (including steroids).
    3.     An infected pregnant woman can pass HIV on to her unborn baby.
    4.     Through injection of infected blood or blood products
    5.     Sharing tattoo needles.

    Early Symptoms of AIDS
    1.     Tiredness, lightheadedness, continuous headaches.
    2.     Severe weight loss.
    3.     Prolonged unexplained diarrhea.
    4.     Unexplained fever, chills, or night sweats.
    5.     Swollen glands in the armpits, neck, or groin.
    6.     Discolored bruises which may be flat or raised.
    7.     White spots in mouth or on tongue.
    8.     Heavy persistent cough.

    Remember, other illnesses can have the same symptoms. However, if symptoms continue to
    get worse, contact a doctor.

    How do I avoid HIV?
    1.  Say "NO" to sex.
    2.  Do not share razors or other instrumen ts that could become contamina ted with blood .



    Inmate Information on AIDS/HIV
    Brochures are available upon admission to TTCC and during sick call, and are located in the
    entrance to the clinic. Inmates have access to all educational material on an "as requested "
    basis.

    Formal AIDS education classes will be held annually in the education classroom and will be
    conducted by a health professional or mental health employee. The time and date of this class

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                                                                CCI 000602
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    will be posted one (1) week prior to the class on the housing unit bulletin boards. This class will
    be rotated on an annual basis to include all inmates in the segregation and protective custody
    units.

    If you have questions or concerns related to AIDS put ·in a request for sick call. As your reason,
    you may write, "health education information," or any reason you choose. You will be
    scheduled for sick call. All sick call visits are held in private. Tell the nurse you want
    information on AIDS. Discuss your concerns. If the nurse cannot give you enough information,
    you will be referred to the mid-level or the doctor. You may be referred to mental health
    services or you may choose to go there yourself. Regular AIDS education updates will be
    offered to enable you to receive information no less than once a year.


    CHAPTERS
    LEGAL, SENTENCE AND RELEASE INFORMATION

    Legal Services
    Notary services are available through the library, chaplain and unit management. If you have a
    legal deadline and need to go to the library or if you need a notary for your legal work there are
    approved notaries and library schedules located on the bulletin boards inside of the sally port
    and/or housing areas. You need to best manage your legal research according to these
    schedules.

    To ensure access to the courts, CORECIVIC provides Lexis Nexis to the entire population. All
    appointments will be completed according to the library pass system.

    Inmate legal assistants are also available to assist you in filing legal request forms and
    questions. The names of these assistants are also posted in the housing units and in the library.

    You may submit a confidential request for attorney conference form, or you may fill out an
    inmate request form addressed to the facility attorney/lawyer and place it in the mailbox. The
    forms and envelopes are available in the library or from the unit management team. Access to
    legal reference materials can be made through the Librarian.




    Sentence Information
    Sentence Credits are awarded according to adherence to the specific job descriptions. Each
    inmate who is assigned has the opportunity to earn up to six (6) program credits per month.
    This does not include any "behavior credits" or "bonus credits" which are awarded by TDOC.

                                                                                  th
    Program credits for the current month are entered on TOMIS no later than the 5 workday of
                                                                                          th
    the following month. The program and behavior credits post at midnight on the fifth (5 )

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                                                                CCI 000603
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   workday of each month. If convicted of a class "A" disciplinary offense, no program and
   behavior, including bonus behavior credits, will be awarded for that month. Additional
   informatio n can be found in TDOC Policy 505.01.

    Any questions regarding your sentence and/or release should be referred to your case manager.

   Release Procedures
   After TTCC receives release authorization from Tennessee Departme nt of Corrections, you will
   be called to the intake & discharge area. You will be allowed to make a phone call to arrange for
   pick up.

   Probation/Parole Procedures
   The Tennessee Parole Board has institution al probation/ parole officers (IPPO) assigned to TTCC.
   She/he is on-site at the institution on a weekly basis and meets with inmates regarding parole
   and/or determina te probation on an individual basis as needed. The IPPO is employed by the
   State of Tennessee, not CORECIVIC. Parole hearings will be conducted at TTCC for eligible
   inmates. Address any questions you have to your unit manager, case manager or directly to the
   IPPO.

   CHAPTER9
   SECURITY PROCEDURES
   Counts
   For the safety and security of the facility TTCC has established designated times to conduct
   facility counts. Facility counts are extremely important and adherence to facility procedures,
   policies, and directives are required by the inmate population.

                                                                                                       all
   Standards for count: television off, headphones off, no microwave usage, proper uniform, and
   inmates will go to their bunk/cell and remain until the facility count is clear. Inmates are
   prohibited from moving from place to place during any count unless directed to do so by a
                                                                                                    staff
   member. Any act which intentiona lly disrupts the  facility count will be treated  as a threat to the
   safety and security of the facility.

   Formal Counts at Trousdale Turner Correctional Center is as follows:
   0115 Standing Count
   0515 Standing Count
   1000 Standing Count
   1500 Standing Count
   2100 Standing Count
   2230 Standing Count

   Note: Prep for count is 30 minutes prior to all Standing Counts

   Searches
   All persons, places and property are subject to search at any time, by any staff member in the
   performance of their duties. All property may be searched for contraband. Each inmate is
                                                                                             57 / Page




                                                                CCI 000604
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    responsible for all items within their assigned bunk, work area, or on their person. All
    suspicious items will be confiscated for evaluation as evidence and the shift supervisor will
    determine final disposition of confiscated property. When a search is conducted of any area
    inside or outside the facility, inmate(s) will not observe, view, stand or pass by the search
    area.
    Contraband
    Introducing or possessing contraband into the facility is a serious offense which will result in
    disciplinary action. Additionally you may be charged with CONTRABAN D IN A PENAL
    INSTITUTION,is a Class c Felony, whic::h carries a maxhilum sentenc·e of six ye:ars and a fine of
    $100,000.00.

    Drug Testing
    The Tennessee Department of Correction and Trousdale Turner Correctional Center are
    committed to a policy of zero tolerance of inmate drug/alcohol use within the facilities. All
    adult inmates incarcerated in a State funded correctional facility shall be subject to urinalysis
    testing at any time during their incarceration.

    Inmates will be subject to disciplinary action for the following:
    1.     Failure to submit to testing or provide a urine sample within two (2) hours of the
           request.
    2.     Tampering or attempting to tamper with the specimen or test results.
    3.     Receiving a positive test result for which there is no satisfactory explanation.

    In all instances where an inmate is convicted of the charges of "Drug-Possession," "Drug-
    Selling," "Intoxicated Drugs," "Positive Drug Screen," "Refusal of Drug/Alcohol Screen,"
    "Intoxicants-Possession," "Intoxicated-Alcohol," "Intoxicants-Use," or "Inhalants," or the inmate
    is in possession of or has ingested any controlled drug not specifically prescribed, or the inmate
    is found attempting to alter, contaminate, or adulterate the test sample in any way, in addition
    to the appropriate disciplinary sanctions, the warden shall modify the inmate's visitation
    according to the following:

    a.     First Offense: * Visitation shall be suspended for three (3) months.
    b.     Subsequent Offenses: *Visitation shall be suspended for three (3) months.
    c.     Attorney and minister visitation are not affected by this section .

    *Inmates are notified by the disciplinary board chairman, informing them of the suspension
    and dates effective.

    Inmates convicted of a positive drug test, after the positive confirmation test, shall be required
    to incur the cost of the confirmation test in addition to any other sanction imposed by the
    disciplinary committee.

     Drug/Intoxicant testing of inmates may be conducted as follows :


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        1. When facility staff has a reasonable suspicion that an inmate has used
            Drugs/Intoxicants.
        2. When the inmate is found to be in possession of suspected drugs/ intoxicants, or when
            suspected drugs/ intoxicants are detected or found in an area controlled, occupied or
            inhabited by the inmate.
        3. When the inmate is observed to be in possession of or using drugs/ intoxicants, but
            facility staff is unable to obtain a sample of the substance.
        4. On a routine basis when inmates return from:
                a. A furlough (including before),
                b. A work-release program or other temporary release program,
                 c. An outside work detail.
         5. On a random basis, utilizing an appropriate random testing procedure that is
             approved by the warden, the entire inmate population of the facility, any
             identifiable program area, or any identifiable classification of inmates may be
             tested. A random testing program will not be used for the purpose or have the
             effect of harassing or intimidatin g any inmate or group of inmates.

    Lockdown Status
    There are times your housing unit or the facility may be placed on lockdown status. During this
    time inmates must remain on their bunk or in their cell. Lockdown status is used to regain
    control after a disturbance, assist in an investigation, or to restore the unit to normal working
    procedures. Lockdown status is a temporary situation and is not to be used as punishment.
    During lockdown status the facility's normal operations are stopped. Inmates should be aware
    that procedures and/or time schedules for pill call, medical appointme nts, chow hall, showers
    etc. may be altered/revised, to fit the needs of the facility.

    The housing unit or facility will resume normal operations once the Warden of Trousdale Turner
    Correctional Center authorizes the end of the lockdown.


    Security Threat Groups                                                        .
    It is the practice of TTCC to manage security threat groups (Gangs) through zero-tolerance and
    suppression of all STG related activity. Inmates are prohibited from participating in gang related
    activity and will not be allowed to intimidate and control other inmates, staff or the public while
    at this facility. If an inmate is found to be participati ng in gang activity, displaying gang hand
                                                                                                        be
    signs, or found in possession of gang related and or gang suggestive material, that inmate will
    subject to disciplinary action. Any questions or concerns regarding STG's/gangs should         be
    referred to the security threat group office.

    Emergencies
    This institution has emergency plans for fire, power outages and other emergencies. Generally,
    you will be called on to evacuate your area or will be directed as to what action to take. You
    should familiarize yourself with the posted evacuation routes so you will know them if an
    emergency arises.


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    Evacuation/fire drills are held periodically to help you familiarize yourself with CORECIVIC-TTCC
    evacuation procedures. It is your responsibility to participate in these drills as directed.

    As part of our safety program, you are not allowed to store flammable materials in your
    housing area or to accumulate materials that may become a safety hazard. You may not use
    paper sacks for trash bags. There are trashcans available in the dayrooms.

    Setting a fire with paper or other materials is a violation of safety rules and rules of inmate
    conduct. Setting a fire will result in disciplinary action and may result in restitution for damages,
    and/or prosecution. Also, you may lose the privilege of having paper materials in your personal
    property.

    Each inmate is responsible for quickly and quietly following the instructions given by staff
    during an emergency.

    Every effort is made to provide a safe environment for each inmate throughout the facility.
    Inmates are provided with training and equipment to remain safe as they carry out their daily
    job/program assignments. It is the responsibility of each inmate to use the safety equipment
    and follow the instructions given to him in the performance of his work to prevent injury and/or
    health hazards.

    Newspapers, packaging from commissary items, and other trash will be disposed of daily.
    You are advised that setting or causing a fire of any kind is a violation of safety rules and rules
    of inmate conduct and will result in disciplinary action and can result in criminal prosecution.
    Tampering with or damaging fire equipment such as fire extinguishers, evacuation routes,
    smoke detectors, sprinkler heads, alarm devices, alarm panels, door closers, and/or blocking
    exit doors is a serious violation and will result in loss of employment disciplinary action and can
    result in criminal prosecution

    Inmates must immediately report any safety hazards to their work supervisors. Also, inmates
    are encouraged to discuss safety-related questions or issues with their work supervisors, case
    managers, correctional counselors, and unit managers.
    CHAPTER 10
    DISCIPLINE AND OFFENSES

    Disciplinarv Policv and Procedures
    It is the policy of CoreCivic to ensure that facility rules and regulations are enforced and that the
    due process rights of inmates are protected throughout the entire disciplinary process. This
    handbook contains important information pertaining to the rules and regulations of TTCC. Read
    the handbook carefully. All staff members are authorized to initiate the disciplinary process and
    to bring charges, when appropriate, against an inmate.

    Disciplinary procedures are governed by TDOC Policies 502.02 and 502.01. The central
    disciplinary panel at Trousdale Turner Correctional Center is a fair and impartial board

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                                                                                                     from
   comprised of at least one (1) ranking correctional officer and two (2) other staff members
                                                               d to hear all class "A" disciplina ry
   departments other than security. This body is impanele
                                                                                                be taken.
   offenses and class "A" and "B" offenses for which accumulated sentence credits may
                                                                                             Previous
   The hearing officer may hear all other class "B" offenses and all class "C" offenses.
                                                                                           actions when
   disciplinary in the inmate institutio nal file are considered by the board in punitive
   an inmate is found guilty of an infraction   .

                                                                                             ioner's
    Class A and B disciplinary may be referred, at the warden's discretion and the Commiss
                                                                                    inmate found
    Designee's approval, to the local district attorney for further prosecution. An
                                                                                               e if he
    guilty of a Class A or B infraction may be reviewed by his assigned counselor to determin
    needs to meet the reclassification board   for an increase in custody level.

                                                                                               in his
    If an inmate receives a disciplinary while at TTCC, there are advisors available to assist
                                                                                    staff members
    case preparation and hearing on his behalf. These include both inmates and
                                                                                          ry board
    who have been trained in disciplinary procedures at this institutio n. The disciplina
    chairperson can provide you with    a list of inmate and staff advisors.

                                                                                          (30) days
    Depending upon the seriousness of the offense, an inmate may receive up to thirty
                                                                                      nal behavior. If
    punitive segregation per charge, if convicted, depending upon his past institutio
                                                                                       advisors are
    convicted of a disciplinary infraction, the inmate has the right to appeal. Inmate
    trained and available to assist all inmates  in this area.

                                                                                                 will be
    All inmates that are found guilty of Refusal to Participate (RTP) the following sanctions
                                                                                           to
    imposed per Policy 502.02.When an inmate is convicted of the charge of "Refusal
                                                                                                     d, in
    Participate" and the job coordina tor determines that a job/prog ram dismissal is warrante
    addition to any other punishment imposed, the inmate's television, radio, and tape
                                                                                                   ,
    player/compact disc player, or any other recreational electronic devices will be removed
                                                                        items and  visitation privileges
    commissary purchases will be will be restricted to basic hygiene
                                                                                                for 30
    will be limited to attorneys and ministers only. These restrictions will remain in effect
                                                                                              been
    days after accepting new job/prog ram assignment. In instances where inmates have
                                                                                            will remain in
    convicted and are permitte d to remain in the same job/prog ram, these restriction
                                                       the day  of the incident if he is found  guilty of
    effect for 30 days. An inmate will not be paid for
    Refusing to Participate (RTP).

                                                                                                 he may
    In all cases in which an inmate is found guilty, or pleads guilty to a disciplinary offense,
    be assessed a fee in accordance to TDOC Policy 502.02.

    Prohibite d Acts and Range of Penalties
                                                                                            Offenses are
    The disciplinary offenses defined in TDOC Policy 502.05, Definitions of Disciplinary
                                                                                              for the
    classified as either Class A (most serious), B or C (less serious). Punishment imposed
                                           should  be related  to the seriousness of the offense  and
    commission of a disciplinary offense
                                                       Disciplina ry action may include, but not  be
    uniform in the application through the system.
    limited to, any of the following:


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                                                                CCI 000608
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    1.    Dismissal of charges or probation/suspended sentence
    2.    Verbal warning
    3.    Written warning
    4.    Restriction of privileges
    5.    Punitive segregation
    6.    Referral to the district attorney for criminal prosecution
    7.    Recommendation for reclassification to higher custody level
    8.    Recommend change in job/program assignment or removal from job/program
    9.    Loss of sentence credits
    10.   Reduction in pay scale
    11.   Assignment of extra duties
    12.   Fee assessed
    13.   Any combination of the above.

    VISITATION RESTRICTIONS
    In addition to any sanctions imposed by the disciplinary hearing officer, all incidents involving
    contraband or violence will result in the suspension of all visitation for three months, followed
    by six months of non-contact visitation. Additionally any violation of visitation rules will result in
    the suspension of visitation privileges as determined by the Warden or his designee. Visitation
    privileges are solely determined by the Warden or his designee.

    CHAPTER 11
    INMATE SERVICES

    A variety of programs and services exists at CORECIVIC-TTCC for your welfare and convenience.
    Feel free to ask your unit manager and unit management staff any questions you may have
    about programs and services. Also, you are welcome to ask specific department heads or
    supervisors about the programs and services for which they are responsible. During your
    incarceration you may also communicate with department heads and supervisors through
    inmate request forms.


    Ha.ir Core Services
    There are barber shops located in designated areas of each the housing unit buildings and
    operated by the institution with inmate barbers to meet your hair care need.

    The barber shops are open Monday-Friday for regular haircuts. Inmates have been approved to
    wear certain hairstyles that do not conflict with the intuitions safety, security and hygiene.
    Refer to posted barber shop procedures and schedules located in the housing buildings. No
    more than two (2) inmates are allowed in the barber shop at a time, including the barber. No
    more than one (1) barber is allowed in the barber shop at a time. The barber shop will be closed
    during count and chow time, 30 minutes prior to shift change and during shift change.

    The following procedures outline the barber shop operation :



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                                                                CCI 000609
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    1.     Inmates are assigned through the inmate job selection process as barbers on an "as
           needed" basis.
    2.     Inmates may receive hair care weekly.
    3.     Inmates who are not designated as barbers and/or stylists will not handle any hair care
           equipment nor perform hair care services on any inmate.
    4.     Inmates must sign up with officer to be placed on hair care list. Inmates may not loiter in
           designated hair care areas. Inmates who are waiting for hair care services, but leave the
           housing unit before they receive services, will lose their turn for that day .. If you are not
           receiving hair care services you are not authorized to be in the designated barber shop
           areas.
    5.     Only "standard" haircuts; no box cuts, flat tops, fades, mohawks, bowl cuts, ducktails,
           razor cuts designs, weave etc. will be allowed in the facility.
    6.     All inmates will adhere to the establish~d rules of designated hair care area or will not
           receive hair care service
    8.     Items such as commissary, Walkman radios, personal grooming equipment/supplies,
           etc. are not permitted in the designated hair care area.

    Chaplain Services
    It is the intention of Trousdale Turner Correctional Center to meet the religious needs of the
    inmate population. The institution and chaplaincy staff will provide worship, religious
    instruction, and spiritual guidance/counseling for inmates on a voluntary basis. Free literature,
    if available, will be provided upon request including various religious materials, bibles,
    devotional material, Bible studies, etc. Regular and special worsh ip services and religious study
    activity schedules will be posted in each housing unit.

    Through the use of religious service volunteers, every effort will be made to meet the needs of
    all recognized religions.

    Inmates may receive visits from the clergy. Names of the approved clergy and the inmates they
    are allowed to visit shall be provided by the chaplain and remain at the visitor entrance.
    Approved clergy may schedule appointments to visit with inmates no less than 24 hours in
    advance of the intended visit.

    Any individual has the right to complete form CR3118 and submit to the Chaplain for request of
    religious property or preference items. Religious headgear representing the inmate's faith
    group in compliance with t he TDOC Religious Property List may be worn throughou t the facility.
    Inmates may submit form CR3118 for approval from the Chaplain/Warden to wear additional
    religious items during their worship service. Inmates are allowed to wear religious pendants
    representing their religious preference as along it doesn't pose a security threat or STG
    affiliation. When in the hallways and others areas of the facility excluding the designated
    religious area, pendants, beads, rosary, crucifix and crosses must be worn inside of uniform
    shirts. Inmate pins of religious symbols may be worn in the hallways. They must be pinned on
    an undershirt and not on the state issued uniform blue shirt.


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                                                                CCI 000610
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     The approved religious property/material vendor for this facility is Union Supply. Religious
     property is not exempt from all space requirements. A listing of all approved religious property
     can be retrieved from the chaplain.

     Religious programs shall be open to all inmates unless such participation is limited to maintain
     the order and security of the institution. Inmate attendance is voluntary.

     There are weekly services and a variety of religious activities available. Schedules are posted
     throughout the institution. Inmates are encouraged to declare a religious preference during the
     classification process.

     Death Notification/Funeral home visits- If you find out there has been a death in your family,
     notify a nee unit management staff member to inform the chaplain of your family member's
     death. The chaplain will verify the required information and initiate the documentation to
     submit to the warden and/or designee approval for visitation. If the unit management team is
     unavailable notify the Shift Supervisor of the information.

     Commissary
     The commissary is available for the purchase of different types of food items, personal hygiene
     items, pens/paper, etc. Commissary order guides/order forms are available in housing units
     listing the items available and the cost to you plus tax on taxable items. Commissary items will
     be delivered to you in your assigned housing unit. It is your responsibility to submit a properly
     filled out commissary order form using either black ink pen or a #2 pencil.

     Inmates will be allowed to order commissary one time per week and may order up to $75.00
     per order {with the exception of special orders). Commissary will be held twice a day and no
     one will be allowed to leave work or school assignment to receive commissary. The commissary
     schedule is posted in the housing units. Inmates that move from one unit to another unit will
     receive commissary with their newly assigned housing unit.

     You will only receive commissary per posted schedule. Inmates will be notified of changes per
     memo.

     Items that may be purchased from the commissary may not be purchased from any other
     source.

     All purchases must be for you . Inmates are not permitted to make purchases for other inmates.
     Failure to abide by this rule can result in disciplinary action and loss of commissary privileges.
     All commissary sales are final. You are responsible for checking your merchandise before you
     sign the receipt.

     It is recommended that if you know you are going to be released prior to your delivery day that
     you NOT order commissary for that week. If you do submit an order and are released prior to
     your commissary day your funds will be refunded the following Sunday.


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      Problems with the commissary should be referred to the correctional counselor who will
      contact the commissary staff and attempt to work out the issues.

      Inmate Trust Fund
      All inmate funds must be done electronically by the family and friends . TTCC does not handle
      any cash, checks, money orders or deposits for inmates. Cash is considered contraband for the
      inmate population and if found on your person or among your possessions will result in
      disciplinary actions.

      Money orders along with a Money Order Deposit Slip (JPay) can be mailed to JPay, P. 0. Box
      279010, Miramar, FL 33027. Funds can also be sent three easy ways:

  •   Online at www.JPay.com
  •   By phone 1(800)574-5 729
  •   At any MoneyGram - including Walmart and CVS

      For withdrawals other than those mandated by statute or policy, the inmate shall submit a
      request in writing by using a personal withdrawal request or commissary order form. After the
      personal withdrawal request has been completed and approved, it will be forwarded to the
      trust fund office where it will be entered into TOMIS for processing. TDOC central trust fund
      will then issue a check in the self-addressed stamped envelope, which is provided by the
      inmate. This process will take up to fourteen (14) days. Credit is not available; you must have
      the funds available in your account at time of purchase.

      If you wish to know your current account balance, ask your case manager.

      Indigent Services
      If you do not have money on your account you may be eligible for indigent services. Indigent
      inmates are those who have an account balance of $6.00 or less for the 30 days preceding their
      requests. Upon intake CORECIVIC provides the basic hygiene indigent supplies. If you have been
      incarcerated here for 30 days after your intake date fill out an inmate request forms and
      forward to your Unit Team to address your hygiene indigent needs. Per your request an
      indigent inmate will receive eight stamped envelopes, twelve sheets of paper, four razors, one
      pen, two shampoos, one deodorant, one tube of toothpaste, and three bars of soap monthly.

      To get an enveloped mailed out of the institution, the envelope must include the indigent
      inmate's name, Tomis number, and housing assignment and return address.


      Address and Travel Information
       Physical Address (ONLY)                          Mailing Address (ONLY)




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      Trousdale Turner Correctional Center              Inmates Name:
      140 Macon Way                                     TOMIS Number
      Hartsville, Tennessee 37047                       Trousdale Turner Correctional Center
      (615) 808-0400                                    140 Macon Way
                                                        Hartsville, Tennessee 37047


     Mail not addressed as indicated above may result in the mail being returned to sender.

     No forms of cash or checks are to be mailed in and will be returned to the sender.

     Trousdale Turner Correctional Center is located approximately 17 miles from both Gallatin and
     Lebanon, Tennessee.

     From Gallatin, Tennessee - travel East Main Street /TN 25 East to Hartsville, Tennessee. Take
     East Main Street/ TN 25 to Jim Goins Ln, take first right to Trousdale Way turn slight right to
     Macon Way. 140 Macon Way is on the right.

     From Lebanon, Tennessee - travel North Cumberland St./ TN 10 / TN 25, turn right onto TN 10 /
     TN 25 East to Hartsville, Tennessee. Take TN 25 to Jim Goins Ln, take first right to Trousdale
     Way turn slight right to Macon Way. 140 Macon Way is on the right.

     Mail not addressed as indicated above may result in the mail being returned to sender.

     No forms of cash or checks are to be mailed in and will be returned to the sender.

     Library
     Trousdale Turner Correctional Center maintains a library for inmate use. The library is operated
     as part of the education program and is under the direction of a full-time professional librarian.
     Certain policies and procedures for TTCC are available to you and are located in the inmate
     library. It is important that you take the opportunity to read them because it is your
     responsibility to comply with the institution's rules and regulations.

     A wide variety of services are available through the library program. They include:

    1.      Leisure reading book loaner program
    2.      A wide selection of weekly/monthly magazines
    3.      Typewriter availability
    4.      Legal research publications and references
    5.      TDOC and institutional policies for review
    6.      Grievance and disciplinary appeal forms
    7.      Legal aids to assist inmates with legal research
    8.      Notary services

    A library schedule is posted in the housing units. Scheduling changes will also be posted. In
    order for an inmate to receive library services, he must have an inmate ID card to check out

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                                                                CCI 000613
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      library materials. All inmates are expected to comply with designated rules and procedures of
      the library. Failure to do so can result in suspension of library privileges, disciplinary action, and
      compelled repayment for lost/stolen materials.

      Books and magazines must be requested in advance.

      The librarian will collect request forms from inmates in segregation on a weekly basis. The
      requested materials will be delivered within 48 hours. Punitive segregation inmates shall only
      be permitted to access legal or religious study library materials.

      TTCC Library operates on a pass system. In order to obtain a pass to visit the Library, inmates
      must complete a Library Attendance Form that requires the following:
  •   Date
  •   Work/Class Assignment
  •   Name
  •   TDOC#
  •   Housing Assignment
  •   Work/Class Supervisor
  •   Services Needed: i.e.: Book Checkout/Check - in, Notary, Magazine, Newspaper, typewriter ,
      access to Law books, Citations, Consult with an assigned legal Aide, Photo Copies
      Upon completion, the library Attendance will be dropped in the institutional mailbox. Upon
      receipt in the library, a pass will be forwarded to the inmate with the inmate's scheduled time
      listed.

      Inmates will be afforded access to equipmen t (tables, chairs, and typewriters), office supplies,
      and photocopy services to enable them to prepare legal documents. Inmates on punitive
      segregation, mental health seclusion, and certain medical status are prohibited from possessing
      personal typewriters.

      Copies may be made of the law books and certain legal documents contained in the library.
      The charge for copies will be posted in accordance with CORECIVIC Policy 14-8, Access to
      Courts. If an inmate qualifies as indigent, a maximum amount of ten pages may be copied from
      law books and documents. Case law will not be copied for indigent inmates, as it is only
      necessary to provide the citation to the court.

      Procedures for photocopying at Trousdale Turner Correctional Center are as follows:
      A.    Photocopying request form must be filled out.
      B.    The  request form, the legal material to be copied, and a completed withdrawa l form
            must be left at the circulation desk.
      C.    The staff person will have the photocopying completed within a reasonable time frame.
      D.    The cost will be charged to the inmate's account.

      Appointments are required for access to the legal research collection and typewriters. The
      typewriter s are provided for "legal purposes" only (correspondence with your attorney,

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      motions to be filed in court, etc.}. Also, a photocopy service is available for "legal paperwork" at
      25 cents per page.
      Reference materials (including legal research collection), newspapers, and designated
      magazines are available for use in the library only.

      Fiction and non-fiction books are available. In order to check out library books an inmate must
      present his/her I.D. card. Each inmate is responsible for the books he/she checks out. Also, the
      inmate can be subject to disciplinary action and loss of library privileges for violating library
      rules. The inmate will reimburse th~ library for damaged or lost books.

      Inmates may have access to the media. A copy of the facility policy and procedures is located in
      the facility library or information may be obtained from your unit management team.

      Inmates are welcome to visit the library as scheduled and learn about the materials and
      services available.

      Mai/room

      We will make every effort to process your mail in a timely manner. For this to occur, all mail
      sent to or from you must include your commitment name, your TOMIS number and the mailing
      address for CORECIVIC/TTCC. Your commitment name is the name that Tennessee Department
      of Corrections has you incarcerated with. This is the name in the computer and needs to be the
      name on your mail or it will be returned to sender.

      Incoming mail will be opened and inspected for contraband and enclosures such as money
      orders. Personal checks, cash and stamps are not permitted and will be returned to sender if
      received. Cash will be processed as contraband.

      No forms of cash or checks are to be mailed in and will be returned to the sender.

      General correspondence mail will be distributed to the inmate population by unit staff on a
      daily basis Monday through Friday, excluding state holidays. A mailbox is located in front of
      each chow hall for you to drop your letters in. Inmates in restrictive housing areas have access
      to mailboxes in their housing units.

      Inmates are prohibited from receiving and or having in their possession any type subscriptions,
      books and/or magazines containing any type of nudity or sexually explicit material.
      Below are the definitions outlined in TDOC Policy 507.02:
  •   Features: Containing depictions of nudity or sexually explicit conduct on a routine or regular
      basis or promotes itself based upon such depictions in the case of individual one-time issues.
      Publications containing nudity illustrative of medical, educational, or anthropological content
      may be excluded from this definition.




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  •   Nudity: A pictorial depiction where genitalia or female breast are exposed. Publications
      containing nudity illustrative of medical, educational, or anthropological content may be
      excluded from this definition.
  •   Sexually Explicit: A pictorial depiction of actual or simulated sexual acts including sexual
      intercourse, and or oral sex, or masturbation or material which promotes itself based upon
      such descriptions on a routine or regular basis or in individual one-time issues.

      Mail is defined as correspondence, printed material, or packages sent to and from an inmate by
      the postal service.

      The mailroom is open five (5) days per week, Monday through Friday, excluding State holidays.
      Mail will be collected Monday through Friday by 8:00 a.m. from the inmate mailboxes and
      processed for the postal carrier. Inmates are not to bring any general mail to the mailroom
      window once mail has been collected from the boxes each morning. All inmates will be
      responsible for the contents and control of their outgoing mail. All outgoing mail will be
      stamped indicating that it is from an inmate in the TDOC. Inmates must pay all postage costs.

      In accordance with TDOC Policy 507.02, all incoming mail (including packages) must bear the
      inmate's full committed name, TDOC number, and correct institutional address.

      Government and retirement checks shall be made out to the inmate and not to Trousdale
      Turner Correctional Center. The inmate's TDOC number should also be indicated on the check.
      Checks made out to Trousdale Turner Correctional Center cannot be processed and will be
      returned to the sender. Cash and personal checks may not be received and will be returned to
      the sender.

      Per TDOC Policy 507.02, "Inmates not personally known by staff who receive mail or who sign
      receipts for mail shall be required to present an institutional ID card".

      Lega l/Privileged M ail
      Legal/privileged mail will be opened and searched in the presence of the inmate in the
      designated housing unit area. Each inmate must produce his ID card prior to receiving any
      legal/privileged mail.

      All incoming mail must have your commitmen t name and TOMIS number in order to be
      processed properly. Mail without your commitmen t name and TOMIS number will be returned
      to the sender at your expense. Incoming mail postage will be removed prior to distribution.

      Incoming mail from lawyers/attorneys and judges will be opened only in your presence.
      This mail is considered "privileged correspondence" and comes from courts, judges, court
      clerks, attorneys, elected officials, correctional and law enforcement administrators and parole
      authorities. You are required to sign for privileged correspondence.



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     Outgoing legal privileged correspondence will not be opened unless there exists a reason to
     warrant inspection for safety and/or security reasons. If legal privileged correspondence is
     suspected of containing unauthorized items the mail will be opened and searched in the
     inmate's presence. Any misuse or criminal activity involving mail will result in disciplinary action.
     Additionally any criminal activity involving mail is a federal offense and appropriate authorities
     will be notified.
      If this event occurs the reasons and the inspection of legal privileged correspondence will be
     documented.

     Publications such as books and periodicals must come from a facility-approved publisher. No
     hard back books will be accepted. You may feel that it takes a long time to receive mail
     compared to people who live on the outside. The mail time is only a day or so longer than if
     they were on the streets, but usually it takes the same amount of time . We do not hold mail
     unless you are under investigation for some reason. Excluding weekends and holidays or
     emergency situations, incoming and outgoing letters are held for no more than 48 hours and
     packages (if allowed) are held no more than 72 hours.

     Trousdale Turner Correctional Center Policy 16-1, entitled Resident Mail, is available for you to
     read in the inmate library. Any unauthorized use of mail will be confiscated and you may
     receive disciplinary actions.

     Packages
     Packages will be processed through the mail room. Only items on the approved property list
     will be allowed. Any item sold in the institutional commissary will not be allowed to be
     received in packages. The number of items must conform to property inventory limits. All
     packages are inspected for contraband. All items listed on the property list must be mailed to
     the inmate and received during his respective package month .

     Inmates are afforded the opportunity to order from mail order catalogs. Packages may only be
     received from facility approved vendors. The approved vendors are Union Supply and
     Amazon.

     The content of all packages received shall be subject to the following limitations:
     • Per TDOC Policy 507.02, "Packages may only be received by an inmate directly from a retailer
     or manufacturer. Individuals on the inmates approved visitors list may also purchase items or
     packages from a retailer or manufacturer, according to the guidelines in section VI. (G) (3) (a-e),
     and according to TDOC Policy 504.01. All items ordered must meet the specifications listed on
     the inmate personal property list, i.e., clear plastic t .v., etc ...."

     Inmates will only order from the approved vendor catalogs, located in the library, and unit
     team 's offices.




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      Minimum and Medium custody inmates are permitted to order one (1) package every three (3)
      months. Close custody and maximum custody inmates are permitted to order one (1) package
      every six- (6) months.

      Inmates convicted of a disciplinary offense, excluding verbal warnings, will not receive
      packages, except for clothing which are listed on the personal property memorandum. (Items#
      1-10), according to the below schedule:

  •   Class A disciplinary - twelve (12) months restriction from conviction date
  •   Class B disciplinary - nine (9) months restriction from conviction date
  •   Class C disciplinary - six (6) months from conviction date

      The procedure for ordering from a vendor is located in the housing units. You MUST complete
      a withdrawal form, and attach a stamped addresses envelope, then forward the form to your
      Case Manager to complete for processing. The case manager will verify your disciplinary and
      eligibility status to receive a package. If you are not eligible, the form will be denied and
      returned. If it is your scheduled month to receive a package, you may order the package during
      the last week of the month prior to your receiving month. For example, if your package month
      is June, you may give your order to your case manager the last week of May.

      Individuals on your approved visitors list may also purchase items or packages from the
      approved vendors list. The package must be shipped directly from the vendor. You must be
      eligible to receive a package, i.e. disciplinary status and eligible month (only one package per
      eligibility period may be received)

      The property room and mailroom schedule:
       PACKAGE MAIL OUT
      Tuesday
      8:00 a.m. - 9:30 a.m.
      A, B, E Units
      1:00 p.m. - 3:00 p.m.
      C, D, F, W Units
      Thursday
      8:00 a.m. - 9:30 a.m.
      C, D, F & W Units
      1:00 p.m. - 3:00 p.m.
      A, B, E Units
      *All inmates will give packages to be mailed out to the Unit Manager the day prior to packages being delivered to
      the mailroom for inspection*
      *All packages will be delivered to the mailroom by unit staff*

      PC & SEG UNITS: Packages will be picked up by mailroom staff on Tuesdays and Thursdays.

       LEGAL/CERTIFIED MAIL PICK - UP
      Monday - Friday
      10:30 a.m. - 3:00 p.m.



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     *All legal and certified mail will be picked up from the mailroom opened and delivered to inmates in their
     presence..,
      LEGAL/CERTIFIED MAIL OUT
     Monday - Friday
     7:40 a.m. - 8:20 a.m.

      PACKAGE DELIVERY
     Monday - Friday (times may vary)
     ***No packages will be distributed during chain processing.


     Only inmates called for packages should come to the Unit Manager's office. Packages to
     restrictive housing and protective custody inmates will be delivered to the respective unit.

     *Note: Changes to the above schedules may be made as deemed necessary by the
     property/mail room supervisor (i.e. holidays, etc.) must be approved by the Warden or
     designee.

     All INCOMING AND OUTGOING MAIL IS SUBJECT TO BE OPENED, SEARCHED,
     READ/REVIEWED AND/OR CONFISCATED FOR SAFTEY AND/OR SECURITY REASONS

     Chapter 12
     JOBS AND EDUCATION

     Work and Job Proced ures
     Upon arrival, inmates assigned to TTCC go through orientation where TDOC form CR-3051
     (Request for Placement on Job Register) is completed by an inmate and he is then placed on a
     job waiting list. Job assignments will not be made on the basis of race, color, creed or national
     origin. Inmates will be assigned job as they become available and according to their classification
     status. Job selection based on inmate history, facility need, and facility Safety will be
     determined by members of the classification committee and unit management teams.

     All able-bodied inmates are expected to work or participate in an academic or vocational
     program. Inmates do not have the right to refuse any job/class assignment with the exception
     of mental health programs. Proof of prior education shall be shown, with experience being the
     main consideration in assigning a job.

     There are three (3) different job skill levels at TTCC:
                   Level 1          $0.17 - $0.34 per hour
                   Level 2          $0.25 - $0.42 per hour
                   Level 3          $0.34 - $0.50 per hour

     Examples of each level include:
                   Level 1        ABE and Commercial Cleaners
                   Level 2        Various Construction Helpers; Cook Helper
                   Level 3        Cook; Carpenter       ·


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     Medical restrictions do affect job placement and limit the number of jobs available to an
     inmate.

     If an inmate wants to request a different job, he must fill out TDOC form CR-3051 and forward it
     to the job coordinator. Qualified applicants are placed on registers according to the date the
     request is received. If an inmate has any problems complying with his job descriptions, he
     should see his supervisor who then can relay that information to the job coordinator.
     Questions can be addressed directly to the job coordinator by completing an Inmate
     Information Request Form.

     When an inmate is assigned a job, he must remain in the position for ninety (90) days before
     being granted a voluntary job change. Job change is reviewed by utilizing the job register.

     There are two (2) types of job dismissals: disciplinary and non-disciplinary. A disciplinary
     dismissal is recommended by the disciplinary board when an inmate receives a conviction for a
     disciplinary infraction committed while the inmate is scheduled to be at his assigned work area.
     Inmates who become unassigned due to a disciplinary dismissal shall begin at pay step one (1)
     of the appropriate skill/pay level for their next assignment. Any time accrued at the previous
     assignment at the same step shall be lost in determining time eligibility for pay raises. A non-
     disciplinary dismissal may be made by the job coordinator with the approval of the
     Warden/design ee. Reasons for any non-disciplinary dismissals may be found in TDOC Policy
     505.07.

     Job Terminations
     Inmates may be removed from a job for several reasons. If one or more of the following events
     occur, the inmate may be dropped or transferred to a different position.

 •   Change in housing unit/pod
 •   Absence from the facility for thirty (30) days or longer
 •   Placement in Segregation for thirty (30) days or longer
 •   D-Board sanction affecting the inmate's eligibility or suitability for an area.
 •   Request of supervisor based on poor performance, behavior problem, etc.
 •   Re-assignment to a different job based on the needs of the facility and the availability of job
     positions.

     During your incarceration you are required to work when assigned to a job. You are required to
     participate in assigned programs. Refusal to work/program is a violation of facility rules and you
     will be subject to disciplinary action as well as sentence recalculation.

     Educational Programs
     Trousdale Turner Correctional Center offers a comprehensive educational program to include:
     HISET prep, Career Management for Success, correspondence courses, and vocational training.
     Staff consists of a principal, instructor supervisor, educational counselor, academic and

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    vocational instructors, Career Management for Success instructor and a life skills instructor. An
    inmate can obtain a HISET and/or vocational certifications, by completing the appropriate
    program. Academic programs are structured to accommodate any level of learning from
    kindergarten through passing the HISET. Adult Basic Education (ABE) classes are available for
    inmates on a lower level to prepare them for HISET work. To enroll in one of the vocational
    programs, an inmate must first acquire a HISET or have a high school diploma. Any inmate
    wishing to enter an educational/vocational program may do so by forwarding an Inmate
    Request Form to the Educational Counselor or Jobs Coordinator.

    Vocational programs available to inmates include the following: Woodworking, Electrical
    Maintenance and Career Management for Success/Release for Success.

    A complete and detailed description of all aspects of the education department is available to
    any interested inmate can forward an Inmate request form to the education department.

     Inmates may be placed in academic/vocational programs based on their treatment needs along
     with institutional needs, and will be required to remain in the program until completion.
     Inmates enrolled in educational programs must adhere to program rules or be subject to
     disciplinary action. Instructors may request dismissal of inmates through the inmate job
     coordinator from any program when behavior warrants such action. Inmates may apply for re-
     admittance six (6) months after such dismissal occurs.

     Upon completion of programs, students will be awarded the appropriate certificates. Official
     HISET tests are given and diplomas issued by the State Department of Education.

    Testing is a mandatory prerequisite for admittance to the education program. A limited
    number of positions are available in these programs, therefore, the final decision regarding
    placement rests with the education department through the inmate job coordinator. The Job
    Coordinator will assign eligible inmates according to the test scores and skill level.

     The education department has some general guidelines you need to know before getting into
     one of these classes.

     a.     Students will be in class except wheri excused for such reasons as a visit to Medical or
            with a lawyer. Proper attendance includes arriving in class on time.
     b.     Students will bring whatever tools are necessary for each scheduled classroom
            attendance.
     c.     When a student has been absent from class it is the student's responsibility to provide a
            written excuse and to present it to the teacher whose class you were absent.
     d.     When a student has been absent from work it is the student's responsibility to find out
            what work was missed and what needs to be completed .
     e.     If a student accumulates a total of five excused absences or three unexcused absences
            in any one module the student will be liable to expulsion from the class. Any exceptions
            to this rule will be decided by the teacher involved and the department head.

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      CLASS WORK
      a.    Students will turn in assigned work on the day it is due unless he/she has an excuse
            which the teacher accepts for delay in the due date. The teacher has the right to lower a
            grade on any assignment for lateness.
      b.    Students must be quiet and attentive in class and defer conversations or outside reading
            or writing to a later time.
      c.    Students will accept the teacher's assessment of his/her work. If the student has a
            question about the grade his work receives, he will speak to the teacher about it
            privately, before or after class, rather than during class time.
      d.    Students must limit his language to that appropriate to a classroom.
      e.    Students cannot eat, sleep or rest their heads on the desk/table during class.

      CONDUCT
      a.   Eating and drinking are not allowed in the education area/classrooms.
      b.   Disruptive or loud behavior is not permitted.
      c.   No headgear (i.e., bandannas, caps or sunglasses) will be worn in the education
           area/classrooms.
      d.   Inmates may not leave any function in the education area/classroom once the function
           has begun .
      e.   Inmates will remain in class except for authorized break time.
      f.   Education rules are available in each classroom.

      Substance Use Programs
      At Trousdale Turner Correctional Center, addiction treatment for substance use as well as for
      behavior modification is conducted in the Residential Drug Abuse Program (RDAP) and provided
      at no charge upon request of the inmate.

      The program addresses alcohol/drug abuse or dependency issues as well as actions of clinical
      behavior. The RDAP program is based on completing treatment objectives and is a minimum of
      nine months. Any inmate may enter RDAP but admission priority placement is given to inmates
      who are court ordered or required to complete the program by the Board of Probation/Parole.

      RDAP is a nine to twelve month program, which deals with substance use and substance
      dependence in a holistic manner. An inmate may contact either his Case Manager or the
      addiction treatment department for more information.

      The criteria to enter the RDAP program are as follows:

  •   History of substance use dependency
  •   History of criminal behavior
  •   Medium or Minimum custody
  •   Random drug screens for entire stay in the program
  •   Mandate by the Parole Board or recommendation of the disciplinary board

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     Self-Help Activities
     Self-help activities such as Alcoholics/Narcotics Anonymous are offered on a weekly basis to all
     inmates not housed in the segregation unit.

     Programs
     There are a variety of programs offered at Trousdale Turner Correctional Center. You may
     contact a member of your Unit Team, Chief of Unit Management or the Assistant Warden of
     Treatment to obtain information concerning the programs available.

     Halfway Houses
     A comprehensive list of halfway houses throughout the state of Tennessee is available from
     your Unit Team.

     Inmate Organizations
     Trousdale Turner Correctional Center will permit inmate organizations. Requests for inmate
     organizations will be reviewed and approved/disapproved by the Chief of Unit Management in
     coordination with the Associate Warden of Programs. Inmate organizations will not be allowed
     to establish a trust fund account, conduct financial business or transactions, or have banquets
     or other social events. To be approved, an organization must have both an outside volunteer
     leader/sponsor and a Trousdale Turner Correctional Center staff member who serves as the
     institutional coordinator. All organization meetings require the attendance of the outside
     sponsor and the institutional coordinator.

     CONCLUSION
     The intent of this inmate handbook is to provide you with information about the institution and
     to explain our general expectations of you. It is not possible to cover every issue or answer
     every question. You are encouraged to ask staff questions and to make recommendations
     about additions to the inmate handbook.

     Glossary
     Administrative Segregation -A form of separation from the general population administered by
     the classification committee when the continued presence of the inmate in general population
     would pose a serious threat to life, property, self, staff, or other inmates or to the security or
     orderly running of the facility.

     Contraband-Any item possessed by confined inmates or found within the facility that is illegal or
    expressly prohibited by those legally charged with the administration and operation of the
    facility.

     Indigent-An inmate whose account balance is less than $6.00 for a period of 30 days.

     Protective Custody-A type of care to protect a person from harm, either from outside sources
    or other offenders.

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         Re-entry Specialist-The reception & orientation unit is set up to receive all new intakes and
         provide them with programmatic information within the facility as well as a thorough screening
         and assessment. The inmates will receive a copy of the institution's rules and regulations and
         services and how to access all programs and services. The daily program in the reception &
         orientation unit (R & O) will include interviews, tests, and other admissions-related activities.

         Sallyport-An enclosure situated in the perimeter wall or fence containing gates and doors at
         both ends, only one of which opens at one time.

         Special Needs Inmates- Inmates with mental and or physical conditions that may limit or require
         special housing accommodations. These may include but are not limited to the chronically ill,
         pregnant, frail or elderly, terminally ill, developmentally disabled or those with serious
         communicable diseases ho are physically disabled, or who have some serious mental health
         needs.

         Unit Manager-The unit manager supervises his/her assigned staff and all activities inside or
         related to the unit. She/he must evaluate the unit team on the performance of their duties,
         communication of responsibilities, their ability to provide leadership, and their efforts to ensure
         accountability.
     •   She/he must maintain daily contact with staff as this is essential for the safety, security, and
         sanitation of the unit.
     •   Offenders are assigned to a unit according to classification, job assignment, or other program
         needs.
     •   The unit management team members are responsil:>le for the continuous monitoring of an
         offender's progress.
     •   Correctional counselors and case managers report directly to the unit manager and assist in the
         unit programs, assessment of offender needs, and provision of recommendations.
     •   Perform liaison functions throughout the facility
     •   The unit manager must make recommendations concerning personnel matters to include post
         assignments, promotions, and staff discipline.
     •   Delegate problem solving to correctional counselor and case manager.
     •   Makes daily rounds through the unit evaluating operations, talks with staff and inmates, and
         makes rounds through other areas in the facility where unit inmates may be temporarily
         housed, programmed or work.

         GENERAL RULES
1.       Inmates may not buy, borrow, loan, sell, or trade any items or personal property to another
         inmate. Violation of this rule will result in disciplinary action against those inmates involved
         and the items will be confiscated.
2.       Inmates are not permitted in any utility area or staff office within the unit unless accompanied
         and supervised by unit staff.
3.       Any new rules or concerns will be posted on the bulletin board in each pod. You will be held
         accountable for knowing the changes, so read the bulletin board daily.

                                                                                                771Pagc




                                                                 CCI 000624
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 24 of 198 PageID #: 2307
4.       Interior walls are not to be used as a foot prop.
5.       No food items or utensils are allowed to be taken from the kitchen and dining hall.
6.       No furniture other than that issued or authorized by the institution shall be allowed in any cell.
7.       Mattresses and pillows shall not be removed from the cell or unit without authorization of unit
         staff. No bedding shall be placed on the floor, or linens to be used as rugs.
8.       Only an authorized number of issued mattresses (unless authorization by medical), blankets,
         and linens shall be present in each cell.
9.       Loud and unruly conduct may result in the termination of a game.

         Refer to the unit's bulletin board for the schedules of classes, religious services, mail, laundry,
         recreation, phone calls, medical services, barber shop hours, commissary schedule, and the
         disciplinary process.

         UNIT DESCRIPTIO N
         SEGREGATION
         Restrictive Housing/ Segregation
     •   The segregation unit is designated for the offenders who have behavior problems in general
         population unit. The unit is designated to house admin max, youthful offenders, protective
         custody and special needs offenders who can't be housed in general population units.
         Offenders may be released back into general population after they have completed their
         disciplinary time, or when the segregation review committee meets.
     •   The special management team has the following responsibilities for admin max, youthful
         offenders, protective custody and special need offenders that are housed in segregation :
                    o   provide programs
                    o   conduct weekly meetings by the segregation review committee
                    o   Conduct monthly meetings with the special management team.
                    o   Keep the unit clean and neat by doing sanitation and security checks.
                    o   Keep the line of communication open. The unit manager, case manager and
                        other supervisory staff will make rounds daily.



         Segregation unit is designed in a tri-pod setting. Each cell has a tray slot available on the door
         for access to the cell in a secured manner. The unit contains three separate pods with each pod
         holding up to 45 inmates. Pod (3) contains a handicap shower. The unit is staffed with one
         control booth officer and one floor officer in each pod. The segregation unit also has two
         recreation officers who control the recreation in all three pods . The unit has a disciplinary
         officer who conducts all disciplinary hearings for the facility.

          The inmates will receive a copy of the institution's rules and regulations and services and how
         to access all programs and services. The daily program in the reception & orientation unit (R &
         O) will include interviews, tests, and other admissions related activities.

         SAFETY & SAN ITATION


                                                                                                   78 [Page




                                                                CCI 000625
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 25 of 198 PageID #: 2308
      Common Living Area
      All inmates assigned to a unit are responsible for maintaining the common living area in a clean
      and sanitary manner. The officer assigned to that unit will see that all materials needed to
      carry out this cleaning assignment are provided. If additional materials are needed, the officer
      will contact the correctional counselor.

  •   Trash will not be thrown anywhere except in the trash containers provided in each unit.
  •   Inmate workers will be assigned to each area on a permanent basis to perform the daily
      cleaning routine of the common area.
  •   Sufficient workers will be allowed for each shift to _provide coverage 7 days a week, 24 hours
      a day.
  •   Work details necessary for the sanitation of the unit will be assigned to the worker(s).
  •   Duties to be performed by inmate workers:
  •   All trash will be removed daily.
  •   All floors will be swept and wet mopped daily, and as required during the day. Offices closed on
      weekends and holidays are not included.
  •   All toilet bowls, sinks, and showers will be thoroughly cleaned and scrubbed daily.
  •   Furniture is to be wiped off daily.
  •   Any other condition that the unit officer feels needs to be corrected in order to maintain good
      sanitary conditions can be assigned.
  •   The pod officer will be responsible for inspecting twice daily and logging in the time of his or
      her inspection in the unit logbook which will be reviewed by the correctional counselor and
      sanitation officer. The unit manager may get approval from the administrativ e duty officer
      (ADO) to place your unit on institutional lockdown if your unit does not pass inspection .
  •   The correctional officer for each unit is responsible for all evaluations of the unit orderlies and
      yard crew.

      Private Living Areas
      All inmates are responsible for maintaining their assigned living area in a clean and sanitary
      manner.
           • No trash will be allowed to accumulate in cells.
           • Hazardous and combustible materials such as boxes, newspapers and magazines will not
             be allowed to accumulate within the cells.
           • All personal belongings must be kept in a neat and orderly manner and must fit in the
              storage space provided.
          •   Windows in each cell will remain completely free of any material.
          •   There will be no writing on the walls.
          •   Cell inspections will be done daily M-F 8:00 a.m. to ensure inmates are following all
              rules. These are done by the unit team and additional staff as necessary.

      Inspection Guidelines for Other Areas
      The following should be used as guidelines in assuring that good housekeeping practices are
      met.

                                                                                              79   IP age




                                                                CCI 000626
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 26 of 198 PageID #: 2309
          •   All areas will be clean and orderly.
          •   Lighting, heating and ventilation equipment will function properly.
          •   No fire or health hazards will be allowed to exist.
          •   All plumbing equipment including toilet, bathing, washing and laundry facilities should
              operate properly.
         •    The floors will be clean, dry and free of hazardous substance.

      Vermin and Pest Control
  •   Inmates will not be allowed to store any perishable foods or other items which entice vermin
      or produce unsanitary conditions in their living units unless stored in approved sealed
      containers.
  •   A service contract with a licensed pest control organization provides for regularly scheduled
      spraying of the facility. In event of an infestation, the service will be called        immediately.
  •   Monthly reports   by  the professional pest  control contractor  are submitted   to the safety
      supervisor who submits copies to the warden and       assistant warden  .

      ANY REVISIONS TO THE INMATE HANDBOOK WILL BE IN THE INMATE HANDBOOK BINDER IN
      THE HOUSING UNIT AND/OR THE INMATE LIBRARY, OR POSTED IN THE HOUSING UNIT




                                                                                              80   IP age




                                                                CCI 000627
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 27 of 198 PageID #: 2310
    ~CoreCivic

    Reverend Brian Darnell
    Director, Religious Programs
    320 6th Avenue North
    Rachel Jackson Building
    Nashville, TN 37243-0465
              ""'>'24, 2018
    Thursday, ~

    Dear Reverend Darnell,

    The attached Tennessee Department of Correction Group Accommodations Request (CR-3735) is
    submitted from Trousdale-Turner Correctional Center for your action per TDOC policy 118.01.

    After a review of the attached Sunni group submission, Warden Washburn, AWT Pittman and I
    recommend disapproval of all the requested accommodations, as stated in our in-house MEMO and on
    the CR-3735.

    We will await the decision of the Religious Activities Committee .




    Trousdale-Turner Correctio
    Hartsville




                         Trousdale Turner Correctional Center I140 Macon Way I Hartsville, TN 37074




                                                                CCI 000628
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 28 of 198 PageID #: 2311
    ~CoreCivic
    MEMORANDUM
    TO : Russell Washburn, Warden; Yolanda Pittman, Assistant Warden Treatment
    FM : Jon Shonebarger, Chaplain
    RE: TDOC Religious Accommodations Request CR-3735

    May 22, 2018

    The attached CR-3735 is submitted for your review per TDOC policy 118.01.

    This request is submitted by Sunni Muslim inmates requesting a new Quranic Arabic Studies Group, separate from
    the two (2) religious programs already scheduled for Sunni Muslims. The same class was previously requested and
    disapproved by the Tennessee Department of Correction Religious Activities Comm ittee (RAC), February 14. 2018.
    TP-17-822: #18-001. (See attachment) .

    This submission includes the same requests, with several new additions. The submission does not list TDOC
    Volunteers available to visit nor sufficient explanation of the group's teachings, beliefs and practices. In addition,
    complaints of another religious program within the facility is addressed.

    I recommend disapproval by Trousdale-Turner Correctional Center to the TDOC RAC for each accommodation
    requested. Our recommendation to the Religious Activities Committee follows :

    First Accommodation: Disapproval of two banquets every year. CoreCivic Tennessee is not governed by TDOC
    policy 116.08, Religious Diet Programs and Feasts.

    Second Accommodation: Disapproval. The inmates presume upon the addition of a new program with time/space,
    which is not approved . They may utilize their Taleem or Jum'ah (2) services to teach Arabic or any other faith
    subject. A CD player is available for all chapel programs.

    Third Accommodation: Disapproval. Special accommodation is not made by religious designation when TDOC
    inmates order from Union Supply.

    Fourth Accommodation : Disapproval. Halalaco and Medina are not authorized TDOC vendors. Inmates must utilize
    Union Supply.

    Fifth Accommodation : Disapproval. Religious headwear can be purchased from Union Supply.

    Sixth Accommodation: Disapproval. This is not a mandated faith group property item requiring the local prison to
    purchase it. The Religious Services Department is willing to seek a donation.

    Seventh Accommodation: Disapproval. The inmates presume upon the addition of a new program with
    time/space, which is not approved. Dry markers and white board is available for all existing religious programs.

    Eighth Accommodation. Disapproval. Islamic emblems are not listed in the May 22, 2017 Inmate Religious
    Property Memo from Commissioner Tony C. Parker.

    Ninth Accommodation. Disapproval. Pray oil can be purchased from Union Supply.

    Upon your review and signature, we will forward our decision via letter to the Religious Activities Committee.




                            Trousdale Turner Correctional Center I140 Macon Way I Hartsville, TN 37074




                                                                CCI 000629
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 29 of 198 PageID #: 2312
                  TENNESSE E DEPARTM ENT OF CORRECT ION
                  GROUP RELIGIOU S ACCOMMO DATIONS REQUEST

                  (COMPLETE pages 1 & 2; submit to Chaplain; See Policy# 118 .01)

     Date Submitted to Chaplain                      S'-d;;?o I g
                                                                             473 I l O
                                                                                    TDOC#

    Estimated Number of Inmates in the Group:           IP
           Official name of the group ·

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    5.




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                                                                CCI 000630
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 30 of 198 PageID #: 2313
      7   DETAILED description of the accornmodation(s) requested ·
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          b. Second Accommodation                          _., ·'• - ~·. · -~   ,.   . . - :~_ ; ~   _ .   ~:>1..J..


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     If more than five accommodatio ns are requested, please add additional pages showing Sixth
     Accommodation , Seventh Accommodatio n, etc .



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                                                                CCI 000631
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 31 of 198 PageID #: 2314
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      Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 32 of 198 PageID #: 2315
Shonebarger Jr, Jon

From:                             Brian K. Darnell <Brian.K.Darnell@tn.gov>
Sent:                             Wednesday, June 27, 2018 12:47 PM
To:                               Cynthia Sword
Cc:                               Shonebarger Jr, Jon; Maurice L. Widener
Subject:                          Pleasant-Bey
Attachments:                      1162_001 (2).pdf


*** This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from    unknown senders or
unexpected email.   ***

Chaplains:

Good afternoon.

This letter is being sent as a courtesy copy to you, so that we are in the loop on the response. Basically, "no" on leather
socks. "No" on transferring RAC accommodations between facilities.

FYI

Rev.




                                                                 CCI 000633
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 33 of 198 PageID #: 2316
    Jft•;:J:·~· .            TENNESSE E DEPARTM ENT OF CORRECT ION
    ,,~~Jfj                  GROUP RELIGIOU S ACCOMMO DATIONS REQUEST
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          ······· ···•''

     Date Submitted to Chaplain .

                                                                                 473 /IO
                                                                                    TDOC#

     Estimated Number of Inmates in the Group:                         IP
                      Official name of the group :
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         2.




     3.              The group's teachings, beliefs, and practices .




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   CR-3735 (Rev 06-10)                                Duplicate as Needed




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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 34 of 198 PageID #: 2317
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   Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 35 of 198 PageID #: 2318
     7.   DETAILE D descriptio n of the accornmo dation(s) requested :
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                                                                           l pages showing Sixth
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    Accommo dation, Seventh Accomm  odation, etc



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    CR-3735 (Rev . 06-10)


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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 36 of 198 PageID #: 2319
      7.   DETAILED desuiption of the accommodation(s) requested ·
           a. First Accommodation
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            c. Third Accommodation




      If more than five accommoda tions are requested, please add additional pages showing Si xth
      Accommoda tion , Seventh Accommoda tion, etc


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      CR-3735 (R ev. 06-10)



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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 37 of 198 PageID #: 2320
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  -    .Correction

      27 June 2018



      Boaz Pleasant-Bey TDOC #473110, EA205 A
      c/o nee
      140 Macon Way
      Hartsville, TN 37074

      Re:         TP-17-814 (Khuffain)
                  TP-18-196 (Group Religious Accommodation)

      Boaz Pleasant-Bey:

      I am writing in response to your two letters regarding khuffain (leather socks) and correspondence about a
      group accommodation from NEeX.

      Regarding khuffain, it has been determined that these leather socks are not an essential tenet of the practice
      of Islam. Under advisement of an Imam, the wearing of khuffain is not mandated as a requirement for an
      individual to be a faithful Muslim, asserting that if he's wrong "there is no sin on you, and he will have to
      answer for it in front of Allah." The wearing of khuffain is a matter of convenience , To imply that only leather
      socks may be worn as an obligatory action required by Islam is incorrect. Your request is denied.

      Regarding requests for a Group Religious Accommodation, please be advised that It Is expressly understood
      that group accommodations are specific to institutions. Since you have been transferred from NECX, then to
      TCIX, and now recently to nee, authorized administrators at nee would need to re-evaluate the request to
      see if it can be accommodated there . You are advised to begin the dialogue about this process with the TTCC
      Chaplain(s), Simply request a new CR-3735 via Inmate Request. At this time, your request to transfer the
      terms of a group religious accommodation made specifically at another facility is denied.

      Should you have any further questions or concerns regarding religious accommodations, please feel free to
      contact our office.


      Sin e,,, C)ly,


            ~cfft)w ~
      The Rev. B. Darnell, M.Div
      Director at Religious & Volunteer Services

      Cc:          TTCC Chaplain Jon Shonebarger, Jr.
                   NECX Chaplain Maurice Widener
                   File




         • Sixth Floor Rachel Jackson Building• 320 Sixth Avenue North • Nashville, TN 37243
                       • Tel: 615-253-8144 • Fax: 615-532-8281 • tn.gov/correction




                                                                CCI 000638
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 38 of 198 PageID #: 2321
        Department of
  -    . Correction

      17 January 2019



      Boaz Pleasant-Bey TDOC #47311 O
      c/o nee
      140 Macon Way
      Hartsville, TN 37074

      Re:     Quranic Arabic Class



      Boaz Pleasant-Bey:

      I am writing in response to your multiple request(s) at nee for matters already disapproved by the RAC,
      such as TP-18.015 and TP-18.047 in February 2018, a voting decision in June, and your recent letter dated
      1/11/19 and logged as TP-19-038 .

      The Religious Activities committee (RAC) conwrs with the nccommodalion djsopn ·               ,Ir n J a le by
      Warden Washburn and AWT Pittman and the recommendations made by CH Shonebarger, who offers access
      to a CD player and time during the existing Taleem or Jum'ah services for you to engage In more extensive
      learning of Arabic. Your request for separate services, apart from those already offered, is denied.

      Be advised that recurring, repeated requests after disapprovals are not helpful. Furthermore, please
      understand that any RAC decision approval made at one facility, such as when you were housed at NECX,
      may be subsequently denied at any other facility,

      Should you have any further questions or concerns regarding religious accommodations, please feel free to
      contact our office,




      The Rev. B. Darnell, M.Div
      Director of Religious & Volunteer Services




      Cc:     nee Warden Washburn
              nee AWT Pittman
              nee Chaplain Jon Shonebarger,Jr.
               File




        • Sixth Floor Rachel Jackson Building• 320 Sixth Avenue North• Nashville, TN 37243
                      • Tel : 615-253-8144 • Fax: 615-532-8281 • tn .gov/correction




                                                                CCI 000639
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 39 of 198 PageID #: 2322
Shonebarger Jr, Jon

From:                                        Brian K. Darnell <Brian.K.Darnell@tn.gov>
Sent:                                        Thursday, January 17, 2019 11:58 AM
To:                                          Shonebarger Jr, Jon
Cc:                                          Cynthia Sword
Subject:                                     Pleasant-Bey #473110
Attachments:                                 0393_001.pdf


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unexpected email. ***

Shoney:

Good morning.

I was in Central Office today for a meeting on the Sixth Floor and am in receipt of (yet) another request from P-B. In the
essence of time, I have responded to his most recent letter, as well as a follow-up to the RAC decision(s) made earlier in
the year, June and in February.

Feel free to FWD this email to your Warden(s). Forgive my prior lack of response during my year-end travel
extravaganzas for Departmental programming improvements.

Thank you for your attention to detail in this matter.

Regards!

Rev .



The Reverend Fr. Brian D11rnell, M. Div.
Director of Religious & Volunteer Services


From: NoReply@tn.gov [mailto:NoReply@tn.gov]
Sent: Thursday, January 17, 2019 12:06 PM
To: Brian K. Darnell
Subject: Attached Image




                                                                  CCI 000640
  Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 40 of 198 PageID #: 2323
Shonebarger Jr, Jon

From:                                    Brian K. Darnell < Brian.K.Darnell@tn.gov>
Sent:                                    Wednesday, October 24, 2018 9:33 AM
To:                                      Shonebarger Jr, Jon
Subject:                                 RE: Follow-up on RAC Submission


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             EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from unknown senders or
unexpected email. ***

I'll let you know on Monday. I am working remotely and Cindy is offsite .



From: Shonebarger Jr, Jon [mailto:Jon.ShonebargerJr@corecivic.com]
Sent: Wednesday, October 24, 2018 8:11 AM
To: Brian K. Darnell
Subject: Follow-up on RAC Submission


*** This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from unknown
senders or unexpected email - STS-Security.            ""'*
Good moning Rev.,

I am following up on the Religious Accommodation request from Boaz Pleasant-Bey, 473110. Our TTCC
submission to the RAC was in May.
Please advise. Thanks.

Chaplain Jon T. Shonebarger, Jr.
Critical Incident Stress Mgt. Response Team
Ethics Liaison// Volunteer Coordinator
CoreCivic //TTCC
140 Macon Way
Hartsville, Tennessee 37074
615.808.0573




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                                                                CCI 000642
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 42 of 198 PageID #: 2325
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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 43 of 198 PageID #: 2326
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                                                        JAN 1"7 2019




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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 44 of 198 PageID #: 2327
                   TENNESSEE DEPARTMENT OF CORRECTION
                   GROUP RELIGIOUS ACCOMMODATIONS REQUEST

                   (COMPLETE pages 1 & 2; submit to Chaplain; See Policy# 118.01)

      Date Submitted to Chaplain:     He.<. e.J.-<~r       dedot 7
       130A -z:..., Plea~c:wl-~1
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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 45 of 198 PageID #: 2328
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       If more than five accommodations are requested, please add addiiional pages showing Sixth
       Accommodation, Seventh Accommodation, etc.


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                       TENNESSEE DEPARTMENT OF CORRECTION
                       GROUP RELIGIOUS ACCOMMODATIONS REQUEST
                       (COMPLETE pagea 1 & 2; aubmltto Choplaln; Seo Polley# 118.01)

         Date Submitted to Chaplain: He<. e.~r c? ~ O I 7
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                                                        4731 '6?s                      T   CII

         EsUmaled Number of Inmates In the Group: 15
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        6.




        7.   DETAILED description of the accommodalion(s) requested;




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        8.   Recommendation9 by the Warden and the Chaplain
             Dale Sent to the Religious Activities Committee: _ _ _ _ _ _ _ _ __ _ _ _ _ _ __ _

             a. First Accommodation -- Recommendation:                    _ __ Approval        _.L       Disapproval
             Reason:    ,5'ec:y.r-;ry /egsp            ,J   ~




             b. Seoond Accommodation -- Recommendation:                         /   Approval             Disapproval
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             c. Third Accommodation - Recommendation:                          . / Approval              Disapproval
             Reason:   -¥'ec,<t. { Orrkr            rfv.o.,:,,l h,fy-(   .;;x 1~1,,,.,:;1, e[ji..,',,~   o./+i,c..




             d. Fourth Accommodation -- Recommendation:                        ./   Approval   _ _ _ Dl&approval
             Reason:    ::Ji.,,.),•/1y / L,tl•n:,               at-fy



             e. Fifth Accommodation - Recommendation:                          /Approval                 Disapproval
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         9.   Approval or Disapproval by the Religious Actlvltiea Committee

              Date of Approval or Disapproval:

              a. First Aa;ommodation:                  Disapproved     _ _ _ Approved




              b. Second Accommodation:                 Disapproved            Approved - subject to conditions:




              c. Third Accommodation:                  Disapproved            Approved




              d. Fourth Accommodation:       _ _ _ Disapproved _ _ _ Approved




              e. Fifth Accommodation:                   Disapproved           Approved




         CR-3735 (Rev. 06-10)                    Dupllcete as Needed                                              4




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            Department of
            .Correction

                                                    Memorandum

To:                Religious Activities Committee
From:              Deborah Thompson, Director of Religious, Volunteer, and Victim Services
Date:              January 23, 2018
Subject:           RAC #18-002 (TP-18-047) (TP-18-015)



Attached is a Request for Group Religious Accommodations dated January 23, 2018 submitted by Boaz
Pleasant Bey, #473110 on behalf of the Quranic Arabic Studies Class at NECX.

We wlll consider this request at our meeting on January 25, 2018.

The inmate has requested:

           1. Turbans and Agals from Halalaco or Islamic Bookstore. Prophet Muhammad (PBUH) wore these
              head dresses when he recited the Arabic Quran.
           2. Halat certified food items (i.e. meats, snacks, soups, teas, etc.) from Union Supply, Halalaco, the
              Islamic Bookstore and Celestial Seasonings. We believe in eating Halal food items (only) and we
              ~on't have halal food optio_ns. Halal foods are pure and we must eat them to follow Islam.
           3. Halal Soaps, deodorants and lotions from Halalaco, and the Islamic Bookstore (and Halal
              toothpaste. We do not have access to these Halal items. Currently the cosmetics available have
              many haraam (unlawful) ingredients in there and we have no access to hatal items.
           4. Islamic Emblems (Arabic). Union Supply sells other religious emblems and rings, but do not sell
              Islamic emblems and rings. We should be able to order them from Islamic vendors (i.e. Halalaco,
              Islamic bookstore).
           5. A portable CD or tape player or a radio with CD/cassette player for each housing unit that houses
              Arabic Class students. One radio for the class is not enough to meet the group needs. Each pod
              should have access to a CD/tape player to hear the Arabic Quran
           6. Khufain socks (worn by Prophet Muhammad (PBUH) ). NSECX Administration has presented "a
              irrational" theory that the khufain socks (Leather socks) are a security threat (or risk). I was
              informed that the thin material used to make the khufain socks could be used to make gloves to
              cllmb over the gate with? Inmates are allowed to wear leather shoes which could be used to
              make a more durable pair of gloves. If that were the case, both leather socks (khufain) and
              leather shoes are worn on the feet. The allowance of one and disapproval of the other is a
              violation of 42u.s.c.((b) (1). RLUIPA prohibits NECX from treating a non-religious assembly of
              inmates. They are socks used for religious purposes. Halalaco Books and the Islamic Bookstore
              sells them (khufain socks)
           7. That the Quranic Arabic Class be placed on the out count sheet to ensure that the students of the
              class can be counted in class if there is a fog count due to esseccive fox at NECX as other religious
              services.




             Communication Department· Sixth Floor Rachel Jackson Building· 320 Sixth
             Avenue North• Nashville, TN 37243 • Tel: 615-253-8144 • Fax: 615-532-8281 •
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        Department of
        Correction


The Warden and the Chaplain recommended:

       1.    Disapprove - Security Reasons.
       2.    Approve - Approve only through Union Supply Stock through Chaplain's office.
       3.    Approve - Special order through local vendor through Chaplain's office.
       4.    Approve - Jewelry/Emblems only.
       5.    Approve - One radio per group only.
       6.    Disapprove - Security Risk.
       7.    Disapprove - Class is scheduled from 8:00 a.m. to 10:00 a.m. Outcounts are not needed and
             would extend their class longer than others are allotted.

My recommendations are:

       1.    Disapprove - Security Reasons.
       2.    Approve - Approve only through Union Supply Stock through Chaplain's office.
       3.    Approve - Special order through local vendor through Chaplain's office.
       4.    Approve - Jewelry/Emblems only.
       S.    Approve - One radio per group only.
       6.    Disapprove - Security Risk.
       7.    Disapprove - Class is scheduled from 8:00 a.m. to 10:00 a.m. Outcounts are not needed and
             would extend their class longer than others are allotted.




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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 56 of 198 PageID #: 2339
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February 14, 2018

Re:     Religious Activities Committee Request #18-002 (TP-18-015) (TP-18-047)



Mr. Boaz Pleasant-Bey, #473110
NECX
P.O. Box 5000
Mountain City, TN 37683-5000

Dear Mr. Pleasant-Bey,

I received your Request for Group Accommodations submitt~d on behalf of, the Quranic Arabic Studies Class,
and the recommendations of the Warden and the Chaplain. The Religious Activities Committee (the
"Committee") has reviewed your request and voted in the following way:

        1. Disapprove - Security Reasons.
        2. Approve -Approve only through Union Supply Stock through Chaplain's office.
        3. Approve - Special order through local vendor through Chaplain's office.
        4. Approve -Jewelry/Emblems only.
        S. Appr.ove - One radio per group only.
        6. Disapprove - Security Risk.
        7. Disapprove- Class is scheduled from 8:00 a.m. to 10:00 a.m. Outcounts are not needed and
           would extend their class longer than others are allotted.

Sincerely,



Eric Qualls
Director

cc:     TP-18-015
        TP-18-047
        Warden Randy Lee
        Chaplain Maurice W idener




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           Depactme,,t of
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                                                                                       MEMO
      To:
      From:
                            Institutional Wardens, Chaplains, and Food Services Supervisor~
                            Ed Welch, Assistant Commissioner of Rehabilitative Services
                                                                                                  J
                                                                                            C; (}',
      Date:                 01 March 2019
      Re:                   Ramadan 2019 Guidelines


      The observance of Ramadan 2019 should begin at sunset on Monday, 06 May and should end at
      sunset on Monday, 03 June. An institutionally-provided Eid AI-Fitr meal should be served after
      sunset 04 June 2019.

     Approved Ramadan participants will be served a pre-dawn sack breakfast tray daily beginning 06
     May and a post-sunset dinner meal daily, concluding at sunset on 03 June 2019.

      For the observance of Ramadan and the Eid AI-Fitr feast, the following guidelines will apply:

      1. Only individuals that are designated in TOMIS as "Islamic," "Mohammedan," "Black Muslim,"
         "Muslim-Nation of Islam," "Muslim-Sunni," or "Muslim-not NOi or Sunni" will be approved to
         participate in Ramadan. Any individuals that are classified into TDOC and designated
         accordingly in TOMIS after the beginning of Ramadan need only to fast from the date they
         are classified into TDOC in order to participate in Ramadan.

      2. All food items will be prepared through Food Services supervisors/ Food Services vendors at
         each institution. No outside food items will be allowed from certified volunteers.

     3.     In order to secure sufficient quantities of menu items through Food Services, the deadline
            to sign-up and to notify the Chaplain's office of the desire to participate in Ramadan is Friday,
            15 March 2019. Feast food items are to be eaten at the feast and may not be taken back to
            any housing unit.

     4.     Individuals housed in segregation units and/or under maximum security supervision should
            receive their meals and feast items individually in their assigned cells. No one is to be denied
            religious meals or feast items due to disciplinary write-ups.

     The goal of these guidelines is to balance the religious rights of the incarcerated with the safety
     and security of each institution.




     Cc:        Assistant Commissioner, Bobby Straughter
                Assistant Commissioner, Lee Dotson
                Correctional Administrators
                Director of Food Services
                Legal Department



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                                                                                       MEMO
     To:               Institutional Wardens, Chaplains, and Food Services 'u pcrv isors~ A'/
     From:             Ed Welch, Assistant Commissioner of Rehabilitation Services ~
                       Bobby Straughter, Assistant Commissioner of Operational Support
     Date:             19 March 2018
     Re:               Ramadan 2018 Guidelines


     The observance of Ramadan 2018 begins at sunset on Wednesday, 16 May and ends at sunset on Thursday,
     14 June. An institutionally-provided Eid AI-Fitr meal should be served at sunset on 1S June or at sunset
     within three days of 15 June 2018. The chaplains shall be responsible for coordinating Ramadan to
     ensure all guidelines are properly followed.

     Approved Ramadan participants will be served a pre-dawn sack breakfast tray daily beginning
     Thursday, 17 May and a post-sunset dinner meal daily, concluding at sunset on Friday, 1S June.

     For the observance of Ramadan and the Eid AI-Fitr feast, the following guidelines will apply:

      1. Only offenders that are designated in TOMIS as "Islamic," "Mohammedan," "Black Muslim,"
         "Muslim-Nation of Islam,'' "Muslim-Sunni,'' or "Muslim-not NOi or Sunni" will be approved to
         participate in Ramadan. Offenders that are classified into TDOC and designated accordingly in
         TOMIS after the beginning of Ramadan need only to fast from the date they are classified into
         TDOC in order to participate in Ramadan.

     2. All food items will be prepared through the Food Services vendors (e.g. Aramark/Trinity) at each
        institution. No outside food items will be allowed from certified volunteers.

     3. In order to secure sufficient quantities of menu items through Food Services, the deadline to
        sign-up and to notify the Chaplain's office of the desire to participate in Ramadan is Friday, 27
        April 2018. Food items are to be eaten at the feast and may not be taken back to any housing unit.

     4. Offenders in segregation units and/or under maximum security supervision should receive their
        meals and feast items individually in their assigned cells. Offenders should not be denied religious
        meals or feast items due to disciplinary write-ups.

     The goal of these guidelines is to balance offenders' religious rights with safety and security at each
     institution.


     Cc:     Correctional Administrators
             Associate Wardens
             Director of Food Services
             Legal Department




       • Sixth Floor Rachel Jackson Building• 320 Sixth Avenue North• Nashville, TN 37243
                     • Tel: 615-253-8144 • Fax: 615-532-8281 • tn.gov/correction




                                                                CCI 000660
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 60 of 198 PageID #: 2343
I_MI
-
  ___Correction
             Department of
                                                                                                  MEM
      To :            Institutional Wardens, Chaplains, and Food Services Supervisors
      From :          Vicki Freeman, Acting Assistant Commissioner of Rehabilitative Services
      Date:           March 19, 2020
      Re:             Ramadan 2019 Guidelines


        The observance of Ramadan 2020 should begin at sunset on Thursday, April 23, 2020 and should end
        at sunset on Saturday, May 23, 2020. An institutionally provided Eid AI-Fitr meal shall be served after
        sunset May 24, 2020.

        Approved Ramadan participants will be served a pre-down sack breakfast tray daily beginning Thursday,
        April 23, 2020 and a post-sunset dinner meal daily, concluding at sunset on May 24, 2020.

        For the observance of Ramadan and the Eid AI-Fitr feast, the following guidelines will apply:

        1.     Only individuals that are designated in TOMIS as "Islamic", "Mohammedan", "Black Muslim", "Muslim-
               Nation of Islam", "Muslim-Sunni", or "Muslim-not NOi or Sunni" will be approved to participate in
               Ramadan. Any individuals that are classified into TDOC and designated accordingly in TOMIS after the
               beginning of Ramadan need only to fast from the date they are classified into TDOC in order to
               participate in Ramadan.

        2.     All food items will be prepared through Food Services supervisors/Food Service vendors at each
               institution. No outside food items will be allowed from certified volunteers.

        3.     In order to secure sufficient quantities of menu items through Food Services, the deadline to sign-up
               and notify the Chaplain's office of the desire to participate in the Ramadan is Tuesday, March 31,
               2020.

        4.     The General Population Eid AI-Fitr meal provided by the institution may not be taken back to any
               housing unit.

        5.     Individuals housed in segregation units and/or under maximum security supervision should receive
               their meals individually in their assigned cells. No one is to be denied religious meals due to
               disciplinary write-ups.

       The goal of these guidelines is to balance the religious rights of individuals with the safety and
        security at each institution.

       Thank you!

       Cc:         Assistant Commissioner, Bobby Straughter
                   Assistant Commissioner, Lee Dotson
                   Correctional Administrators
                   Director of Food Services
                   Legal Department

             Department of Correction • Fifth Floor Rachel Jackson Building• 320 Sixth Avenue North •
             Nashville, TN 37243 • Tel: 615-253-8196 • Fax: 615-741-1055 • tn.gov/correction




                                                                    CCI 000661
    Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 61 of 198 PageID #: 2344
            CoreCivic                                                      TROUSDALE TURNER CORRECTIONAL CENTER




         MEMORANDUM                                                                     #18-043
          TO:                 ALL Inmate Population

          FROM:               Russell Washburn, Warden

          DATE:               April 12, 2018

          SUBJECT: UNION SUPPLY CATALOG

         The following is a list of items not allowed at TTCC as designated through TDOC of our in-house policy:

             •      Page 5             Item # 1055013               Shower Sandal
             •      Page 5             Item # 1055009               Shower Slippers
             •      Page 6                                          All Insoles
             •      Page 14            Item # 5040001               Wristband
             •      Page 15            Item # 2506005               Handkerchief
             •      Page 19            Item # 4001123               Clear Tunes Antenna
             •      Page 24            Item # 7520063               Wide Tooth Comb
             •      Page 24            Item # 7520083               9" Comb
             •      Page 24            Item # 7505004               Vented Brush
             •      Page 24            Item # 7099025               Body Puff
             •      Page 24            Item # 7515110               Toe Nail Clipper (No File)
             •      Page 26            Item # 6070070               Abalone Shell
             •      Page 26            Item # 6070169               Turkey Feather
             •      Page 26            Item # 6070126               Drum Kit
             •      Page 27            Item # 6070039               Modern Tallit w/Matching Kipa, Tallit Bag
             •      Page 28            Item # 6070210               Brass Cauldron 3'

         Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

             •      Page 33            Item # 7520205               Jumbo Ouchless Ponytail Holders
             •      Page 33            Item # 7520201               Ouchless Ponytail Holder
             •      Page 33            Item # 7520067               Super Stretch Rubber Band

         The following items cannot be ordered, although you may check them out of the library:

             •      Page 27            Item # 6599942               Torah
             •      Page 27            Item # 6599938               The Prose Edda-The Tale from Norse
                                                                    Mythology
             •      Page 27            Item # 6599943               Bhagavad Gita
             •      Page 27            Item # 6599939               The Poetic Edda-The Mythological Poems
             •      Page 28            Item # 6070010               The Qur'an Translation


         CC: TDOC
140 Macon Way  Hartsville, TN 37074             Phone (615) 808-0400  Fax (615) 808-0499                www,corecivic.com


                                                                CCI 000662
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 62 of 198 PageID #: 2345
                                                53337289.v1
Trousdale Turner Correctional Center




     2




                                                                                                       CCI 000663
                                       Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 63 of 198 PageID #: 2346
            CoreCivic                                                      TROUSDALE TURNER CORRECTIONAL CENTER




         MEMORANDUM                                                                     #18-043A
          TO:                 ALL Inmate Population

          FROM:               Russell Washburn, Warden

          DATE:               August 2, 2018

          SUBJECT: UNION SUPPLY CATALOG


         The following is a list of items not allowed at TTCC as designated through TDOC of our in-house policy:

             •      Page 5             Item # 1055013               Shower Sandal
             •      Page 5             Item # 1055009               Shower Slippers
             •      Page 6                                          All Insoles
             •      Page 14            Item # 5040001               Wristband
             •      Page 15            Item # 2506005               Handkerchief
             •      Page 19            Item # 4001123               Clear Tunes Antenna
             •      Page 24            Item # 7520063               Wide Tooth Comb
             •      Page 24            Item # 7520083               9" Comb
             •      Page 24            Item # 7505004               Vented Brush
             •      Page 24            Item # 7099025               Body Puff
             •      Page 24            Item # 7515110               Toe Nail Clipper (No File)
             •      Page 26            Item # 6070070               Abalone Shell
             •      Page 26            Item # 6070169               Turkey Feather
             •      Page 26            Item # 6070126               Drum Kit
             •      Page 27            Item # 6070039               Modern Tallit w/Matching Kipa, Tallit Bag
             •      Page 28            Item # 6070210               Brass Cauldron 3'

         Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

             •      Page 33            Item # 7520205               Jumbo Ouchless Ponytail Holders
             •      Page 33            Item # 7520201               Ouchless Ponytail Holder
             •      Page 33            Item # 7520067               Super Stretch Rubber Band




         CC: TDOC


140 Macon Way  Hartsville, TN 37074             Phone (615) 808-0400  Fax (615) 808-0499                www,corecivic.com


                                                                CCI 000664
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 64 of 198 PageID #: 2347
            CoreCivic                                                      TROUSDALE TURNER CORRECTIONAL CENTER




         MEMORANDUM                                                                     #18-043B
          TO:                 ALL Inmate Population

          FROM:               Russell Washburn, Warden

          DATE:               September 20, 2018

          SUBJECT: UNION SUPPLY CATALOG


         The following is a list of items not allowed at TTCC as designated through TDOC of our in-house policy:

             •    Page 5               Item # 1055013               Shower Sandal
             •    Page 5               Item # 1055009               Shower Slippers
             •    Page 6                                            All Insoles
             •    Page 14              Item # 5040001               Wristband
             •    Page 15              Item # 2506005               Handkerchief
             •    Page 19              Item # 4001123               Clear Tunes Antenna
             •    Page 24              Item # 7520063               Wide Tooth Comb
             •    Page 24              Item # 7520083               9" Comb
             •    Page 24              Item # 7505004               Vented Brush
             •    Page 24              Item # 7099025               Body Puff
             •    Page 24              Item # 7515110               Toe Nail Clipper (No File)
             •    Page 24              Item # 7515010               Trim Nail Clipper
             •    Page 24              Item # 4034239               Level 10 Battery Shaver
             •    Page 26              Item # 6070070               Abalone Shell
             •    Page 26              Item # 6070169               Turkey Feather
             •    Page 26              Item # 6070126               Drum Kit
             •    Page 27              Item # 6070039               Modern Tallit w/Matching Kipa, Tallit Bag
             •    Page 28              Item # 6070210               Brass Cauldron 3'

         Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

             •    Page 33              Item # 7520205               Jumbo Ouchless Ponytail Holders
             •    Page 33              Item # 7520201               Ouchless Ponytail Holder
             •    Page 33              Item # 7520067               Super Stretch Rubber Band




140 Macon Way  Hartsville, TN 37074             Phone (615) 808-0400  Fax (615) 808-0499                www,corecivic.com


                                                                CCI 000665
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 65 of 198 PageID #: 2348
                                                CC: TDOC
Trousdale Turner Correctional Center




     2




                                                                                                       CCI 000666
                                       Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 66 of 198 PageID #: 2349
Shonebarger Jr, Jon

From:                            Ossama Bahloul <sheikhosama@gmail.com>
Sent:                            Thursday, February 13, 2020 8:34 AM
To:                              ShonebargerJGJon
Subject:                         Re: Our meeting February 14th



***This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from unknown senders or
unexpected email. ***

Confirmed. See you tomorrow.

Sincerely,
Imam Ossama Bahloul PhD
Resident Scholar of ICN



On Thu, Feb 13, 2020, 7:34 AM Shonebarger Jr, Jon <Jon. ShonebargerJr@corecivic.com> wrote:

 Good morning,

 I am confirming our meeting for tomorrow. Thank you.




 Kind regards,

 Chaplain Shonebarger
 Trousdale-Turner Correctional Center

 615.808.0573




 From: Ossama Bahloul <shelkhosama@gmail.com>
 Sent: Tuesday, January 14, 2020 10:50 AM
 To: Shonebarger Jr, Jon <Jon .ShonebargerJr@ co recivic.com>
 Subject: Our meeting February 14th




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 or unexpected email. ***

 Good day,



 It was wonderful speaking with you. Thank you for all of your service.




                                                                 CCI 000667
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 67 of 198 PageID #: 2350
As discussed, we will meet at the Islamic Center at 2515 12th Ave S., Nashville, TN 37204 at 10:30 on
February 14th.




Sincere/y,
Imam Ossama Bahloul PhD

Resident Scholar ofICN
111w111. idi1min500. ot-g,




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                                                                CCI 000668
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 68 of 198 PageID #: 2351
Shonebarger Jr, Jon

From:                            Ossama Bahloul <sheikhosama@gmail.com>
Sent:                            Tuesday, January 14, 2020 10:50 AM
To:                              Shonebarger Jr, Jon
Subject:                         Our meeting February 14th

Follow Up Flag:                  Follow up
Flag Status:                     Flagged



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unexpected email. ***

Good day,

It was wonderful speaking with you. Thank you for all of your service.

As discussed, we will meet at the Islamic Center at 2515 12th Ave S., Nashville, TN 37204 at 10:30 on
February 14th.


Sincere!J,
Imam Ossama Bahloul PhD
Resident Scholar qf ICN
1v1v1v.i.rlwt1i11500.ot-:g,




                                                                 CCI 000669
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 69 of 198 PageID #: 2352
Shonebarger Jr, Jon

From:                             Akirah <akirahchaney@gmail.com>
Sent:                             Saturday, January 4, 2020 11 :40 AM
To:                               Shonebarger Jr, Jon
Subject:                          Re: You got an Enquiry!

Follow Up Flag:                   Follow up
Flag Status:                      Flagged



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unexpected email. ***

Hello,
I would need more details before I can give an exact answer.
please feel free to contact me at 6159563434

thanks,

On Sat, Jan 4, 2020 at 11 :04 AM Shonebarger Jr, Jon <J on.ShonebargerJr@core                  om> wrote:

 Greetings,




 I'm wanting to follow-up on our correspondence. Is there an event we could plan at Trousdale-Turner?

 Please advise.




 Chaplain Shonebarger
 615.808.0573




 From: Outreach @ ICM TN <o utreach@icmtn .org>
 Sent: Monday, November 25, 2019 4:39 PM
 To: Shonebarger Jr, Jon <Jon.Sho nebargerJ r@ corecivic.com>
 Cc: Akirah Chaney <akirahchaney@gm all.com>; Sheikh Osama <sheikhosam a@gmail.com>
 Subject: RE: You got an Enquiry!

 Dear Chaplain Shonebarger,



 Thank you for reaching out to us. I am copying Imam Akirah and Imam Ossama to see if they can
 help you with your request.



 Regards, Saleh




                                                                 CCI 000670
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 70 of 198 PageID #: 2353
Dr. Saleh M. Sbenaty, Professor

Outreach @ ICM TN

615-890-1551




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                                                         2




                                                                CCI 000671
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 71 of 198 PageID #: 2354
Shonebarger Jr, Jon

From:                                  Shonebarger Jr, Jon
Sent:                                  Monday, March 18, 2019 11:17 AM
To:                                    'sheikhosama@gmail.com'
Subject:                               Volunteers for Trousdale-Turner Correctional Center



Hello Imam Ossama Bahloul,

Iwant to follow-up with you about volunteers for our Sunni inmates here at Trousdale-Turner
Correctional Center in Hartsville,
Our inmate faith group is growing. We have a need for spiritual teaching for these men.

Please advise of candidates and opportunities. Your assistance is deeply appreciated.

Kind regards,

Chaplain Jon Thomas Shonebarger, Jr.
C/SM Response Teom / Ethics Liaison
Volunteer Coordinator
CoreC/vic/TTCC
615.808.0573




                                                                    CCI 000672
    Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 72 of 198 PageID #: 2355
    Minister Abdulla
    Nation of Islam Prison Reform Ministries
    National Center
    7351 Stony Island Avenue
    Chicago, IL 60649

    Tuesday, May 15, 2018

    Greetings Minister Abdulla,

    I am chaplain/volunteer coordinator at Tennessee's newest and largest state prison, Trousdale-Turner
    Correctional Center. We have a population of 2500 inmates, with a growing Nation of Islam faith group.
    I am asking your assistance in finding volunteers for our inmate programs. We are located approximately
    an hour northeast of Nashville.

    In addition, your assistance with donations would be greatly appreciated. Teaching materials, books,
    DVDs, the Nation flag, are a few items that would be beneficial. Your generosity would be appreciated.

    If you know of prospective volunteers, please have them contact me.

                 --- ---
~c5--
    Chaplain Jon T. Shonebarger, Jr
    Trousdale-Turner Correctional Center
    140 Macon Way
    Hartsville, TN 37074
    615.808.0573




                                                                CCI 000673
Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 73 of 198 PageID #: 2356
Shonebarger Jr, Jon

From:                                  Shonebarger Jr, Jon
Sent:
To:
Subject:
                                       Monday, September 11, 2017 10:04 AM
                                       'sheikhosama@gmail.com'
                                       Volunteers for Trousdale-Turner Correctional Center
                                                                                             -
Good day sir,

I met you at the TDOC Chaplain's Conference in May. I wanted to reach out to you concerning
volunteers and our need here at Trousdale-Turner Correctional Center.
Are there candidates or current TDOC volunteers that could minister to the men here? Please advise.

Kind regards,

Chaplain Jon T. Shonebarger, Jr.
Volunteer Coordinator
Trousdale-Turner Correctional Center
140 Macon Way
Hartsville, TN 37074
615.808.0573




                                                                 CCI 000674
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 74 of 198 PageID #: 2357
Shonebarger Jr, Jon

To:                                 operationsdirector@icntn.org
Subject:                            Prison Volunteer Recruitment


Greetings,

Allow me to introduce myself. I am the Chaplain and Volunteer Coordinator for Tennessee's newest state prison,
Trousdale-Turner Correctional Center in Hartsville. Our population is approximately 2600 men.
We need Volunteers/Spiritual mentors for our Sunni inmates. I kindly request you advise your community of such a
significant opportunity. Any interested individuals may contact me. Your assistance is appreciated.

Kind regards,

Chaplain Jon T. Shonebarger, Jr.
Volunteer Coordinator// Ethics & Compliance Liaison
Trousdale-Turner Correctional Center
140 Macon Way
Hartsville, Tennessee 37074
615.808.0573
jon .shonebargerjr @corecivlc.com



        CoreCivic




                                                                 CCI 000675
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 75 of 198 PageID #: 2358
Shonebarger Jr, Jon

From:                                   Sheikh Osama <sheikhosama@gmail.com>
Sent:                                   Thursday, September 28, 2017 9:05 AM
To:                                     ShonebargerJ~Jon
Subject:                                Re: Volunteers for Trousdale-Turner Correctional Center



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unexpected email. ***

Good morning Chaplain,

I am sorry about my delay in reply. I have been trying to work on finding a volunteer. It is a struggle simply
because many locations have made requests and we have a shortage of volunteers. I had hoped that I would
have a better reply however I am still working on finding someone.


Sincere!J,
Imam Ossama Bahlou/ PhD
Resident S chofar of I CN




On Mon, Sep 11, 2017 at 10:04 AM, Shonebarger Jr, Jon <Jon . honebarger.Jr@corccivi c.com> wrote:

 Good day sir,



 I met you at the TDOC Chaplain's Conference in May. I wanted to reach out to you concerning
 volunteers and our need here at Trousdale-Turner Correctional Center.

 Are there candidates or current TDOC volunteers that could minister to the men here? Please
 advise.



 Kind regards,



 Chaplain Jon T. Shonebarger, Jr.
 Volunteer Coordinator
 Trousdale-Turner Correctional Center

 140 Macon Way
 Hartsville, TN 37074

 615.808.0573




                                                                 CCI 000676
 Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 76 of 198 PageID #: 2359
 CoreCivic Portal                                                                                                           Page 1 of7



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                                              Chaplaincy and Religious Services
                                                            Version: Policy
                                                      Publish Date: Apr 13, 2020


            ~ CoreCivic
         20-4 Chaplaincy and Religious Services
          AUTHORITY:                CORECIVIC COMPANY POLICY
          FSC EFFECTIVE DATE:       Apr 13, 2020
          FSC SUPERSEDES DATE:      DECEMBER 18, 2018; PCN 20-4(01) FEBRUARY 20, 2019
          FACILITY:
          FACILITY SUPERSEDES DATE:
          FACILITY EFFECTIVE DATE:

         POLICY:

         CoreCivic facilities shall ensure that all inmates/detainees have the opportunity to participate in the practice of
         his/her faith regardless of race, religion, national origin, sex, disability, or political views (5-ACl-3D-04). Such
         participation includes access to religious publications, religious symbols, religious counseling , religious study
         classes, and congregational religious services. (4-ALDF-5A-01; 4-ALDF-6B-02)

         Inmates/detainees have the opportunity to participate in practices of their religious faith , limited only by
         documentation showing threat to the safety of persons involved in such activity itself or disruption of order in the
         facility (5-ACl-7F-05; 4-ALDF-SC-17). Religious activities and programs are voluntary . No inmate/detainee
         shall be required to attend religious services or programs.

         DEFINITIONS:

         Chaplaincy Staff - Full-time and part-time employees designated as Chaplains or Program Facilitators
         assigned to a facility faith-based program(s) .

         Employee - Any person employed by CoreCivic and working in a full-time or part-time position , including PRN
         (as needed), that is designated as such in the authorized staffing pattern .

         Facility Religious Center (FRCl - A space(s) within the confines of the facility designated for use as a religious
         service/worship/study area, also referred to as a chapel. At some facilities , the FRC is a multi-purpose space
         utilized for non-religious classes or meetings in addition to being utilized for religious services.

         Facillty Support Center (FSCl - CoreCivic's corporate headquarters where employees provide support,
         direction and oversight in the management and operation of the company's correction, detention, residential,
         and community corrections facilities.

         Pastoral Care - The ministry of care and counseling to persons of all faiths , and those who express no faith
         tradition or personal belief system , within a correctional setting. Such care may include professional counseling
         where the Chaplain is appropriately credentialed to provide these services. Spiritual counsel , typically
         understood to be an avenue of Pastoral Care, addresses issues of faith and is limited to the particular
         credentials of the Chaplain providing such counsel. In a correctional setting, Pastoral Care may include serious
         illness and death notifications, grief counseling, preparation for marriage, and counseling in or assistance with
         other similar life circumstances.

         Qua lified Chaplain - An individual who can demonstrate that they possess clinical pastoral education or
         equivalent specialized training, endorsement by an appropriate religious certifying body, and meets the
         minimum qualifications outlined in the Chaplain job description. (5-ACl-7F-01; 4-ALDF-SC-19) All cand idates
         should demonstrate that they possess documentation of Ecclesiastical Endorsement, or eligibility of
         endorsement, board-affiliation as a Chaplain from a credentialing agency, or the recommendation for
         chaplaincy from within a recognized faith practice or tradition .
             • Preferred Qualified Chaplain candidates should demonstrate that they possess a Master's level degree of
               education in religious or theological studies or divinity from an accredited seminary, school, or university,
               including field education experience or volunteer service in a correctional setting.
             • Candidates for Chaplaincy from alternative religious traditions should demonstrate that they possess a
               Master's level degree of education, hold endorsement from an established religious group, accredited
               credentialing agency, University-sponsored organization, or chaplaincy board, and have at least three
               years of supervised chaplaincy experience within a correctional setting .




https ://secure2.compliancebridge.com/corecivic/portal/index. php ?fuseaction=print. preview... 7/28/2020

                                                                CCI 000677
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 CoreCivic Portal                                                                                                              Page 2 of 7


              • Candidates with a Bachelor's degree should have a minimum of seven years of full-time professional
                experience in ministry leadership or pastoral care and counseling that includes at least one year of
                verifiable work or volunteer service in a correctional setting.
          Religious Diet - A specific diet, prepared and served in accordance with a particular religion's dietary
          restrictions or guidelines, that meets the requirements and religious dietary laws of a given faith.

          Religious Items - Items given specific significance within a particular fa ith and held as required, or set apart, for
          the practice of the faith .

          Religious Practice - The observable manifestation of religious belief including, but not limited to:
              • Participating in congregational services, classes , or meetings;
              • Engaging in rituals and ceremonies;
              • Praying, chanting , singing (individually or corporately);
              • Wearing specific articles of clothing, jewelry, symbols, hairstyles, etc.;
              • Adhering to special diets or dietary restrictions;
              • Participating in specific religious activities (holidays, fast days, work proscription days, etc.) peculiar to a
                particular faith; and
              • Any exercise of religion, whether or not compelled by, or central to, a system of religious belief that is a
                sincerely held belief of the individual practitioner.

          Religious Volunteer - An individual who is not an employee of the facility that is affiliated with a non-profit entity
          performing service(s) to inmate/detainee populations for civic, charitable, religious, or humanitarian reasons
          without promise, expectation, or receipt of compensation for the service(s) rendered.

          PROCEDURES INDEX:

         A. CHAPLAIN
         B. RELIGIOUS LEADERS
         C. ACCESS. SPACE, AND EQUIPMENT
         D. DONATIONS
         E. DECLARATION OF RELIGIOUS BELIEF
         F. INMATE/DETAINEE REQUESTS
         G. PROHIBITED PRACTICES
         H. RELIGIOUS DIETS
         I. REPORTING REQUIREMENTS

         PROCEDURES:

         A.       CHAPLAIN

                      Staffing

                      a.  A full-time Chaplain shall be provided at each facility having an average daily inmate/detainee
                      population of 500 or more (5-AC/-7F-02) . The Chaplain's primary role is:

                                The provision of pastoral care;
                           ii.  Religious counseling;
                           iii. Administration of religious services;
                           iv. Facilitation of access to various faith groups: and
                           v. In consultation with and approval from facility administration, the Chaplain(s) will plan,
                           direct, and coordinate all aspects of the religious program, including approval and training of
                           both lay and clergy volunteers from faiths represented by the inmate population. (5-ACl-7F-03;
                           4-ALDF-5C-20) (Refer to CoreCivic Policy 22-1 Volunteer Services and Management and/or
                           the contractually-required agency policy pertaining to volunteers.)

                     b.    In facilities with an average daily inmate/detainee population of less than 500, adequate
                     religious staffing is available. Chaplaincy services shall be provided utilizing part-time or contract
                     Chaplains, or by assigning oversight of religious programing to a full-time employee as an ancillary
                     responsibil ity (5-ACl-7F-02) .

                     c.    Every effort should be made to ensure that staffing is adequate to meet the Chaplaincy needs
                     of a facility's inmate/detainee population . The staffing requirements for personnel are determined on
                     an ongoing basis to ensure that inmates/detainees have access to staff, programs, and services
                     (5-AC/-1C-03) . Chaplaincy staff for religious programs should not exceed a ratio of 1000:1.

                     d.   At those facilities having two or more Chaplains, one of the Chaplains shall be designated as
                     the Supervisory Chaplain . Selection of the Supervisory Chaplain shall be made in consultation with,
                     and the approval of, the FSC Senior Director, Reentry Services, or designee. The Supervisory
                     Chaplain's responsibilities include:

                                 Supervision of Chaplains and the Chaplaincy-at-large ;




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                              ii. Coordinating training of Chaplains and volunteers;
                              iii. Scheduling;
                              iv. Verification of credentials; and
                              v. Related activities.

                     e. Any additional contractual requirements pertaining to the staffing of Chaplaincy
                     programs shall be added to this policy, where applicable, as an "At this Facility" (ATF)
                     procedure.

               2.        Selection

                     a.    The selection of candidates to fill the role of a facility Chaplain shall be subject to the approval
                     of the FSC Senior Director, Reentry Services, or designee. Prior to interviews being conducted,
                     documents such as applications, resumes, transcripts, and other relevant credentials shall be
                     submitted to the FSC Director, Chaplaincy and Volunteer Services, for review and approval.

                     b.    Unless circumstances prohibit, the FSC Director, Chaplaincy and Volunteer Services, shall
                     participate in interviews conducted for Chaplains and Program Facilitator's assigned to religious or
                     faith-based programs.

              3.    Training Requirements

                     a.   Chaplains will complete facility orientation and annual in-service training (5-ACl-1D-10, 5-ACl-
                     1D-15) as required by CoreCivic Policy 4-1 Learning and Development (and/or the contractually-
                     required contracting agency policy).

                     b.    Chaplains shall attend additional Chaplaincy-specific training as required by the FSC Vice
                     President, Correctional Programs, or designee and the Chaplain's Endorsing Agency. Chaplains
                     shall be permitted to attend Endorsing Agency required annual meetings as a function of their
                     duties, not to exceed five days per year.

                     c.    Any additional contractual requirements pertaining to Chaplaincy training shall be
                     added to this policy, where applicable, as an "At this Facility" (ATF) procedure.

               4.    Responsibilities

                     The Chaplain assures equal status and protection for all religions (5-ACl-7F-01; 4-ALDF-5C-19).
                     The Chaplain is responsible for:

                     a.  Coordinating and facilitating the various faith practices represented within the facility's
                     inmate/detainee population;

                    b.    Coordinating the scheduling of all religious programming, to include publishing a current
                    religious services schedule (refer to 20-4AA Facility Religious Center Monthly Schedule [SAMPLE))
                    for distribution within the facility to ensure all inmates/detainees and staff are aware of the various
                    religious programming opportunities and the times those programs are scheduled . Alternate
                    schedules may be developed to address particular facility needs;

                    c.   Visiting all inmates/detainees housed in Restrictive Housing Units and Medical Observation on
                    a regular basis, but not less than once weekly;

                    d.       Supervising any Chaplaincy students/interns approved to serve in the facility;

                    e.    Identifying and supervising qualified volunteers in providing religious instruction, facilitating
                    worship services, and/or providing religious guidance to the inmate/detainee population regardless
                    of their faith;

                    f.  Establishing, participating in, and maintaining working relationships with community ministerial
                    associations and organizations, churches, mosques, synagogues , civil organizations, volunteer
                    organizations, and individuals whose participation and support may improve Chaplaincy and
                    Religious Services programs and activities, and enhance faith community relations; (5-ACl-7F-04)

                    g.     Publishing a current list of all eligible Religious Volunteers scheduled to participate in the
                    facility's religious programs;

                    h.   Reviewing, updating, and approving/disapproving requests for religious articles, diets, events
                    or services, in consultation with the Warden/Facility Administrator or designee;

                    i. Monitoring compliance with the Religious Diet Program as outlined in Section H. Religious
                    Diets; and

                    j.      Providing Pastoral Care for both the inmate/detainee population and facility staff.




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          B.   RELIGIOUS LEADERS

               The Warden/Facility Administrator designates a staff member or contractor to coordinate religious
               activities for inmates/detainees (4-ALDF-5C-18) .

               1. Religious Services shall be conducted by a Chaplain or other staff member having knowledge and
               appropriate training in the particular religious expression to conduct services, classes, or activities
               commensurate with the requirements of a particular faith group.

               2. When a religious leader of an inmate/detainee's faith is not represented through the Chaplaincy staff
               or volunteers, the religious coordinator and Chaplain assist the inmate/detainee in contacting such a
               person. That person must have the appropriate credentials from the faith judicatory and may minister to
               the inmate/detainee under the supervision of the religious coordinator or Chaplain . (5-ACl-7F-06,
               4-ALDF-5C-22)

               3. In the absence of a representative from a given faith group being represented within the facility
               population, inmates/detainees may, on a rotating or group basis, participate in the practice(s), ceremony
               (ies), or activity(ies) of their particular faith under the direct supervision of a facility staff member.

               4. Under no circumstances will an inmate/detainee be recognized as the leader or official
               representative of any faith group.

         C.    ACCESS, SPACE AND EQUIPMENT

               1. Religious programs and services are accessible to inmates/detainees with disabilities who reside in
               the facility (5-ACl-2C-11) . Discrimination to religious programs based on a disability is prohibited (5-ACl-
               5E-02; 4-ALDF-6B-02).

               2. Consistent with facility safety and security, Chaplains and/or religious staff are permitted physical
               access to all areas of the facility to minister to inmates/detainees and staff and to perform Chaplaincy
               responsibilities (5-ACl-7F-02; 4-ALDF-5C-21) .

               3. Program space and equipment shall be provided adequate for the conduct and administration of
               religious programs, classes, activities, practices, ceremonies, and/or services commensurate with the
               facility inmate/detainee population(s) and the faith groups represented therein, and in keeping with sound
               correctional practice regarding safety and security . The facility provides for the availability of non-
               inmate/detainee clerical staff for confidential materials and to assist with administrative duties, such as
               entering data for quarterly and annual program metrics (5-ACl-7F-07; 4-ALDF-5C-23).

               4. Congregate worship items shall be stored in the Facility Religious Center in a manner consistent with
               the facility's security policies and in coordination with the Warden/Facility Administrator or designee.

         D.    DONATIONS

               1.   The Chaplaincy Program may accept items for use in religious programs and activities from faith
               groups, local or national ministries, churches, mosques, synagogues, civil groups and organizations, as
               well as individuals, subject to the approval of the Warden/Facility Administrator (5-ACl-7F-08; 4-ALDF-
               5C-24).

               2. The items shall be inventoried (excluding religious publications, books, magazines, tracts, brochures,
               posters , and similar items intended to be distributed to the inmate/detainee population) at the time of
               receipt. A copy of the inventory and all records shall be provided to the facility Business Manager who will
               maintain a detailed account of items received and disposed.

               3.   Monetary donations will not be accepted.

         E.    DECLARATION OF RELIGIOUS BELIEF

               1. Each arriving inmate/detainee shall be given the opportunity to declare his/her religious preference, if
               any, at intake. For the purpose of entry into the Offender Management System (OMS) , and/or similar
               contracting agency systems, the inmate/detainee may select his/her faith group from the list provided in
               20-488 Known Religious Expressions for OMS Entry . The staff member making the data entry shall
               confirm the selection in the field for accuracy.

               2. Each inmate/detainee may request a change of religious preference by submitting to the Chaplain a
               20-4C Declaration of Religious Preference form.

         F.    INMATE/DETAINEE REQUESTS

               1. Inmates/detainees may request religious clothing, symbols, and other items required for the practice
               of a particular faith by completing and submitting a 20-4A Religious Article Authorization Request to the




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              Chaplain. The Chaplain or designee will meet with the inmate/detainee requesting the item within ten
              working days of receipt of the request to determine approval/disapproval.
                   a. Any additional contractual requirements pertaining to allowable religious property/items
                   shall be added to this policy, where applicable, as an "At this Facility" (ATF) procedure.

              2. Inmates/detainees may request religious publications . The Chaplain , in consultation with the
              Warden/Facility Administrator or designee, shall review and approve religious publications, books,
              magazines, tracts, brochures, posters, etc. delivered to the facility at-large (i.e. not addressed to a specific
              inmate/detainee) prior to these documents being circulated within the facility . Restrictions on such
              correspondence shall be in accordance with CoreCivic Policy 16-1 Correspondence Procedures and 14-6
              Inmate/Detainee Property (and/or the contractually-required contracting agency policy) .

              3. If a religious practice or ritual is not in place at the facility , an inmate/detainee may request to add it
              by submitting a 20-4B Religious Practice Authorization Request to the Chaplain . The Chaplain or
              designee will meet with the inmate/detainee making the request within ten working days of receipt and
              gather sufficient information to objectively consider approval.

              4.    Inmates/detainees may request a special religious service or ceremony by submitting a 20-4E
              Request for Special Service/Ceremony to the Chaplain at least 60 days in advance of the requested date
              of the service/ceremony.

              5. The inmate/detainee making the request should provide documentation and/or references
              concerning the requirement of his/her faith for the requested service/ceremony and how the
              service/ceremony can be reasonably put in place within the facility.

              6.    The request must not pose a threat to the participants or the safety and security of the facility .

              7. The Chaplain, in consultation with the Warden/Facility Administrator or designee, shall determine if
              the request is in keeping with established standards for religious services or ceremonies.

         G.   PROHIBITED PRACTICES

              1.    Prohibited practices and behaviors include , but are not limited to:

                    a.   Animal sacrifice;
                    b.   Language or behavior that may be reasonably understood to be a threat to the safety, security,
                    or orderly operation of the facility;
                     c.  Nudity;
                    d. Self-mutilation;
                    e. Use or possession of weapons or items that appear to be or may be used as weapons;
                    f.   Paramilitary exercises;
                    g.   Self-defense training (e.g . martial arts);
                    h.   Sexual acts;
                         Consumption or ingestion of alcohol or other intoxicant by an inmate/detainee; and
                    j.   Disparaging or attacking the practice of other religions.

              2. Any additional contractual requirements pertaining to prohibited practices shall be added to
              this policy, where applicable, as an "At this Facility" (ATF) procedure.

         H.   RELIGIOUS DIETS

              Religious diets shall be provided for inmates/detainees whose religious beliefs require adherence to
              religious dietary laws (5-ACl-5C-07; 4-ALDF-4A-10). Religious diets will be provided in accordance with
              CoreCivic Policy 11-1 Food Service Operations (and/or the contractually-required contracting agency
              policy).

              1. Religious diets shall be approved by the Chaplain. In the absence of a full-time Chaplain, the
              Warden/Facility Administrator may authorize a qualified individual to approve religious diets (4-ALDF-4A-
              10). The Chaplain will consult with the Warden/Facility Administrator or designee, and the Food Service
              Manager, to approve/disapprove requests in a timely manner. Religious diets should also meet the
              dietary requirements established by the Dietitian.

              2. Inmates/detainees may request a special religious diet by completing and submitting to the Chaplain
              a 20-4D Request for Religious Diet. The written request must clearly identify why the current facility diet
              is insufficient in allowing the practice of the inmate/detainee's faith.

              3. Inmates/detainees who participate in the Religious Diet Program will sign a 20-4J Religious Diet
              Agreement in recognition of their understanding of the Religious Diet Program, expectations,
              requirements, and conditions for removal and reinstatement.

              4. The Chaplain will periodically monitor compliance with the Religious Diet Program by observing
              meals and reviewing the commissary lists of a percentage of the program's participants.




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                 5. In accordance with CoreCivic Policy 11-1 Food Service Operations, the Chaplain will review and
                 update the 11-1 M Religious Diet List by the 5th day of each month and email a copy to the Food Service
                 Manager. When an inmate/detainee has been placed on a religious diet, the 11-1 M shall be updated.

                 6. Religious ceremonial meals, feasts, etc. shall not be funded by private sources, the Chaplaincy
                 Fund , or community organizations. If ceremonial meals are held , all menus for ceremonial meals will be
                 developed in advance of the meal and approved by the FSC Senior Director, Food Service, and the
                 Warden/Facility Administrator or designee.

                 7. Any additional contractual requirements pertaining to religious diets shall be added to this
                 policy, where applicable, as an "At this Facility" (A TF) procedure.

          I.   REPORTING REQUIREMENTS

                 1.   Quarterly Chaplaincy Activity Report

                      On or before the 5th of the first month of the new quarter, the Warden/Facility Administrator, or
                      designee, shall submit a complete report of the Chaplaincy and Religious Services activities for the
                      preceding month using the 20-4F Quarterly Chaplaincy Activity Report. The 20-4F shall be
                      completed in its entirety, leaving no blank fields , and submitted in electronic form to the FSC
                      Director, Chaplaincy and Volunteer Services.

               2.     AnnualReports

                      a.    Annual Chaplaincy Program Self-Evaluation (5-ACl-5E-04)

                            The 20-4G Annual Chaplaincy Program Self-Evaluation shall be conducted by the Chaplain
                            annually on or before February 1st for the preceding year. The completed 20-4G shall be
                            provided to the Warden/Facility Administrator and submitted, in electronic form, to the FSC
                            Director, Chaplaincy and Volunteer Services.

                      b.    Annual Religious Preferences/Needs Survey (5-ACl-5E-04)
                            The 20-4H Annual Religious Preferences/Needs Survey shall be prepared by the Chaplain
                            annually, on or before February 1•t of each year, in consultation with the facility's
                            administrative staff. The completed 20-4 shall be submitted in electronic form to the FSC
                            Director, Chaplaincy and Volunteer Services.

         REVIEW:

         This policy shall be reviewed annually by the FSC Senior Director, Reentry Services, or designee.

         APPLICABILITY:

         All CoreCivic Safety Facilities

         APPENDICES:

         20-4AA       Facility Religious Center Monthly Schedule (SAMPLE}
         20-488       Known Religious Expressions for OMS Entry

         ATTACHMENTS:

         20-4A        Religious Article Authorization Request
         20-4B        Religious Practice Authorization Request
         20-4C        Declaration of Religious Preference
         20-4D        Request for Religious Diel
         20-4E        Request for Special Service/Ceremony
         20-4F        Quarterly Chaplaincy Activity Report
         20-4G        Annual Chaplaincy Program Self-Evaluation
         20-4H        Annual Religious Preferences/Needs Survey
         20-41        Interview Record
         20-4J        Religious Diet Agreement
         11-1M        Religious Diet List

         REFERENCES:

         CoreCivic Policy   4-1 Learning and Development
         CoreCivic Policy   11-1 Food Service Operations
         CoreCivic Policy   14-6 Inmate/Detainee Property
         CoreCivic Policy   16-1 Correspondence Procedures




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         CoreCivic Policy 22-1 Volunteer Services and Management

         Religious Freedom Restoration Act, Public Law No. 103-141, 107 Stat. 1488

         Religious Land Use and Institutionalized Persons Act, Pub.L. 106-274

         American Correctional Association (ACA) Standards for Adult Correctional Institutions (ACI) and Adult Local
         Detention Facilities (ALDF):

         5-AC 1-1 C-03
         5-ACl-1D-10
         5-ACl-1D-15
         5-ACl-2C-11
         5-ACl-3D-04
         5-ACl-5C-07/4-ALDF-4A-10
         5-ACl-5E-02
         5-ACl-5E-04
         5-ACI-7F-01 /4-ALDF-5C-19
         5-ACI-7F-02
         5-ACI-7F-03/4-ALDF-5C-20
         5-ACl-7F-04
         5-ACl-7F-05
         5-ACl-7F-06/4-ALDF-5C-22
         5-ACI-7F-07 /4-ALDF-5C-23
         5-ACl-7F-08/4-ALDF-5C-24
         4-ADLF-5A-01
         4-ALDF-5C-17
         4-ALDF-5C-18
         4-ALDF-5C-21
         4-ALDF-6B-02

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                       ADMINISTRATIVE POLICIES                                           -
                          AND PROCEDURES                            Effective Date: January I, 2016
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    Subject: RELIGIOUS DIET PROGRAMS AND FEASTS



          I.    AUTHORITY: TCA 4-3-603, TCA 4-3-606, the Religious Land Use and Institutionalized Persons Act,
                42 U.S.C. 2000cc, et seq.

         II.    PURPOSE: To establish procedures for the Tennessee Department of Correction (TDOC) facilities to
                provide religious diet requirements to inmates while maintaining the safety, security, and order of each
                institution.

        Ill.    APPLICATION: Wardens, Dietitians, Fiscal Directors, Food Services Director, Food Services
                Managers, Procurement Officers, Warehouse Supervisors, Chaplains, inmates, Unit Management staff,
                and Counselors.

        IV.     DEFINITIONS:

                A.       Chaplain: A staff member who is an ordained or endorsed minister in his/her faith group and
                         who remains in good standing and meets the requirements established by the Department of
                         Human Resources for employment as a chaplain. This individual is responsible for providing
                         pastoral care and religious leadership within an institution.

                B.       Common Fare Menu: Menu implemented with common meals served to accommodate Kosher,
                         Halal, and House of Yahweh diets.

                C.       lnn1atc Religious Diet Progran1: A program in which inmates can apply to obtain religious
                         dietary items to comply with their religious tenets.

                D.       Religious Activities Commit1ee: A group established by the Director of Religious Services with
                         approval of the Commissioner responsible for review and approval of religious accommodation
                         requests.

                E.       Religious Advisor: Individuals of various faith groups that partner with TDOC to provide
                         religious diet consultation and approval of procurement services and menus offered by TDOC.

                F.       Religious Diet: Specific foods and/or food preparation techniques that satisfy religious dietary
                         requirements.

        V.      POLICY: The Department shall provide oppo1tunities for inmates to voluntarily practice their religious
                diet needs during incarceration.

        VI.     PROCEDURES:

                A.        Religious diet rqguirements shall be met as follows:




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     Subject: RELIGIOUS DIET PROGRAMS AND FEASTS


                          I.   Religious dietary needs not addressed by the vegan or vegetarian menu shall be addressed
                               as provided in Section VI.(B) below. Religious dietary needs addressed by the vegan or
                               vegetarian menu shall be addressed as provided in Policy #I 16.01.

                      2.       Kosher, Halal, and House of Yahweh meals shall be provided in accordance with the
                               common fare menu developed by the Food Services Director, TDOC Dietician, and in
                               consultation and approval by a qualified religious advisor to ensure adherence to religious
                               requirements and to ensure nutritional adequacy.

                      3.       All food for additional religious holiday feasts shall be prepared by institutional food
                               service staff in consultation with a qualified religious advisor to ensure and adhere to
                               religious requirements. Volunteer groups may participate in the activities only as
                               provided in Policy #118.01.

              B.          Religious Ditltary Requircmci11s Outside the Routine Memr:

                          1.   Request Pri'Jcess: Inmates who are members of faith groups with religious diet tenets
                               may request approval to participate in the Inmate Religious Diet Program when their
                               religious dietary needs cannot otherwise be met with dietary alternatives provided within
                               the Standardized Menu. Such request must be submitted to the Chaplain in writing and
                               articulate the specific religious motivation for participation in the program.

                          2.   Approval Process:

                                a,     Upon receiving an inmate's request to participate in the Inmate Religious Diet
                                       Program, the Chaplain will interview the inmate to ascertain the inmate's faith.
                                       The inmate shall also be required to complete the Religious Diet Participation
                                       Agreement, CR-3814. Within ten days of receipt, the Chaplain will forward a
                                       copy of the request with his/her recommendations to the Warden for his/her
                                       approval or disapproval.

                                b.      lf the Warden approves the request, the Director of Religious Services shall be
                                        informed of the decision and the information will be provided to the Food
                                        Service Manager at the facility. If the Warden disapproves, the request shall be
                                        sent to the Director of Religious Services. Within 30 days, the Warden and the
                                        Director of Religious Services shall work together to agree on the approval or
                                        disapproval of the request.

                                c.      If the Warden and Director of Religious Services do not agree on the disposition
                                        of the request, the Director of Religious Services shall submit the request to the
                                        Religious Activities Committee to be approved or disapproved in the same
                                        manner as a request for group accommodations. The Chaplain shall notify the
                                        inmate of the decision regarding the request.

                                d.      Any inmate who has been ordered a specific therapeutic diet is responsible for
                                        informing the ordering physician of the inmate's religious diet requirements.
                                        Efforts shall be made to coordinate with Food Service to resolve any diet
                                        conflicts.

                     3.         Documentation




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     Subject: RELIGIOUS DIET PROGRAMS AND FEASTS



                           a.      Upon inmate transfer to another facility, the person doing orientation shall
                                   inquire whether the inmate has a current approved Religious Diet. Verification
                                   will be made by checking the inmate file and contacting the sending facility.
                                   Notification will be made to the food services manager/designee by telephone
                                   immediately and a copy will be forwarded to the food service manager and
                                   Chaplain of the receiving facility. If there is a question as to whether the diet is
                                   approved, the inmate will be given the religious diet meal until the verification of
                                   the religious diet approval from the sending facility can be made by the receiving
                                   facility staff.

                           b,      The completed request for Religious Diet Program Participation and Agreement,
                                   CR-3814, shall be placed in the Inmate's Institutional Record. A copy shall be
                                   retained by the Chaplain and a copy forwarded to the Food Service Manager and
                                   the Warden. To participate in the Religious Diet Program, an inmate must sign a
                                   new CR-3814 whenever the form is revised. Failure to do so within 30 days of a
                                   revision will result in termination from the program until the current form is
                                   signed. The Chaplain is responsible for notifying participants when a new form
                                   must be signed.

                    4,     Termination. Suspension. and/or Reinstatemenl lo/from lhe Inmate Religious Diet
                           Program

                            a.     An inmate may request that their religious diet be   cancelled. The request shall be
                                   in writing, using the Religious Diet Cancellation    Request, CR-3813, and will be
                                   effective immediately. When an inmate cancels        his religious diet, food service
                                   staff should be notified immediately by phone.        A copy will be given to the
                                   Chaplain, Warden, and Food Service Manager.

                            b.     Inmates wishing to engage in personal religious fasts must provide written notice
                                   of the starting time and date, the intended duration of the fast, and the ending
                                   time and date to the correctional facility chaplain and food services manager at
                                   least seven calendar days in advance of the fast.

                            c.     In order to preserve the integrity and orderly operation of the Inmate Religious
                                   Diet Program and to prevent fraud, inmates who withdraw may not be
                                   immediately reinstated back into the program. The process of reapproving a
                                   religious diet for an inmate who voluntarily withdraws may extend up to 30 days.
                                   Repeated withdrawals, however, may result in inmates being subjected to a
                                   waiting period of up 90 days, unless a change of religious affiliation is approved
                                   per Policy #118.01.

                            d,     If an inmate is found in violation of the religious diet agreement the Warden has
                                   discretion to suspend and or terminate the inmate from the program. The first
                                   violation shall result in a suspension from the program. Repeated violations may
                                   result in termination from the program.

                           e.      If an inmate is found in violation of the religious feast guidelines provided by
                                   Central Office, the inmate will not be allowed to paiticipate in the feast.




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             C.       Food Service Operations

                      I.   Food services staff shall prepare and serve approved religious diets.

                      2.   Common fare menu's utensils shall be stored in designated locked microwave cage in the
                           main kitchen of each facility.

                      3.   The Kosher microwave cage shall contain the fotl()Wing:

                           a.      Approved stockpot, lid, measuring cup, and serving ladle for lunch and dinner
                                   daily services

                            b.      Disposable tray and disposable silverware

                            c.      Inmate name and inmate number will be written on their disposable tray

                            d.      Cage shall be clearly marked, "This cage is for religious dietary items only"

                      4.   The complete rice meals shall be stored in secured, locked dry storage area when
                           received in the kitchen.

                      5.    Common fare meals shall be prepared according to religious practices to include not
                            preparing meals with pork or with alcohol. Surfaces shall be cleaned and sanitized
                            appropriately to avoid cross-contamination.

                      6.    Food service staff and inmates that prepare and/or serve religious diets shall be
                            appropriately trained in the preparation, handling, and delivery of meals. The Food
                            Service Department is not required to purchase or use separate equipment or utensils for
                            the preparation and service of religious meals other than the designated microwave and
                            religious diet cage.

                      7.    The Food Service Manager shall keep a monthly log of the type and number of the
                            religious diets ordered and served as outlined in Policy #116.01 by providing a sign-in
                            sheet for each meal to verify that the inmate has picked up his/her religious diet with the
                            exception of the segregated units and Health Center (DSNF.) This information will be
                            forwarded to the Chaplain and the Fiscal Director. The Fiscal Director shall email this
                            information in a spread sheet to the Food Service Director in conjunction with the Food
                            Service Report, CR-3854.

             D.       Rcligious/lkilldav Feast Menu Program

                      1.    If the religious feast is not covered by the standardized menu program feast menu, the
                            Chaplain shall initiate the process and determine the number of inmates requesting
                            participation at least 60 days in advance. The Warden shall determine by their
                            designation whether to approve utilizing the special events memo and standardized menu
                            pre-order process for provision of the feast in accordance with Policy #118.01 or whether
                            the institution will provide the food.




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     Subject: RELIGIOUS DIET PROGRAMS AND FEASTS



                             a.        The Fiscal Director shall submit a proposal to the Warden in the form of an
                                       emailed routing slip that includes date of service, quantity, unit of measure,
                                       approximate cost, number of people to be served, food items to be purchased and
                                       the total cost.

                             b.        Any such additional food requests must have the Warden's approval. Any
                                       purchase in excess of $500.00 shall be submitted for approval to the TDOC
                                       Director of Food Service. The TDOC Director of Food Service will obtain the
                                       approval of the Director of Budget and Fiscal Services, the Deputy
                                       Commissioner of Operations, and the Deputy Commissioner of Administration or
                                       designee. The final approval must be attached and uploaded to the requisition.
                                       The Director of Food Service will notify the institution regarding the status of the
                                       request.

                             c,        Special Event Food items will be purchased under Department 329XX00l50 for
                                       inmate food purchases and 329XX00 I 00 for staff food purchases; Account Code
                                       70903000. XX is the last two digits of the business unit, for example 32945.
                                       Such purchases will not be included in the Food Service Report, CR-3854.

                             d.        Any purchase in addition to the Standardized Menu Kit must be pre-approved by
                                       the TDOC Director of Food Service, the Executive Assistant to the Deputy
                                       Commissioner of Administration, and the Director of Budget and Fiscal Services.
                                       The proposal should be in the form of an emailed routing slip that includes date
                                       of service, quantity, unit of measure, approximate cost, number of people to be
                                       served, food items to be purchased and the total cost.

                             e.        These purchases will be coded to Department 329XX00 150 for all inmate food
                                       purchases and 329XX00 I 00 for staff meal purchases; Account Code 70903000.
                                       XX is the last two digits of your business unit, for example 32945. Such
                                       purchases will be included in the Food Service Report, CR-3854. The TDOC
                                       Director of Food Service will notify the institution regarding the status of the
                                       request.

                       2.    TDOC will serve a special meal through food service provided to all population for the
                             following feasts to be observed:

                             a.        Christian (Christmas and Easter)

                             b.        Muslim (Ramadan and the Feast of Abraham)

                       3.    Inmates are permitted to participate in two feasts per year for other religious groups
                             which can be requested in accordance with Policy# 118.0 I regarding group requests.

        VII.    ACA STAND ARDS: None.

       VIII.    EXPIRATION DATE:          January 1, 2019.




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                       ADMINISTR ATIVE POLICIES
                           AND PROCEDUR ES                                  Effective Date: February 15, 2014
                            State of Tennessee                              Distribution: A
                         Department of Correction                           Supersedes: 118.01 (1/1/11)
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                                                                                        PCN 12-2 (1/1/12)

  Subject: RELIGIOUS PROGRAMS



          I.    AUTHORITY : TCA 4-3-603, TCA 4-3-606, the Religious Land Use and Institutionalized Persons
                Act, 42 U.S.C. 2000cc, et seq., the Omnibus Crime Control and Safe Streets Act of 1968, 42 U.S.C.
                3789d, and the Prison Litigation Refonn Act of I 995.

         II.    PURPOSE: To ensure access to religious resources for all inmates.

       II I.    APPLICATION: To all Tennessee Department of Correction (TDOC) staff, volunteers who are
                involved in the operation of religious programming, all inmates, and employees of privately managed
                institutions.

       IV.      DEFINITIONS:

                A.        Chaplain: A staff member who is an ordained or endorsed minister in his/her faith group
                          and who remains in good standing and meets the requirements established by the
                          Department of Human Resources for employment as a chaplain. This individual is
                          responsible for providing pastoral care and religious leadership within an institution.

                B.        Director of Religious Services: Designated staff person who is an ordained or endorsed
                          minister in his/her faith group and who remains in good standing responsible for overseeing
                          and evaluating all religious activities within the Department.

                C.        Faith Group: A group whose sole purpose is to conduct a religious activity or religbus
                          exercise.

                D.        Outside Clergy: Ordained clergypersons who come into TDOC institutions for the purpose
                          of ministering to inmates.

                E.        Religious Activity: An activity or program conducted by or under the supervision of the
                          chaplain or under the supervt:iion of trained staff or approved volunteers. This activity is
                          designed specifically for worship, religious education, spiritual guidance, counseling or
                          other religious service.

                F.        Religious Activities Committee: A group established by the Director of Religious Services
                          with approval of the Commissione r responsible for review and approval of religious
                          accommodation requests.

                G.        Religious Exercise: Study, prayer, worship, and other liturgical activities, usually directed
                          toward a god or gods, to achieve benefits in this life and/or eternity.

                1-1.      Religious Volunteer: A volunteer who participates in or leads religious services, religious
                          activities, and/or religious exercises.




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  Subject: RELIGIOUS PROGRAMS



             I.       Security Threat Group (STG): Any group, organization, or association of individuals who
                      possess common characteristics which serve to distinguish them from other individuals or
                      groups who have been detennined to be acting in concert, so as to pose a threat or potential
                      threat to staff. other inmates, the institution, or the community.

             J.       Volunteer Chaplain: Religious or faith-based volunteer appointed by the Warden or
                      designee to assist the chaplain in performing his or her duties.

       V.    POLICY: The Department shall provide opportunities for inmates to voluntarily practice their
             religion and receive appropriate pastoral care during incarceration.

      VI.    PROCEDURES:

             A.       Security Threat Groups (STG): Inmate possession of STG type materials or symbols is
                      prohibited. First Amendment free exercise protection applies to religious ideas and symbols
                      by faith groups whose only purpose is religious but it does not extend to STG's use of
                      religious ideas and symbols.

             B.       Religious Staff

                      1.   Institutional Chaplains

                           a.    The institutional chaplain shall be responsible for planning, leading,
                                 administering, and coordinating religious activities and developing community
                                 resources to meet the religious needs of inmates within the guidelines set by
                                 policy with the approval of the Warden. The Warden may delegate approval
                                 authority for specific actions to the chaplain or other designee.

                           b.    In institutions without a chaplain, the Warden shall appoint one or more staff
                                 members to perform the chaplain's duties.

                           c.    Volunteers for religious assignments and religious program interns shall work
                                 under the supervision of the chaplain or other designated staff member.

                           d.    The chaplain shall be responsible for initiating programs, drafting budget
                                 requests, and submitting reports. The chaplain shall attend appropriate staff
                                 meetings and work with other staff for the well-being of the inmates and the
                                 institution.

                           e.    The chaplain shall have access to all areas of the institution. all staff, and all
                                 inmates.

                           f.    Chaplains shall be available to provide counseling to inmates in areas of religious
                                 concerns, personal matters, crisis or high anxiety situations, and/or family
                                 problems upon request from inmates. An appropriate private area should be made
                                 available for the chaplain to counsel persons without interruption.

                           g.    Inmates who are in segregation shall have the opportunity to see the chaplain or a
                                 volunteer chaplain for crisis situations and at least weekly for routine matters.




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                          h.   Chaplains shall remain in good standing with their faith group and retain their
                               endorsed or ordained status. Chaplains shall be permitted to attend events of their
                               faith group when participation is expected of al I persons in their position. The
                               expense for attendance shall be paid by the chaplain, but he/she shall be granted
                               administrative leave for up to five days per year for such required attendance.

                          i.   The chaplain may be asked to visit and/or counsel with staff or meet with staffs
                               families in hospitals or funeral homes, and he/she may be granted administrative
                               leave by the Warden for such visits and meetings.

                         j.    The Department shall not impose upon the chaplain or any volunteer chaplain,
                               any duties that are in conflict with the chaplain's faith group, i.e., marriage,
                               baptism, communion. When a conflict exists, the chaplain sha11 make a
                               reasonable effort to assist inmates in locating another TDOC chaplain, outside
                               clergy or volunteer chaplain, or a community religious leader to fulfill the
                               request.

                         k.    The chaplain shall avoid proselytizing for his/her particular faith.

                         I.    The chaplain may, with the Warden's approval, develop training opportunities
                               for clergy and theological students and/or supervise field training for theology
                               students where such programs can provide a valuable supplement to the religious
                               programming at the institution.

                         m.    The Warden may appoint volunteer chaplains as needed.

                         n.    The chaplain sha11 document inmates changing their religious preference on
                               eTOMIS (LCLA). The chaplain will also document this on eTOMIS contact
                               note screen (LCDG) using contact code "RECH" indicating a reason for the
                               change. Indication of religious preference by an inmate does not constitute
                               approval by TDOC of the accommodations requested by the indicated group. To
                               permit processing of records, inmates may change their religious preference no
                               more frequently than quarterly. The inmate's religious property specific to
                               his/her former religious preference must be sent home or otherwise disposed of
                               within 30 days after changing religious preference.

                         o.    Chaplains shall execute their duties relating to inmate marriages as described
                               within Policy #503.07. Neither Chaplains mr volunteer Chaplains in TDOC or
                               privately managed facilities shall receive a fee or solicit donations to charities in
                               exchange for performing marriages or premarital counseling services. Qualified
                               outside persons may receive such fees as negotiated and agreed to by the inmate.

                  2.     Outside Clergy, Volunteer Chaplains, and Religious Volunteers

                         a.    Inmates may receive visits from outside clergy, volunteer chaplains, and religious
                               volunteers. Their names and the names of inmates they are allowed to visit shall
                               be provided by the chaplain or designated religious leader and maintained at
                               checkpoint.

                         b.    All volunteer chaplains and religious volunteers must comply with policies in the
                               #115 series (Volunteer Services).




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                         c.    Outside clergy, volunteer chaplains, and religious volunteers should be recruited
                               to assist in meeting the religious needs of all represented faith groups in the
                               institution.

                         d.    Individuals or groups aspiring to be volunteers have no First Amendment right to
                               minister in prison.

                         e.    Religion may be a factor in selecting volunteers, either to maintain balance
                               between faith groups or to recruit a leader for a specific faith group.

                         f.    Volunteer chaplains and religious volunteers may be required to be inclusive as
                               they lead groups and failure to do so may result in their dismissal.

                         g.    Outside clergy, volunteer chaplains, and religious volunteers may speak
                               positively about their own faith but may not speak negatively about other faiths.

                         h.    Volunteers shall not provide any personal contact information such as phone
                               numbers, e-mail address, or street address to inmates but volunteers may provide
                               contact information of their sponsoring organizations.

                         i.    Volunteer chaplains are TDOC-certified volunteers who work either part-time or
                               full-time assisting the chaplain. Duties are assigned according to differing skill
                               levels, abilities, and time commitments to the institution. In the absence of the
                               chaplain, a volunteer chaplain may fill in and assume the chaplain's
                               responsibilities, subject to approval by the Warden. Volunteer chaplains are
                               recommended by the chaplain, appointed by the Warden, and may be required to
                               attend training specific to their required duties.

                         j.    Outside clergy need not be placed on the approved visitor's list and do not need
                               to become certified volunteers in order to visit. However, inmates may elect to
                               place outside clergy on their visitor's list and outside clergy may elect to become
                               certified volunteers. All outside clergy must complete an Outside Clergy
                               Application, CR-3347, and have the approval of the chaplain in consultation with
                               the Director of Religious Services. They must acquaint themselves with the rules
                               of the institution and agree to abide by them. Outside clergy visits are scheduled
                               by the chaplain. The chaplain shall also maintain a list of approved outside
                               clergy.        The list shall contain the clergyperson' s name, address, telephone
                               number, and e-mail address (if there is one); the name of the faith group; and the
                               name of the inmate(s) the clergyperson is approved to visit. The chaplain shall
                               maintain a file evidencing the qualifications of all approved outside clergy.

                         k.    Religious volunteers work under the supervision of, and provide assistance to,
                               the chaplain. Each religious volunteer must comply with Policy # 115.01 and
                               complete all required screening, training, orientation, and reference and
                               background checks.

                         I.    All outside clergy (except those approved by the Warden for one-time emergency
                               visits) must receive an acceptable NCIC Criminal History Report which must be
                               updated at least every five years. If an outside clergy has been away from the
                               facility for more than 12 months, he/she shall be processed as a new outside
                               clergy.




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                          m.     The chaplain or another staff rrember designated by the Warden shall submit a
                                 NCIC Criminal History Request, CR-3552, within ten working days of receipt of
                                 the application for all persons seeking to be approved as new outside clergy.
                                 Results of the criminal history report shall be provided to the appropriate staff in
                                 accordance with Policy #301.04. If the report discloses evidence of previously
                                 undisclosed offenses, the Warden shall take appropriate action in the same
                                 manner as provided in Policy #115.01.

                          n.     Volunteers will be allowed to bring in outside food, paper goods, plastic utensils,
                                 beverages, and necessary serving items at the discretion of the Warden for
                                 special events such as but not limited to graduations, holidays, meetings and
                                 family days. An itemized list of all requested items must be submitted to the
                                 Chaplain and approved by the Warden 21 days prior to the event, such as
                                 graduations, holidays, meetings and family days. All food, beverage(s) and
                                 paper goods items will be cleared by security before being allowed entry into the
                                 facility. Volunteers are responsible for providing all supplies necessary for the
                                 serving of their food items and cleaning up after the event. All beverages must
                                 be in sealed plastic containers. At the conclusion of the event, offenders will not
                                 be allowed to return to their units with any food items.

              C.   Individual Religious Practices

                   1.      Religious Diets: Inmates may request to participate in the Religious Diet Program per
                           Policy # 116.08 and may contact the Chaplain to complete the Request for Religious
                           Diet Program Participation and Agreement, CR-3814.

                   2.     Religious Literature: Inmates may receive religious literature, materials, books, CDs,
                          DVDs, video tapes and tape recordings about religion or religious teaching in
                          accordance with Policies #504.01 and #507.02. Chaplains will make donated religious
                          literature available to inmates. Reasonable access to CD players, DVD players, video
                          tape players and tape players will be made available to inmates in the chapel, the
                          library or another area designated by the Warden Misuse or tampering with such
                          players may result in disciplinary action. Inmates may not possess such players in their
                          cells unless they are authorized to do so per Policy #504.01 and the #504.01 Personal
                          Property Memo.

                   3.     Religious Objects: Inmates may possess objects of religious significance in accordance
                          with policy and the approved religious property memo. Religious objects are not
                          excluded from the volume limit. All objects are subject to security search and certain
                          objects may be prohibited if they are identified as security threat material under Policy
                          #506.25. Such objects may be donated to indigent inmates by volunteers, Outside
                          Clergy or outside organizations.




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                  4.     Religious Property Memo: By July I of each year, the Commissioner shall publish a
                         list of religious property that inmates are permitted to have in their possession,
                         and/or in approved group religious gatherings. Items shown on the list shall not
                         count against the maximum number of packages an inmate may receive, and the
                         existence of a disciplinary package restriction shall not prohibit the receipt of such
                         property, unless the Warden determines on a case by case basis that receipt of such
                         property by the inmate will jeopardize institutional safety and security. The list may be
                         revised as frequently as needed and may include restrictions on such property. All
                         inmates and inmate groups are required to be in compliance with the list.

                  5.     Any material, having a concentration of I% or more of any ingredient for which a CAS
                         number is listed in section two of the Material Safety Data Sheet or specifically
                         identified as hazardous by the ACA or by the fire safety officer shall be controlled (i.e.,
                         prayer oils).

                  6.     Inmates may wear headgear which is in keeping with the security practices of the
                         institution. All religious clothing or other accessories are subject to respectful search at
                         any time for security purposes. (See Policies #506.25 and #504.0 I)

                  7.      Inmate Organizations: Religious preference or affiliation shall not be the basis for an
                          inmate organization, fund raising by sales or activities, or trust fund accounts. (See
                          Policy #503.01)

                  8.     rnmates may use non-flammable, non-alcoholic sacramental oil in modest amounts for
                         religious purposes. Inmates may purchase three ounces of such oil from vendors
                         approved by the TDOC and in accordance with Policy #507.02; provided, however,
                         sacramental oil for religious use shall not count against the maximum number of
                         packages that an inmate may receive and the existence of a disciplinary package
                         restriction shall not prohibit the receipt of sacramental oil for religious use. Inmates
                         may keep such oil in their cells in its original container in an amount not to exceed
                         three ounces. Any use of such oil for non-religious purposes shall result in a
                         disciplinary action.

                  9.     Inmates may engage in prayer as an individual religious exercise during periods of
                         recreation (while in their cell or bed assignment and during non-work or programming
                         times). Corporate or group prayer shall be reserved for scheduled religious activities.

                  10.    In Catholic worship services, the priest (but no inmates) may consume small amounts
                         of consecrated wine, subject to the following restrictions: No more than one half ounce
                         may be brought into the institution by the priest per service, provided the empty
                         container and any unused wine shall be taken out by the priest after each vis it. An
                         accurate record of all wine which comes in and out shall be maintained at checkpoint.
                         No staff member, chaplain, volunteer chaplain, or religious volunteer shall be permitted
                         to bring wine into the institution.

                  11.    Abuse or misuse of religious rights and privileges (for example, an inmate using a
                         religious item for non-religious purposes or an inmate with permission to be excused
                         from a job or program assignment to attend a religious gathering failing to attend
                         without a valid excuse such as illness), may result in appropriate disciplinary action.




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              D.   Group Worship and Study:

                   I.     The chaplain shall schedule appropriate group worship and study opportunities to meet
                          the needs of inmates. The groups shall be inclusive and be led by the chaplain, outside
                          clergy, or religious volunteers. The leaders must agree to teach the central and
                          inclusive doctrines common to the major faith group without degrading or impacting
                          upon the tradition of others in a negative way. Individual inmate needs or traditions
                          specific to a particular faith group may be met by individual visits with outside clergy
                          of each inmate's denomination.

                   2.     Except as stated in this paragraph, inmates will not be placed in a position of religious
                          leadership or authority over other inmates. Group religious activities shall be video
                          taped and/or monitored by staff. If the chaplain or a volunteer is not available to lead a
                          group, the following may occur:

                          a.    CDs, DVDs, video tapes, or tape recordings of sermons or religious lessons
                                which comply with policy, including but not limited to Policy #507.02, may be
                                made available to the group.

                          b.    An inmate may be authorized by the Warden to lead the service. Inmates may
                                ONLY lead religious services in the presence of staff.

                   3.     The chaplain shall develop and maintain an up to date religious activity schedule and
                          shall ensure that information about various opportunities for religious activities shall be
                          available to all inmates. Group worship and study shall be conducted only in the
                          designated places and times.

                   4.     The chaplain shall conduct an annual religious and pastoral care needs review or survey
                          and adjusts religious programming accordingly. The survey may be included as part of
                          the annual social services survey. The completed review or survey shall be submitted
                          to the Warden and a copy sent to the Director of Religious Services by the due date of
                          the annual social services survey.

                   5.     Religious worship and study groups shall be open to all inmates unless such
                          participation is limited to maintain the order and security of the institution. Inmate
                          attendance shall be voluntary.

                   6.     The integrity of worship space shall be maintained at all times. The chapel has been
                          designated as a place of worship and should not be used for searching or detaining
                          inmates except in emergency situations. Inmates who attend religious services shall
                          show proper respect to that particular faith group. Loud talking and disturbing others
                          will result in a disciplinary action, (See Policy #502.05). Any act, whether spoken,
                          visual, or written, which would tend to degrade a particular person, group, or ideology
                          will not be tolerated and will result in a disciplinary action.

                   7.     Outside clergy and volunteer chaplains may wear their religious vestments and/or
                          insignia, except in those cases where potential danger may be present to the safety
                          and/or security of the participants or institution.

                   8.     Inmates may carry their personal property rugs to religious services for use as prayer
                          rugs.




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                    9.        With the approval of the Warden memorial services may be conducted for deceased
                              inmates or staff and shall be coordinated by the chaplain.

                   IO.        Extra worship services and group gatherings may be scheduled to accent special
                              observances, religious holidays, and feasts. These activities may be conducted by the
                              chaplain or volunteers. These activities must be requested in writing at least 15 days
                              prior to the event and conducted in accordance with guidelines approved by the
                              Assistant Commissioner of Rehabilitative Services.

                   11.        Inmates in administrative or punitive segregation may not participate in religious group
                              worship and study group activities. Compatible inmates in protective custody may
                              participate in religious worship and study groups with other protective custody inmates
                              if approved by the Warden/designee. (See Policy #506.16) All segregated inmates may
                              receive visits from the chaplain, outside dergy, and religious volunteers. Segregated
                              inmates may possess religious literature and objects in accordance with this policy.

                   12.        A non-smoking, group religious pipe ceremony for Native Americans shall be
                              pennitted and shall not constitute a violation of Policy # 112.11, provided:

                              a.    The pipe may only be used in group gatherings at times and places approved by
                                    the Warden.

                              b.   No material whatever will be placed in the bowl of the pipe and the pipe will not
                                   be lighted.

                              c.   The pipe must be used for religious purposes only, and any other use may result
                                   in disciplinary action.

                              d.   The pipe must be brought in by volunteers or Outside Clergy and taken out each
                                   time, OR stored in a designated area in or near the chapel, as determined by the
                                   Warden.

                              e.   The pipe must not be a risk to the safety and security of the institution, as
                                   determined by the Warden.

                              f.   The pipe must not contain STG or STG-related markings or insignia.

                              g.   The pipe is subject to inspection and search at all times.

              E.     Requests for Religious Accommodations

                         1.   Individual Requests: Accommodations for individual requests pertaining to religious
                              matters shall be submitted in writing using the Inmate Inquiry Information Request,
                              CR-3118.

                              a.   The inmate shall submit the form to the Chaplain for consideration. Within ten
                                   days of receipt, the Chaplain shall send a copy of the request (with his/her
                                   recommendations) to the Warden for his/her approval or disapproval.




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                                  b.   If the Warden approves the request, the Director of Religious Services shall be
                                       informed of the decision. If the disapproval(s) is based on a policy or prior
                                       decision of the Religious Activities Committee the request does mt have to be
                                       sent to the Director of Religious Services or Religious Activities Committee. If
                                       the decision of the request is not based on policy or prior decision of Religious
                                       Activities Committee, then within 60 days the Warden and the Director of
                                       Religious Services shall work together to agree on the approval or disapproval of
                                       the request.

                                  c.   If the Warden and the Director of Religious Services do not agree on the
                                       disposition of the request, the Director of Religious Services shall submit the
                                       request to the Religious Activities Committee to be approved or disapproved in
                                       the same manner as a request for group religious accommodations. The chaplain
                                       shall notify the inmate of the decision regarding the request.

                            2.    Group Requests: Accommodations for group worship services and other group
                                  activities will only be made for faith groups which comply with the following
                                  procedure:

                                  a.   Inmates may request accommodation by submitting a written request to the
                                       Chaplain on Request for Group Religious Accommodations, CR-3735. Pages
                                       one and two shall be completed by the inmate(s). Inmates shall be advised that
                                       an incomplete request can cause the request to be returned.

                                  b.   The request must include:

                                       (1)     The name and TDOC number of the inmate(s) submitting the request and
                                               an estimate of the number of inmates in the group.

                                       (2)     The official name of the group. including names and contact information
                                               of the group's leaders.

                                       (3)     Information on the group's teachings, beliefs, and practices including
                                               titles of the group's basic texts and other information helpful in
                                               researching the group.

                                       (4)     Names of outside clergy or volunteers available to visit the institution.

                                       (5)     A detailed description of the accommodation requested.

                                  c.   Within 30 days of receipt, the Chaplain will consult with the Warden and
                                       complete page three of the Request for Group Religious Accommodations,
                                       CR-3735. The entire request will then be sent o the Director of Religious
                                       Services with recommendations from the Warden and Chaplain.

                                  d.   Within 60 days after receipt of the request. the Director of Religious Services,
                                       will send the request to the Religious Activities Committee.

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  Effective Date: February 15, 2014       I Index# I 18.01                           I Page    10     of   18

  Subject:   RELIGIOUS PROGRAMS


                           e.   The Religious Activities Committee will meet in person on a quarterly basis to
                                consider requests received by the Director of Religious Services. At the
                                discretion of the Director of Religious Services, the Committee may consider
                                requests via e-mail at any time.

                           f.   By majority vote, the Religious Activities Committee will recommend that the
                                Commissioner disapprove the request, if it is detennined that any of the
                                following conditions have been met:

                                ( 1)    The group is an STG

                                (2)     The group is a bona fide faith group with beliefs and practices adequately
                                        represented by an existing faith group for which similar accommodations
                                        have been made

                                (3)     The accommodation will jeopardize the security and safety of the
                                        institution

                          &     The Director of Religious Services will send the recommendations of the
                                Religious Activities Committee to the Commissioner. The Commissioner will
                                subsequently approve or disapprove the request.

                          h.    The Director of Religious Services will notify the inmate, the Warden, and the
                                Chaplain of the decision by the Commissioner.

                           i.   Inmates who disagree with the detennination of the Commissioner will have the
                                right to appeal in accordance with Section Vl.(H) below.

                          j.    Groups which are currently being accommodated as of the effective date of this
                                policy will be exempt from the procedure outlined above. However, failure to
                                comply with the any provision of this policy may result in revocation of their
                                accommodation in the manner set out above.

                          k.    After a group religious accommodation has been approved at one institution, the
                                Director of Religious Services shall have the authority to approve the same
                                request for group accommodations at another institution, unless the Warden at
                                the other institution recommends against such accommodation, in which case the
                                request shall be processed in the manner set out above and the Warden shall be
                                invited to attend the meeting of the Religious Activities Committee.

             F.     Religious Activities Committee:

                    1.    The Religious Activities Committee shall be composed of:

                          a.    The Director of Religious Services (Chair)
                          b.    One representative from the General Counsel's office
                          c.    One representative from the Deputy Commissioner of Operations
                          d.    One representative from the Deputy Commissioner of Administrative Services
                          e.    One Warden selected by the Director of Religious Services
                          f.    Two Institutional Chaplains selected by the Director of Religious Services




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  Subject:   RELIGIOUS PROGRAMS



                    2.     The Religious Activities Committee shall be responsible for the following:

                           a.    Review and approval of all requests for accommodations for religious practices
                                 filed under Section VI. (E)(2) above.

                           b.    To perform such other duties as the Assistant Commissioner of Rehabilitative
                                 Services may require.

             G.     The Director of Religious Services shall:

                    1.     Be responsible for policy development regarding religious activities on a department-
                           wide basis.

                    2.     Develop and deliver training for line staff regarding religious policy and procedure.

                    3.     Monitor religious services within various institutions to ensure policy compliance.

                    4.     Develop knowledge of STG issues as it relates to religious functions within the TDOC.

                    5.     Develop a working relationship with the Office of Investigations and Compliance
                           (OIC) and TDOC STG coordinator regarding religious activities within TDOC.

                    6.     Serve as the central point of contact for all religious activity and practice within the
                           TDOC.

                    7.     Work closely with internal TDOC security regarding religious activities.

                    8.    Stays informed through research about religious issues (both legally and operationally)
                          and advise senior management accordingly. Subject to the supervision of the Assistant
                          Commissioner of Rehabilitative Services, the Director of Religious Services may serve
                          as a resource to the Department's General Counsel and to the Attorney General as
                          needed.

                   9.     Have a working knowledge of comparative religions and utilize such in the
                          administration of religious policy and procedure.

                    I0.   Send copies of all final decisions on Requests for Group Religious Accommodations to
                          all wardens and chaplains.

             H.    Inmate Grievance Procedures and Review

                    1.    Inmates shall utilize the inmate grievance procedures set forth in Policy #501.01 for
                          review of issues affecting the inmate regarding religious activity or religious exercise.

                   2.     Grievances must be filed utilizing Inmate Grievance, CR-1394, and must provide
                          sufficient information regarding and describing the inmate's specific religious activity
                          or religious exercise which the inmate is grieving. The grievance must also set forth
                          and describe how the inmate's religious exercise has been substantially burdened by the
                          action(s) of the institution.




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   Subject:   RELIGIOUS PROGRAMS



                     3.    The review of the grievance (See Policy #501.01) shall examine and document whether
                           the burden on the inmate's specific religious exercise furthers a compelling
                           governmental interest.

                     4.     If it is detem1ined, upon review, that the burden on the inmate's specific religious
                            exercise furthers a compelling governmental interest, the review must determine and
                            document if the burden on the inmate's religious exercise is the least restrictive means
                            of achieving the compelling government interest.

     VII.     ACA STANDARDS: 4-4319 and 4-4512 through 4-4521.

    VIII.     EXPIRATION DATE: February 15, 2017.




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                                                                PageID #: 2383
                                         STATE OF TENNESSEE
                                      DEPRARMENT OF CORRECTION
                                    OUTSIDE CLERGY APPLICATION

                                                 INSTITUTION



                                                                                         DATE


  Dear Clergy Person:

  Thank you for your interest in visiting an inmate at _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ as an
  Outside Clergy person in accordance with TDOC Policy # 118.01. Each inmate is entitled to receive
  visits from one outside clergyperson without the visit counting against his/her other visiting privileges.

  Please answer all questions below and return this Application with evidence of your ordination to:




 All information provided is confidential.


 We will conduct an NCIC Background check as required by Policy #118.01.

 Only approved Outside Clergy may schedule a visit, and they must call us at least (7) days prior to an
 intended visit except in cases of emergency. Visits generally last about 1 hour.

 Name: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ D.O.B. _ _ _ _ _ _ _ __
 Drivers License# and State: _ _ _ _ _ _ _ _ _ I                    SSN: _ _ _ _ _ _ _ _ _ __
 Other States }OU have lived/resided/worked in: _ _ , _ _ , _ _ , _ _ , _ _ , _ _ , _ _ , _ _ , _
 Aliases: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Home Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ State: ____ ZIP: _ _ _ _ _ __
 Home Phone: (..__~ _ _ _ _ __
 E-mail: _ _ _ _ _ _ _ _ _ _ _ _ __
 Race:

 Denomination/Church/Mosqueffemple: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Street Address: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __
 Mail Address: _ _ _ _ _ _ _ _ _ _ _ City: _ _ _ _ _ _ _ _ _ State: _ _ _ __
_) Phone Number: (____ _ _ _ _ _ _ _ _ __


            Cr-3347 (Rev. 07-10)             DUPLICATE AS NEEDED                                RDA




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                                                                 PageID #: 2384
Please give two references (Name, Address, and Phone) of individuals who can confirm your status
as an ordained clergy person:




"Clergy I Pastoral Visit" privileges are extended to ordained clergy only. Others are encouraged to ask
the inmate that they be placed on the normal visiting list of family and friends.


Are you the Pastor I Leader of your church/mosque/tem ple? Yes: _ _ _ __ No:          ------
If "No" to the above,

   1) What is your religious office/ordination?
                                                --------------------
   2) What is your religious relationship to this inmate? - - - - - - - - - - - - - - - -
   3) Are you trained and authorized to perform all of the duties of the pastor I leader? Yes
      _ _ _ _ , with the exception/ restriction of _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __


Name of Inmate: - - - - - - - - - - - - - - - - - - TDOC # - - - - - - - - - -

How long have you known this inmate? _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

Have you ever been convicted of a felony? Yes _ _                No
If so, please provide details:
                                 --------------------------

I agree that I am familiar with all policies and procedures governing visitation with inmates and that I
will abide by the same, as they may be amended from time to time.


Your Signature: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Date: _ _ _ _ _ _ _ _ _ __


                                 Please attach evidence of your ordination




          Cr-3347 (Rev. 07-10)             DUPLICATE AS NEEDED                            RDA




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                                                                PageID #: 2385
                                       T.ENNESSEE DEPARTMENT OF CORRECTION
                                      NATIONAL CRIME INFORMATION CENTER (NCIC)
                                                   CRIMINAL HISTORY REQUEST


Date:

SECTION I - To be completed by volunteer/employee.            (PLEASE PRtNT CLEARL v)


          Name:
                          Last                                         First                                           Middle

                             DOB:                                                           SSN:
                             SEX:
                                    ------------ -                                           ----------
                                                                                           RACE:
            DRIVER LICENSE#:
                             ----------- --                                      1SSUE DATE:
                                                                                             ----------
List All Other States Where Person Has Resided or Worked:
               1} _ __       2)           3) _ __       4)             5)             6)             7)               8)
                                  ---                        ---            ---            ---            ---              ---
List All Aliases/Maiden/Legal Names Used:


          1) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          2) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          3)
               ------------ ------------ -----------
          4) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          5) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          6) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          7) - - - - - - - - - - - - - - - - - - - - - - - - - - - - - -
          8)
               ------------ ------------ -----------

SECTION II - To be completed by Volunteer Coordinator and signed by Warden or Designee

Purpose: New Volunteer/New Employee

           Site:                                                 Contact Person:

           Telephone                            Ext.                   Fax Number:

         Authorizing Signature:      _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ Title:                             Warden/Designee

                        *******************************************************************************************

SECTION Ill - To be completed by Volunteer Coordinator. (Warden/Designee foremp/oyee)

               Synopsis of Information Obtained:




          FBI# (if known):                                           SID# (if known)




        CR-3552 (Rev. 06-12)                                  Duplicate as Needed                                          RDAS470-2




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                                                                PageID #: 2386
                                       TENNESSEE DEPARTMENT OF CORRECTION

               REQUEST FOR RELIGIOUS DIET PROGRAM PARTICIPATION AND AGREEMENT


                                                               INSTITUTION


                                   INMATE NAME (PLEASE PRINT)                                       INMATE NUMBER

     would like to participate in the Religious Diet Program.     understand that in order for me to be served a
     religious diet, special foods may have to be procured for me, and special preparation practices must be used.
     Therefore, I agree to abide by the following conditions:


          1.     I understand that if I voluntarily request that my religious diet be cancelled, I must do so in writing
                 (Religious Diet Cancellation Request - CR3813) and I must wait for a period of thirty ~O) days
                 before requesting that my diet be reinstated or requesting a new religious diet.

          2.     During meals I will eat and possess on my food tray only those food items served as a part of
                 the Religious Diet Program.

          3.     I will not purchase, possess, or consume any food items that are not permitted under my
                 religious diet.

          4.     lwill not eat foods from the general facility diet that are in conflict with my religious diet.

          5.     I will follow all facility policies for dining in my facility.

          6.     I will not provide all portions of my specially-prepared meal to other inmates.

          7.     I will not collect religious food items (or unauthorized amounts of Commissary items) in my
                 cell/room.

     By my signature below, I acknowledge that I have read and/or discussed, with a staff person, the contents of
     this agreement. I further agree that if permitted to participate in the Religious Diet Program / will abide by the
     conditions of participation set forth above in this agreement.


                              INMATE SIGNATURE                                                            DATE



     APPROVED:          •                    DISAPPROVED:         •               TYPE OF DIET:
                                                                                                   ---------
                            CHAPLAIN PRINTED NAME



                             CHAPLAIN SIGNATURE                                                            DATE


     APPROVED:          •                    DISAPPROVED:         •
                             WARDEN SIGNATURE                                                              DATE




                        REASON FOR DISAPPROVAL                                                     INMATE SIGNATURE




               Original: Inmate File                   Copy: Food Service Manager         Warden             Chaplain

     CR-3814 (Rev 12-13)                                   Duplicate as Needed                                      RDA 1458




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                                                                PageID #: 2387
                      TENNESSEE DEPARTMENT OF CORRECTION
                      GROUP RELIGIOUS ACCOMMODATIONS REQUEST

                      (COMPLETE pages 1 & 2; submit to Chaplain; See Policy# 118.01)

         Date Submitted to Chaplain:


                                  Inmate Name                                          TDOC#

         Estimated Number of Inmates in the Group:

          1.   Official name of the group:




          2.   Names and contact information of the group's leaders:




          3.   The group's teachings, beliefs, and practices:




          4.   Titles of the group's basic text(s):




          5.   Other information helpful in researching the group:




)


         CR-3735 (Rev. 06-10)                         Duplicate as Needed




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                                                                    PageID #: 2388
      6.   Names of outside clergy or volunteers available to visit the institution:




      7.   DETAILED description of the accommodation(s) requested:
           a. First Accommodation




           b. Second Accommodation




           c. Third Accommodation




           d. Fourth Accommodation




           e. Fifth Accommodation




     If more than five accommodations are requested, please add additional pages showing Sixth
     Accommodation, Seventh Accommodation, etc.


                                              Duplicate as Needed                            2
     CR-3735 (Rev. 06-10)




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                                                                PageID #: 2389
      8.   Recommendations by the Warden and the Chaplain

           Date Sent to the Religious Activities Committee: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

           a. First Accommodation -- Recommendation:           Approval             Disapproval
           Reason:




           b. Second Accommodation -- Recommendation:          Approval             Disapproval
           Reason:




           c. Third Accommodation - Recommendation:            Approval             Disapproval
           Reason:




           d. Fourth Accommodation - Recommendation:           Approval              Disapproval
           Reason:




           e. Fifth Accommodation - Recommendation:            Approval              Disapproval
           Reason:




     CR-3735 (Rev. 06-10)                Duplicate as Needed                                       3




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                                                                PageID #: 2390
          9.   Approval or Disapproval by the Religious Activities Committee

               Date of Approval or Disapproval:

               a. First Accommodation:                   Disapproved           Approved




               b. Second Accommodation:                  Disapproved           Approved - subject to conditions:




               c. Third Accommodation:       _ _ _ Disapproved          _ _ _ Approved




               d. Fourth Accommodation:                  Disapproved    _ _ _ Approved




               e. Fifth Accommodation:       _ _ _ Disapproved          _ _ _ Approved




)


                                                  Duplicate as Needed                                              4
         CR-3735 (Rev. 06-10)




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                                                                    PageID #: 2391
                                                                                         TENNESSEE DEPARTMENT OF CORRECTION
                                                                                                                                    INMATE GRIEVANCE




                                                                  NAME                                                                                                             NUMBER                                                                                         INSTITUTION & UNIT

      DESCRIPTION OF PROBLEM: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




      REQUESTED SOLUTION: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




                                                            Signature of Grievant                                                                                                                                                                                                            Date
      ::::::::::::::m::::::::::::::::::••- ••:::::::m::.:::::::::.-·····-·'"''''''''''"''::: ::::===·::::m::::::::::m::::::::::::::, :::::,:::::m:::::::::::::::::::::::m:::::: ::::::::::::::::::::::::::::::m::::::::::::
                                                                                                                                                                                                                                                    :::::::::::::,::::m:::::::::::::::::::::::: :::m:::::::::::::::::.           ===

                                                                                                                         TO BE COMPLETED BY GRIEVANCE CLERK



                            Grievance Number                                                                                               Date Received                                                                                                  Signature Of Grievance Clerk


      INMATE GRIEVANCE COMMITTEE'S RESPONSE DUE DATE: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      AUTHORIZED EXTENSION: _ _ _ _ _ _ _ _ __
                                 New Due Date                                                                                                                                                                                                            Signature of Grievant
                                                                                                                                                                                                                                                              ::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::n::i:::::::.--::::.::::::::::::::::::::::
      ::::::::::::::::::::::::::::::m:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::n::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::m:::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::::

                                                    INMATE GRIEVANCE RESPONSE
      Summary of Supervisor's Response/Evidenc e: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




      Chairperson's Response and Reason(s): _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




      DATE: _ _ _ _ __                                                                              CHAIRPERSON: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

      Do you wish to appeal this response?                                                                                 ___                           YES                                                                    NO

      If yes:                Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                                                      GRIEVANT                                                                                                                 DATE                                                                                                           WITNESS


. · _·) Distribution Upon Final Resolution:
                                 White - Inmate Grievant                                           Canary - Warden                                     Pink - Grievance Committee                                                     Goldenrod - Commissioner (if applicable)

                                                                                                                                                                      Page 1 of 2                                                                                                                                                      RDA2244
               CR-1394 (Rev. 3-00)




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                                                                     PageID #: 2392
                                  TENNESSEE DEPARTMENT OF CORRECTION
                                 INMATE GRIEVANCE                  (continuation sheet)



DESCRIPTION OF PROBLEM: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




Distribution Upon Final Resolution:
            White - Inmate Grievant   Canary - Warden   Pink - Grievance Committee   Goldenrod - Commissioner (if applicable)
   CR-1394 (Rev. 3-00)                                       Page 2 of 2                                                 RDA 2244




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                                                                 PageID #: 2393
     m        ll••p.11111 , 111111
     -       .Correction                                                                           MEMO
     TO :               Wa1·dens, Superintendents, and Chaplains

     FROM:              Tony C. Parker   X
     DATE:              Sept ember 11, 2017

     SUBJECT:           Inmate Religious Property


     In accordance with Tennessee Department of Correction Policy # I 18.01, the following is a listing of
     religious property that inmates may possess within the six cubic feet limit other than exceptions. In
     addition, inmates may continue to possess religious property in their possession on the date of this memo,
     even though such property is not listed below. Such property (i) must be used for religious purposes only,
     and any other use may result in disciplinary action, (ii) may be purchased by inmates from an approved
     vendor, OR purchased by volunteers, Outside Clergy or outside organizations from an approved vendor
     and donated through the Chaplain, (iii) may not be purchased but must be donated if indicated below, (iv)
     must not be a risk to the safety and security of the institution, as determined by the Warden, (v) must not
     contain STG or STG-related markings or insignia, (vi) unless otherwise noted, may be taken to group
     religious gatherings, and (vii) are subject to inspection and search at all times.

     With the warden's or superintendent's approval, the chaplain may contact the volunteer/clergy/outside
     organization, in order to try to obtain the TDOC approved individual or group items not sold by the
     approved vendor. The donating organization must make prior arrangements with the Chaplain for
     delivery to the institution warehouse. The chaplain wi ll notify the warehouse manager in advance of the
     scheduled delivery. The warehouse staff will deliver the item(s) to the Chaplain's office. The Chaplain
     will ensure items are stored or given to the inmate as outlined below. If approved item is to be mailed to
     the facility and the Chaplain wi ll notify the mailroom/property room in advance to inform them of
     upcoming delivery. All religious necklaces must be worn inside the shirt.


                           INDIVIDUAL RELIGIOUS PROPERTY LIST
     ALL INMATES
        I. Herbal teas on commissary.
        2. Necklace (one) religious jewelry includes medallion or plain necklace not to exceed 24 inches
           with a maximum replacement value of $30.00.
        3. Prayer oil (maximum of three ounces) must be kept in the cell at all times and may not be taken to
           group gatherings. Pravcr/rcli gious oil, can only be purchased f'rom approved TDOC vendor (s).
           Oils must remain in lhe origi1rnl bortles purchased rrom approved TDOC vendor(s). Ou1side oi ls
           from anv other vendors are not allowed due to safety/security concerns. Outside oils may not be
           donated. sent in, or brought in by volunteers.
       4. Prayer shawl (one) white. Must be kept in the cell at all times and may not be taken to group
           gatherings.




                                            th
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              Nashville, TN 37243 • Tel: 615-253-8139 • Fax: 615-532-8281 • In.gov/Correction




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                                                                 PageID #: 2394
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               )cpdrme I
              .Correction
                           ,i

                                                                                                     MEMO
      BUDDHISTS
         1. Plastic prayer beads (one) solid color.
         2. Scapular (Trad itional image inside a plastic casing)
         3. Polar fleece prayer rug (one) no larger than 30 x 40 inches, does not require a fire retardant label
            attached; the rug may be used exclusively for prayer and placed on the floor on ly duri ng prayer.
         4. Yoga Mat (must be donated and kept in the Recreation Office). Used for religious gatherings
            only.

      CATHOLI CS
         I. Plastic rosary with cruci fix (one), solid color.
         2. Scapular


      JEWISH, HOUSE OF YAHWEI-1, AN D HEBREW ISRAELITES
          I. Yarmulke or kippah (two), solid black, white or gray.
         2. Prayer Shawl (tall it) may have TZITZIT.
         3. Tetilin (Phylactery).

      MUSLIMS
         I. 1-I ijab (two) solid white head covering (female Musl ims).
         2. Kuti (two), solid white, black or gray.
         3. Miswak sticks, up to IO sticks.
         4. Plastic prayer beads (one), solid color.
         5. Prayer rug (one), no larger than 27 inches x 44 inches, does not require a fire retardant label
            attached; the rug must be used exclusively for prayer and placed on the floo r only during prayer.

      NATIVE AMERI CANS
         I. Bone choker (one), with up to four strands.
         2. Dream catcher ki t (one).
         3. Flat stone (one) up to I x I inch which may have a hole in the center. Must be donated.
         4. Headband (two), solid white, black. or gray.
         5. Medici ne bag (one), no larger than 3 inches x 3 inches to be worn around the neck.
         6. Polar fleece prayer rug (one) no larger than 30 x 40 inches, does not require a fi re retardant label
            attached; the rug may be used exclusively for prayer and placed on the floor only during prayer.
         7. Sacred feather (one). uncut, no more than 8 inches in length. Must be kept in the cell and
            removed only for group gatheri ngs.
         8. Sea shell (one) up to I x I inch. Must be donated.

      RASTAFARIANS
          I. Belt depicting Bob Marley (one). Must be donated.
         2. Belt depicting Hai le Selassie (one). Must be donated.
         3. Belt depicting the Lion or Judah (one). Must be donated.
         4. Black and white photo up to 8 x IO inches of Haile Selassie (one). Must be donated. Must be kept
             in the cell and removed only for group gatherings.
         5. Black and white button depicting Haile Selassie (one). Must be donated. Must be kept in the cell
             and removed only for group gatheri ngs.


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                Nashville, TN 37243 · Tel: 61 S-253-8 t 39 • Fax: 615-532-8281 · in.gov/Correction




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                                                                 PageID #: 2395
      Ill
      _
              Department 11
             _correction                                                                             MEMO
          6. Black and white photo up to 8 x IO inches of Bob Marley (one). Must be donated. Must be kept
               in the cel l and removed only for group gatherings.
          7. Black & White button depicting Bob Marley (one). Must be donated. Must be kept in the cell
               and removed only for group gatherings.
          8. Black and wh ite photo up to 8 x 10 inches of the Lion of Judah (one). Must be donated. Must be
               kept in the cell and removed only for group gatherings.
          9. Black and white button depicting the Lion of Judah (one). Must be donated. Must be kept in the
               cell and removed only for group gatherings.
          I 0. Black & White photo up to 8 ½ x 11 inches of the Ethiopian flag (one). Must be donated.
          11. Ankh pendant (one).
          12. Tam/crown (two), solid white, black, or gray.
          13. Prayer rug (one) no larger than 27" x 44", does not require a fi re retardant label attached; the rug
               must be used exclusively for prayer and placed on the floor only during prayer.

     WICCANS/PAGANS
          I. Triquetra pendant (one).
          2 . Tarot cards, must comply with all policies, including but not limited to Policy 507.02.
          3. Chakra bracelet of seven (one) with a maximum replacement value of$30.00.
          4. Necklace (one) pentagram/five-point star enclosed in a circle, and not an open star, with a
              maximum replacement value of$30.00.
          5. Earth/soil (up to one tablespoon).
          6. Tap water (up to one-quarter cup).
          7. Flat stone (one) up to I x I inch which may have a hole in the center.
          8. Book o f shadows/personal journal (one).
          9. Ring (one) with a maximum replacement value of$25.00.
         I 0. Oak Sacred feather (one), uncut, no more than 8 inches in length. Must be kept in the cell and
              removed only for group gatherings.

     ASATRU/ODINIC
          I. Literature, publications. books, magazines, and other wrillen material related to the
             Asatru/Odinic religion, to include rune cards. Must be kept in the cell and be in compliance
             with all other property restrictions.
          2. Individual runes, assuming said runes are no larger than one inch square. Runes may be
             composed of plastic or wood material. Must be kept in the cell and be in compliance with all
             other property restrictions.
          3. Individual miniature Thor's hammer amulets, assuming said amulets are no larger tha n two
             inches in length, and are made of plastic or wood material. Must be kept in the cell and be in
             compliance with all other property restrictions.




      ALL: Single banery powered plastic candle.




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                                                                                                    MEMO
          GROUP RELIG IOUS PROPERTY LIST

     In accordance with Tennessee Department of Correction Policy # I 18.0 I, the fo llowing is a listing of
     religious properly that inmates may use in group religious gatherings. In addition, inmate groups may
     continue to use religious property used on the date of this memo, even though such property is not listed
     below. Articles shown in the Individual Religious Property List above may be taken to group gatherings
     unless noted otherwise above, but must be returned to the cell immediately fo llowing the gathering. Such
     property (i) must on ly be used in group gatherings, (ii) must be used for rel igious purposes only, and any
     other use may result in disciplinary action, (iii) must be brought in by volunteers or Outside Clergy and
     taken out each time, OR donated to the group by volunteers or Outside Clergy and stored in a designated
     area in or near the chapel, as determined by the Warden, (iv) must not be a risk to the safety and security
     of the institution, as determined by the Warden, (v) must not contain STG or STG-related markings or
     insignia, and (vi) are subject to inspection and search at all times.

     ALL: CDs/DVDs.

     J EW ISH, HOUSE OF YAHWEH, HEB REW ISRAELITES
         I . Menorah (must be donated and kept in Chaplain's office/chapel).
         2. Candles (Chaplain or Volunteer must supervise the lighting of candles and control the matches at
             all times).

      CATHOLIC
        I. Stallle of the Sa<:rt:u Heart of Jesus, plastic stone resin up to 12 inches tall (one per group).
        2. Statue of the Immaculate Heart of Mary, plastic stone resin up to 12 inches tall (one per group).

      NATIVE AMERICA N
        I. Abalone shell (one per group).
        2. Bowl, wooden (one per group).
        3. Dance whistle, wooden or metal (one per group).
        4. Drums (up to three per group) wi th an open bottom up to eight inches in diameter
        5. Flute, wooden up to 24 inches in length (one per group).
        6. Rattles (up to th ree per group).
        7. Sacred Peace Pipe (to be kept in the Chaplain 's Office).


      RASTAFAR IAN
        I. Bongo drums (up to two sets per grou p).

      WICCANS
        I. Altar cloth (one per group).
        2. Altar plate, wooden (one per group).
        3. Altar, wooden up to 12 inches wide, 12 inches high, and 18 inches long, (one per group).
        4. Battery-powered, plastic, scent-free candles, up to six inches in each in height (up to three per
           group).
        5. Bell, metal (one per group).


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          6. Cauldron, metal (one per group).
          7. Chalice, metal or wooden (one per group).
          8. Drums (up to three per grou p) with an open bottom up to eight inches in diameter.
          9. Flute, wooden up to 24 inches in length (one per group).
          I 0. Rattles (up to three per group).
          11 . Salt (up to one-hal f cup per group).
          12. Stat ues, wooden (up to two per grou p), each not to exceed 12 inches in height.
          13. Wand, wooden up to 16 inches in length (one per group).
          14. Ouija board up to 12 x 20 inches. Must be donated to the grou p and kept in the gym.

       ASATRU/ODINIC
        I. Replica Thor's Hammer, up to 12 inches in height, and made of either plastic or hollow wooden
           material. Must be kept in the chapel and maintained by the Chaplai n, and utilized by practitioners
           of the Asatru/Odinic religion during approved periods of group worship and under the supervision
           of the Chaplain.
        2. A rune staff, similar to a length of wood, designed to hold individual runes, made of wooden or
           plastic material and no longer than 15 inches in length. Must be kept in the chapel and maintained
           by the Chaplain, and utilized by practitioners of the Asatru/Odinic religion du ring approved
           periods of group worship and under the supervision of the Chaplain.
        3. An alter cloth of cotton or similar fibrous material, no larger than two feet in length and one foot
           in width. Must be kept in the chapel and maintained by the Chaplai n, and utilized by practitioners
           of the Asatru/Odinic rel igion during approved periods of group worship and under the supervision
           of the Chaplain.
        4. A small oak bowl made of wooden material, no larger than fi ve inches in diameter. Must be kept
           in the chapel and maintained by the Chaplain, and uti lized by practitioners of the Asatru/Od inic
           religion during approved periods of group worship and under the supervision of the Chaplain.
        5. A smal l Mead Hom or small cup, made of either plastic or wooden material, no more than three
           inches in height. Must be kept in the chapel and maintained by the Chaplain, and utilized by
           practitioners of the Asatru/Odinic religion during approved periods of group worsh ip and under
           the supervision of the Chaplai n.
        6. A wooden prayer ring no more than 12 inches in diameter. Must be kept in the chapel and
           maintained by the Chaplai n, and utilized by practitioners of the Asatru/Odinic religion during
           approved periods of group worship and under the supervision of the Chaplain.




     TP:DT

      pc:     Debbie Ingl is, Deputy Commissioner, Administration/General Counsel
              Wes Landers, Chief Financial Officer
              Chuck Taylor, Deputy Commissioner/Chief of Staff
              Alisha James, Assistant Commissioner, Communi ty Supervision
              Bobby Straughter, Assistant Commissioner, Prisons
              Edward Welch, Assistant Commissioner, Rehabilitati ve Services

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            Department ,t
           .Correction                                                                            MEMO
          Kristy Carroll-Grimes, Director of Accreditation/Compliance
          Ron Wh itmore, Academy Superintendent
          Terence Davis, Director of Training
          C ile Crowder, Policy Development Manager
          Central Office Directors
          Historical File II I 18.0 I and #504.0 I
          Correctional Administrators




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                 ADMINISTRATIVE POLICIES
                    AND PROCEDURES                           Effective Date: May 1, 2018
                     State of Tennessee                      Distribution: B
                  Department of Correction
                                                             Supersedes: 501.01 (8/12/14)
                                                                            PCN 15-14 (5/15/14)
Approved by: Tony Parker

Subject: INMATE GRIEVANCE PROCEDURES



    I.      AUTHORITY: TCA 4-3-603, TCA 4-3-606, and TCA 41-24-110 and Title 28 CFR 115; and Prison
            Rape Elimination Act of 2003 standard 115.52(b)(1), (e)(1), and (3).

    II.     PURPOSE: To establish a standard procedure for the expression and resolution of inmate complaints.

   III.     APPLICATION: To Tennessee Rehabilitation Initiative in Correction (TRICOR) employees,
            employees and inmates of the Tennessee Department of Correction (TDOC), and privately managed
            facilities, except those offenders assigned to and actively participating in a Special Alternative
            Incarceration Unit (SAIU) program.

   IV.      DEFINITIONS:

            A.     Advocate: An inmate who is selected by a grievant from his/her peers or from those appointed
                   by the Warden/Superintendent to assist in the filing and/or appeal of a grievance.

            B.     Calendar Days: A time limit that begins to run at 12:01 a.m. on the day following the date of
                   the triggering event. Example: if an inmate files a grievance and the alleged triggering event
                   occurred on April 1st, the seven calendar day’s time limit for filing grievances set by Section
                   VI.(C)(1) below would begin to run at 12:01 a.m. April 2nd, and end at 11:59 p.m. on April 8th.

            C.     Central Office Review: Review of Title VI allegations by the Central Office Title VI
                   Coordinator.

            D.     Central Office Title VI Coordinator: The TDOC employee appointed to adjudicate Title VI
                   allegations and monitor compliance for the Department.

            E.     Contract Monitor of Compliance (CMC): TDOC employee(s) authorized by the Commissioner
                   to monitor contract compliance at privately managed facilities.

            F.     Contract Monitor of Operations (CMO): TDOC employee(s) authorized by the Commissioner
                   to serve as the approving authority for specific actions occurring at privately managed
                   facilities. In the absence of the CMO, the contract monitor of compliance (CMC) assigned to
                   that facility will serve that function. In the absence of both the CMO and CMC at privately
                   managed facilities, the necessary notification/request for authorization will be made by
                   telephone to the CA. If the CMO is not reachable via phone, the CMC will be contacted. If
                   both the CMO and CMC are unavailable by telephone, the CA shall be contacted for required
                   authorizations or notifications.

            G.     Emergency Grievance: The resolution of a grievance that if subjected to the normal time limits
                   could cause the grievant substantial risk of personal injury or irreparable harm.

            H.     Grievance: A written complaint concerning the substance or application of a written or
                   unwritten policy or practice, any single behavior or action toward an inmate by staff or other
                   inmates, or any condition or incident within the Department or institution which personal
                   affects the inmate complainant.
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          I.     Grievance Chairperson: The individual assigned by the Warden/Superintendent to supervise
                 the inmate grievance process within the TDOC and privately managed facilities.

          J.     Grievance Committee: A committee composed of a staff chairperson appointed by the
                 Warden/Superintendent and members consisting of elected staff and inmates. This committee
                 provides a forum in which an inmate may resolve a grievance at Level II of the inmate
                 grievance process.

          K.     Prison Rape Elimination Act (PREA): A federal law establishing a standard of zero tolerance
                 for incidents related to sexual assault and rape on inmates and/or offenders.

          L.     Reprisal: Any action or threat of action against anyone for the good faith use of or good faith
                 participation in the grievance procedure.

          M.     Title VI Site Coordinator: The Associate Warden of Treatment (AWT) and Deputy
                 Superintendent (DS) at TDOC facilities and the Assistant Warden of Programs at privately
                 managed facilities.

   V.     POLICY: The TDOC shall ensure that every inmate has the right to utilize the grievance procedure
          without fear of reprisal. All grievances shall be considered in a fair and impartial manner and resolved
          at the lowest possible level in the grievance procedure.

  VI.     PROCEDURES:

          A.     A handbook entitled TDOC Inmate Grievance Procedures shall provide detailed instructions
                 for the filing and processing of inmate grievances and appeals, and for the election,
                 appointment, and removal of grievance committee members. Copies of the handbook and any
                 current departmental and institutional policies concerning inmate grievances will be available
                 to inmates in the institutional legal library. Access to copies of the handbook shall be provided
                 to all grievance committee members and alternates. All living units for housing segregated
                 inmates shall also be provided with a copy of the handbook and policies regarding inmate
                 grievances.

          B.     Access to the grievance procedure: Inmate Grievance, CR-1394, and locked grievance
                 depositories shall be made available for use by all inmates. Inmates shall have unimpeded
                 access to these grievance forms. For general population inmates, the grievance forms shall be
                 openly available for pickup without the need for a request to staff. If required to ask staff for
                 the form (i.e., an inmate in segregation), an inmate shall be given the form without question or
                 discussion. All inmates will be informed of grievance procedures during orientation.

          C.     Grievance Review Process: Except as otherwise provided in VI.(K) and (L), inmate grievances
                 shall follow the following process:

                 1.    First Level: Grievances must be filed utilizing CR-1394 within seven calendar days of
                       the occurrence or the most recent occurrences giving rise to the grievance. The
                       chairperson shall review all grievances received and logged them as received and enter
                       them on Grievance screen (LIBG).


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Subject: INMATE GRIEVANCE PROCEDURES


                       All copies of the form must be legible and intact. Grievance forms which are
                       improperly completed or contain insufficient information for processing shall be
                       returned to the inmate with instructions as to proper completion. It should not be logged
                       as received (which starts the deadline times running) until the corrected version is
                       submitted.

                       If more than one inmate files a grievance on the same incident, the hearing and
                       responses may be consolidated. This shall be noted on the grievance response forms and
                       on Grievance (LIBG) on the Description Detail Screen.

                       The chairperson's response shall be written on CR-1394 following the chairperson's
                       receipt and review of the supervisor's response. The supervisor shall return his/her
                       signed response to the chairperson within five working days of receipt. There will be a
                       seven working-day time limit at Level I beginning on the day the grievance begins to be
                       processed. If a grievant accepts the supervisor's response, the supervisor shall document
                       on Response of Supervisor of Grieved Employee or Department, CR-3148. The
                       grievance chairperson shall enter the approval on Grievance (LIBG).

                  2.   Second Level: Within five calendar days of being notified of the Level I response, the
                       grievant may appeal the response to the grievance committee and
                       Warden/Superintendent. A hearing shall be held within five working days of an appeal's
                       filing. Within five working days of the hearing, the committee's proposed response shall
                       be documented on the Inmate Grievance Response, CR-1393, and forwarded to the
                       Warden. Within seven working days of receipt, the Warden/Superintendent shall
                       forward his/her decision to the chairperson. Within five working days of receiving the
                       Warden's response, the chairperson will allow the grievant to review the grievance
                       materials and responses. If the grievant accepts the Level II response, the grievance
                       chairperson shall enter the approval on Grievance (LIBG). The failure of staff to comply
                       with a directive by the Warden/Superintendent as a result of the
                       Warden/Superintendent’s review of the grievance may result in disciplinary action. If
                       the Warden agrees to the grievant's requested solution, the grievant shall not have the
                       right to appeal to Level III.

                       Grievances concerning TRICOR, over which the Warden/Superintendent has no line
                       authority, shall be forwarded from the committee to the Warden/Superintendent for any
                       comments. The grievance then proceeds to Level III of the process. The Assistant
                       Commissioner of Prisons/designee shall review and, if necessary, may forward the
                       grievance for review/response to TRICOR’s Chief Executive Officer.

                  3.   Third Level: A grievant may appeal the Level II response within five calendar days of
                       receipt of that response. The chairperson shall forward one legible copy of the grievance
                       and all documentation to the Assistant Commissioner of Prisons/designee. The Level III
                       response shall be sent to the grievance chairperson for distribution within 25 working
                       days of the date the appeal was received. The chairperson shall enter the final decision
                       on Grievance (LIBG). This response is final and is not subject to appeal. Failure of staff
                       at TDOC managed facilities to comply with a directive by the Deputy Commissioner of
                       Operations or the Assistant Commissioner of Rehabilitative Services as a result of the
                       Level III review may result in disciplinary action. (At privately managed facilities, the
                       Assistant Commissioner of Prisons will make a determination as to the appropriate
                       action to be initiated.) The CMO at privately managed institutions shall receive a copy
                       of all directives issued by the Assistant Commissioner of Prisons or the Assistant
                       Commissioner of Rehabilitative Services.
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           D.    If a time limit expires at any stage of the process without the required response, the grievant
                 may move the grievance to the next stage of the process, unless the inmate agrees in writing to
                 a fixed extension of the time limit for response.

           E.    Committee election and hearing procedures shall be developed at each institution and shall be
                 forwarded to the Assistant Commissioner of Prisons for review.

           F.    Any subsequent revisions to said procedures shall also be forwarded to the Assistant
                 Commissioner of Prisons for approval. The Warden/Superintendent/designee shall enter
                 elected committee members' names on Board/Committee Members (LIBM).

           G.    The good faith use of, or good faith participation in, the grievance process will not result in
                 formal or informal reprisals against an inmate. An inmate shall be entitled to pursue, through
                 the grievance procedure, a complaint that a reprisal occurred as the result of the filing of a
                 prior grievance.

           H.    Matters Inappropriate to the Grievance Procedure: If the chairperson determines a matter to be
                 non-grievable, the grievant may appeal that decision as outlined in the handbook TDOC
                 Inmate Grievance Procedures. Inappropriate grievance notification, CR-3689, shall be used to
                 inform the inmate of an inappropriate grievance. The grievance process is inappropriate for:

                 1.    Appealing or seeking review of procedures or punishment imposed under established
                       disciplinary procedures of the TDOC. These issues may be appealed pursuant to Policy
                       #502.01. When this determination is made, the chairperson shall cite the incident
                       number associated with the disciplinary report.

                 2.    Appealing decisions or actions of the Board of Parole or any other agency, other than
                       TRICOR, outside the TDOC.

                 3.    Addressing classification matters such as institutional placement and custody level,
                       which may be appealed through other avenues outlined in the #400 policy series, except
                       where policy violations are alleged. Cell assignments not due to a classification or
                       reclassification are grievable.

                 4.    Appealing or seeking review of any decision regarding the awarding of sentence credits.
                       Sentence credit procedures shall be as provided in Policy #505.01.

                 5.    Seeking monetary compensation for injuries or property loss. Monetary claims against
                       the TDOC or its employees based upon negligent care of persons or personal property
                       should be filed with the Tennessee Claims Commission pursuant to TCA 9-8-101 et seq.
                       Monetary claims by inmates against employees of privately managed facilities shall be
                       filed with the managing company in accordance with TDOC approved contract vendor
                       policy.

                 6.    Addressing questions regarding sentence structures. Such problems should be addressed
                       to the counselor, institutional records office and Sentence Information Services (SIS)
                       through established inmate inquiry procedures.

                 7.    Any visitor’s behavior resulting in disciplinary action is not grievable by an inmate.

                 8.    Diagnoses by medical professionals, medical co-payments where Policy #113.15 has
                       been adhered to, and requirements of substance use therapeutic programs.
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                 9.   Mail rejection, which may be appealed as described in Policy #507.02.

           I.    Abuse of the Grievance Procedure

                 1.   Inmates shall not be permitted to submit more than one grievance arising out of the same
                      or similar incident.

                 2.   Inmates shall not be permitted to have more than one grievance pending at the first level
                      of review.

                 3.   Profanity, insults, and racial slurs, unless an alleged direct quote of another party, shall
                      not be permitted in grievances. Threats may result in disciplinary action.

           J.    Emergency Grievances

                 1.   Grievances deemed to be emergencies shall be expedited. The grievance chairperson or
                      designee shall immediately bring emergency grievances to the attention of the
                      appropriate person by whom corrective action may be taken. The action taken on any
                      emergency grievance may be appealed through expedited emergency grievance
                      procedures, as outlined in the handbook.

                 2.   The determination that a grievance is not an emergency may be appealed through
                      normal grievance procedures.

           K.    Additional Procedures Applicable to Title VI Grievances:

                 1.   All Title VI complaints must be filed within 180 days of the occurrence of an alleged
                      discriminatory act (See Policy #103.10).

                 2.   The grievance person shall review all grievances received and enter those listed as Title
                      VI on Grievance screen (LIBG) with a flag indicating Title VI if the grievant alleges
                      discrimination on the basis of race, color, or national origin. The chairperson shall then
                      forward the grievance to the Title VI Site Coordinator for review and investigation; all
                      findings from an investigation related to a Title VI grievance shall be documented on the
                      Title VI Complaint Investigation, CR-3886. The investigation should begin within 24
                      hours and completed with five working days.

                 3.   Upon completion of the investigation, the Title VI Site Coordinator shall notify the
                      Grievance Chairperson of the results of his/her findings within 24 hours.

                 4.   The Grievance Chairperson shall then forward the complaint to the Central Office Title
                      VI Coordinator, electronically, within ten working days of their decision.

                 5.   The Central Office Title VI Coordinator shall enter all Title VI complaints into a
                      database and assign each complaint a tracking number. Only one Title VI allegation
                      received from a complainant will be processed at a time.

                 6.   The Central Office title VI Coordinator shall review and make a determination based on
                      the findings of the investigation conducted by the Title VI Site Coordinator and shall
                      notify the Title VI Site Coordinator of a response and/or decision within 25 working
                      days.
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                 7.     If the Central Office Title VI Coordinator determines that the allegation is not a Title VI
                        violation, the Title VI Site Coordinator shall be notified to make the appropriate
                        notations on OMS screen LIBG. This shall be done within one working day of receipt of
                        such notification by the Grievance Chairperson.

                 8.     If the Central Office Title VI Coordinator determines that the allegation is a Title VI
                        violation, the Title VI Site Coordinator shall be notified to seek a remedy to redress the
                        violation immediately. Once a remedy is identified, the Title VI Site Coordinator shall
                        notify the Central Office Title VI Coordinator who shall concur or not concur. The
                        remedy and/or plan of action shall be entered on OMS screen LIBG.

                 9.     Appeals may be appealed to the Assistant Commissioner of Prisons. All appeals must be
                        submitted within five working days upon notification; the inmate shall specify the
                        reason for the appeal. The grievance number must be included on all documentation
                        submitted to Central Office for review of an appeal.

                 10.    The decision of the Assistant Commissioner of Prisons shall be final.

           L.    Additional Procedures Applicable to PREA Grievances:

                 1.    An inmate may submit a grievance alleging sexual abuse at any time. Applicable time
                       limits shall apply to any portion of a grievance that does not allege an incident of sexual
                       abuse. Inmates shall not be required to use any informal grievance process, or to
                       otherwise attempt to resolve with staff, an alleged incident of sexual abuse.

                 2.    An inmate who alleges sexual abuse may submit a grievance without submitting it to a
                       staff member who is the subject of the compliant and such grievance shall not be referred
                       to a staff member who is the subject of the complaint.

                 3.    A final decision on the merits of any portion of a grievance alleging sexual abuse shall be
                       issued by the Associate Warden of Treatment (AWT) and Deputy Superintendent (DS)
                       within 90 days of the initial filing of the grievance. Computation of the 90-day time
                       period shall not include time used by inmates in preparing the grievance. TDOC may
                       claim an extension of time to respond, up to 70 days, if the normal time period for
                       response is insufficient to make an appropriate decision. The inmate shall be notified in
                       writing by the AWT/DS of any such extension and be provided a date by which a
                       decision will be made. At any level of the grievance, including final level, if the inmate
                       does not receive a response within the time allotted to reply, including any properly
                       noticed extension, the inmate may consider the absence of a response to be a denial at
                       that level. (See subsection (5) below regarding emergency PREA grievances).

                 4.    Third parties (including fellow inmates, staff members, family members, attorneys, and
                       outside advocates) shall be permitted to assist inmates in filing grievances related to
                       allegations of sexual abuse, and shall also be permitted to file such grievances on behalf
                       of inmates. If a third party files such a grievance on behalf of an inmate, that inmate shall
                       agree to have the grievance filed on their behalf and document such on the Inmate
                       Grievance, CR-1394. The inmate shall be required to personally pursue any subsequent
                       steps in the grievance process. If the inmate declines to have the grievance processed on
                       his/her behalf, the inmate’s decision shall be documented on the original Inmate
                       Grievance, CR-1394, and signed by the inmate.
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                5.   After receiving an emergency grievance alleging that an inmate is subject to a substantial
                     risk of imminent sexual abuse, the grievance chairperson shall immediately forward the
                     grievance (or any portion thereof that alleges the substantial risk of imminent sexual
                     abuse) to the AWT/DS so that any required immediate corrective action may be taken.
                     The grievance chairperson shall provide an initial response within 48 hours and shall
                     issue a final decision with five calendar days. The initial response and final decision
                     provided within the PREA Allegation System (PAS) shall document the facility’s
                     determination as to whether the inmate is in substantial risk of imminent sexual abuse and
                     the action taken in response to the emergency grievance. Timeframes in (3) above still
                     apply after any immediate corrective action has been implemented.

                6.   An inmate may be disciplined for filing a grievance related to alleged sexual abuse only
                     when it is demonstrated that the inmate filed the grievance in bad faith.”

          M.    Records

                1.    Records concerning inmate grievances shall be kept confidential. Only the chairperson
                      shall process grievances after they have been answered by the Warden/Superintendent.
                      Grievance (LIBG) should be available only to employees who have a need for access
                      because of their assigned duties.

                2.    Records shall be kept regarding inmate grievances as detailed in the handbook, TDOC
                      Inmate Grievance Procedures.

                3.    Upon resolution, grievances shall be distributed as indicated on Inmate Grievance
                      Response, CR-1393, and entered on Grievance (LIBG). An extra copy of health-related
                      grievances shall be supplied to the institutional health administrator by the chairperson.

          N.    Each institution will submit an annual evaluation of the grievance procedures as outlined in the
                handbook, TDOC Inmate Grievance Procedures. Staff preparing these reports may review
                actual grievances.

          O.    Documentary Evidence: Any TDOC policy referred to in any description of problem or
                response shall be cited by number, paragraph and section. Copies of any institutional policies,
                post orders, or documents referred to, will accompany all grievances to the third
                level. The grievant shall be furnished with a copy of all documentation unless deemed
                inappropriate by the chairperson for security reasons.

 VII.     ACA STANDARDS: 4-4016, 4-4180, 4-4284, 4-4344, 4-ACRS-6A-10, 4-ACRS-6A-11, 4-ACRS-
          6A-12, 4-ACRS-6A-13, 4-ACRS-6B-01,4-ACRS-6B-02, 4-ACRS-6B-03, 4-APPFS-2G-01, and 4-
          APPFS-2G-02.

VIII.     EXPIRATION DATE: May 1, 2021.




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                                                                     PageID #: 2406
                                  TENNESSEE DEPARTMENT OF CORRECTION
                                                    INMATE GRIEVANCE




                         NAME                                          NUMBER                               INSTITUTION & UNIT

DESCRIPTION OF PROBLEM:




REQUESTED SOLUTION:




                       Signature of Grievant                                                                    Date


                                               TO BE COMPLETED BY GRIEVANCE CLERK



           Grievance Number                            Date Received                               Signature Of Grievance Clerk


INMATE GRIEVANCE COMMITTEE’S RESPONSE DUE DATE:

AUTHORIZED EXTENSION:
                                          New Due Date                                             Signature of Grievant


                                                     INMATE GRIEVANCE RESPONSE
Summary of Supervisor’s Response/Evidence:




Chairperson’s Response and Reason(s):




DATE:                                  CHAIRPERSON:

Do you wish to appeal this response?                        YES                          NO
If yes:    Sign, date, and return to chairman for processing within five (5) days of receipt of first-level response.



                     GRIEVANT                                        DATE                                       WITNESS


Distribution Upon Final Resolution:
            White - Inmate Grievant   Canary – Warden      Pink – Grievance Committee      Goldenrod – Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                           Page 1 of 2                                                  RDA 2244
          Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 124 of 198 CCI  000724
                                                                           PageID #: 2407
                                 TENNESSEE DEPARTMENT OF CORRECTION
                                INMATE GRIEVANCE                   (continuation sheet)



DESCRIPTION OF PROBLEM:




Distribution Upon Final Resolution:
           White - Inmate Grievant    Canary – Warden   Pink – Grievance Committee   Goldenrod – Commissioner (if applicable)
    CR-1394 (Rev. 3-00)                                      Page 2 of 2                                                 RDA 2244
       Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 125 of 198 CCI  000725
                                                                        PageID #: 2408
                                   TENNESSEE DEPARTMENT OF CORRECTION
                     RESPONSE OF SUPERVISOR OF GRIEVED EMPLOYEE OR DEPARTMENT



DATE:                                                      Please respond to the attached grievance, indicating any action taken.
                                                           Date Due:




        Grievance Number                                     Inmate Name                                     Inmate Number




                                   SIGNATURE                                                            DATE


               White - Inmate Grievant   Canary – Warden   Pink – Grievance Committee   Goldenrod – Commissioner

  CR-3148 (Rev. 3-00)                                                                                               RDA 2244
        Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 126 of 198 CCI  000726
                                                                         PageID #: 2409
                                 TENNESSEE DEPARTMENT OF CORRECTION
                                            INMATE GRIEVANCE RESPONSE




                     NAME                                NUMBER                INSTITUTION & UNIT              GRIEVANCE NUMBER

Summary of Evidence and Testimony Presented to Committee




Inmate Grievance Committee’s Response and Reasons




           DATE                                     CHAIRMAN                                                MEMBER



                 MEMBER                                         MEMBER                                          MEMBER


Warden’s Response:        Agrees with Proposed Response
                                                                         •
Disagrees with Proposed Response
If Disagrees, Reason(s) for Disagreement
                                                                         •

Action Taken:

DATE:                                 WARDEN’S SIGNATURE:
Do you wish to appeal this response?                      YES                        NO
If yes:   Sign, date, and return to chairman for processing. Grievant may attach supplemental clarification of issues or rebuttal/reaction
          to previous responses if so desired.



                   GRIEVANT                                       DATE                                      WITNESS


Commissioner’s Response and Reason(s):




          DATE                                                                                   SIGNATURE


Distribution Upon Final Resolution:
                  White - Inmate Grievant    Canary – Warden    Pink – Grievance Committee    Goldenrod - Commissioner

CR-1393 (Rev. 3-00)                                                                                                    RDA 2244
          Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 127 of 198 CCI  000727
                                                                           PageID #: 2410
                             TENNESSEE DEPARTMENT OF CORRECTION
                                   Title VI Complaint Investigation Form



  Date Complaint Received:

   Complainant’s Name (and TDOC number, if applicable), Facility and/or Address:




  Facility/Site Involved in Complaint:

  Nature of Complaint:




  Date of Interview with Complainant:

  Interview via:   •   Telephone     •   In-Person   •   Other (specify)


  Summary of Interview with Complainant:




  Other Interviews Conducted:



  Date:




                                                 Page 1 of 2
    CR-3886                                  Duplicate as Needed                   RDA 1376


Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 128 of 198 CCI  000728
                                                                 PageID #: 2411
                                      TENNESSEE DEPARTMENT OF CORRECTION
                                            Title VI Complaint Investigation Form




    Interviewee’s Address and Telephone Number:




    Interviewer’s Name and Position:

    Interview via:        •   Telephone        •    In-Person       •   Other (specify)

    Summary of Interview:




    Resolution/Action Taken (include dates, names, etc.):




    Please attach copies of the complaint, statements of involved parties and witnesses, and response to
    complainant, etc.


Note: If the offender is no longer at the institution that the Title VI complaint originated, please contact the Title VI Site Coordinator to
schedule an interview by phone at his/her current location. If the offender is no longer on community supervision, please contact the Title VI
Title VI Site Coordinator to schedule an interview by phone. Indicate the Title VI Site Coordinator’s name on the document.


                                            Attach Additional Sheets if Necessary

                                                               Page 2 of 2
        CR-3886                                           Duplicate as Needed                                           RDA 1376


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                                                                 PageID #: 2412
                                          TENNESSEE DEPARTMENT OF CORRECTION
                                          INAPPROPRIATE GRIEVANCE NOTIFICATION

TO:
                        INMATE NAME (Printed)                                   TDOC NUMBER                               HOUSING UNIT
FROM:                                                           ,    Grievance Chairperson
                                                                                                          Inmate TDOC Grievance Number
DATE:

SUBJECT:



THIS GRIEVANCE IS INAPPROPRIATE TO THE GRIEVANCE PROCEDURE. Your Grievance is being returned to you due to the
following reason(s):

   1.   Disciplinary matters are inappropriate to the Grievance Procedure. [Policy #501.01 VI.(H)(1)]
   2.   Appealing decisions or actions of any agency outside the Tennessee Department of Correction (TDOC) is inappropriate to
        Grievance Procedure. [Policy #501.01 VI.(H)(2)]
   3.   Classification matters/institutional placement are inappropriate to Grievance Procedure. [Policy #501.01 VI.(H)(3)]
   4.   Appealing or seeking review of sentence credits. [Policy #501.01 VI.(H)(4)]
   5.   Grievance Procedure cannot award monetary compensation for injuries or property loss. [Policy #501.01 VI.(H)(5)]
   6.   Addressing questions regarding sentence structures. [Policy #501.01 VI.(H)(6)]
   7.   Visitor’s behavior which results in disciplinary action. [Policy #501.01 VI.(H)(7)]
   8.   A diagnosis by medical professionals and medical co-pay is inappropriate. [Policy #501.01 VI.(H)(8)]
   9.   Security Threat Group (STG) Placement. [Policy #501.01 VI.(H)(9)]
  10.   Mail rejection. [Policy #501.01 VI.(H)(10)]
  11.   You have already filed a grievance on this issue. Inmates shall not be permitted to submit more than one grievance arising
        out of the same or similar incident. [Policy #501.01 VI.(I)(1)]
  12.   Abuse of Grievance Procedure. You can only have one grievance pending at Level 1 for review. [Policy #501.01 VI.(I)(2)]
  13.   Profanity, insults, and racial slurs, unless an alleged direct quote of another party, shall not be permitted. Threats may
        result in disciplinary action. [Policy #501.01 VI.(I)(3)]
  14.   Grievances must be filed within seven calendar days of the occurrence giving rise to the grievance. A complaint shall not
        address multiple issues. [Policy #501.01 VI.(C)(1)]



THIS GRIEVANCE IS UNABLE TO BE PROCESSED DUE TO YOU NOT FOLLOWING POLICY. Grievance forms not properly
completed or contain insufficient information for processing shall be returned to the Inmate with instructions as to proper completion.
[Policy #501.01 VI.(C)(1)] Your grievance is being returned to you due to the following reason(s):
   1.   No specific details, i.e. dates, times, names of persons involved as mandated in Inmate Grievance Handbook, Page 7, First
        Level of Review.
   2.   You did not: a) Sign and date, and/or b) state your “Requested Solution”
   3.   Grievance shall be submitted on Form CR-1394 pages 1 and 2. All copies must be legible and in tact. [Policy #501.01
        VI.(C)(1)]
   4.




Reminder:     You have SEVEN CALENDAR DAYS FROM THE DATE THE INCIDENT OCCURRED to submit a grievance. If you are still
              interested in filing this grievance, please make the necessary corrections and return to the Grievance Office for further processing
              immediately. If you would like to appeal this response, sign the bottom of your grievance, check “yes” then date it and place (with
              this coversheet) back in the grievance box.



                                                                                                    Grievance Chairperson



        CR-3689 (Rev. 12-15)                                 Duplicate as Needed                                              RDA 2244
        Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 130 of 198 CCI  000730
                                                                         PageID #: 2413
                                                          STATE OF TENNESSEE
                                                 DEPARTMENT OF CORRECTION
                                                5TH FLOOR RACHEL JACKSON BUILDING
                                                     320 SIXTH AVENUE NORTH
                                                 NASHVILLE, TENNESSEE 37243-0465
                                                OFFICE (615) 253-8171 FAX (615) 253-1668



       MEMORANDUM


       TO:               Wardens/Superintendents (except Tennessee Correctional Academy)

       FROM:             Lee Dotson, Assistant Commissioner of Pris(lt1Sc~

       DATE:             November 1, 2019

       SUBJECT:          Inmate Personal Properly

       In accordance with Tennessee Department of Correction Policy #504.0l, the following is a complete listing of personal
       property that inmates may possess within the six cubic feet limit other than exceptions. Restrictions or modifications to
       this list may be effected by institutional Wardens/Superintendent as outlined in Policy #504.0 I. Articles of State-issued
       property must comply with the provisions outlined in Policy #504.05. Articles of clothing for inmates diagnosed with
       Gender Dysphoria can be found in Policy #113.37.


                                            INMATE PERSONAL PROPERTY LJST

                Clothi11g and Accessories (Limitations are provided for the number of each item an inmate may possess at any
                given time. Clothing, jewelry, and linens shall not have pictures, designs, symbols, or messages affiliated with
                security threat or ethnic groups).

        L       Socks (12 pairs) (white or gray only or any combination of white and gray), colored socks to be retained until
                worn out
        2,      Shoes - 3 pairs, not including state-issued, athletic-1 pair solid white, black, or gray; colored brand logos and
                stitching may be allowed, [(x) shower-] pair], other-1 pair (includes house shoes, dress shoes, or boots (black
                or brown only; 12" total height, heel no more than 2", no steel toes except state iss,1ed, no buckles (those
                currently in inmate's possession may be retained) maximum value of $25 each) Inmates assigned to a
                segregation unit or SMU will be issued one (I) pair of"croc-style" rubberized shoes in lieu of boots.
       3.       T-shirts (12), solid white or gray only (no tank tops or muscle shirts)
       4.       Undershol"ts (12) (white or gray only), (bras and panties (12), female only), Thermal Undetwcar (2 sets, 2 tops
                and 2 bottoms).
       5.       Pajamas (2 pairs) - must not be transparent and must have the appearance of sleepwear
       6.       Bathrobe (I) - must not be transparent
       7. #     Gloves - work (I pair); no leather allowed. Inmates admitted prior to January 15, 2002, may retain their leather
                gloves until they are worn out or discarded. They may not be replaced.
        8. .=   Belt (2), limited to 3" in width, buckle not to exceed 3", except for weight belt as approved by the Warden/
                Superintendent
        9.      Handkerchiefs, white only (8)
       10.      Shoestrings (1 extra pair) (white or black only)
       11.      Billfold (I) (no chains may be attached to the billfold)




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       Inmate Personal Property
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       12.     Recreational clothing (2 sets) -- white or gray only, sweatshirt, sweatpants or shorts (no hoods or turtlenecks)
               (shorts must be a minimum of 4" length from crotch, Spandex or similar materials not allowed)
       13.     Cap/toboggan (no more than 2 and no ski masks,) solid white or gray only. Orange allowed for outside work
               crews only (Warden's/Superintendent's discretion for max custody)
       14.     State-issued clothing --jacket (1), pants (4), shirts (4)
       15.     Vinyl Poncho Rain Gear {I) (transparent vinyl only)




       16.     Watch and band (I), maximum replacement value is $ 10. Rings (2), maximum replacement value is no more
               than $25 each
       17.     Necklace (I) religious jewelry, includes medallion or plain necklace not to exceed 24", maximum replacement
               value is $30
       18,     Earrings (females only), 2 pairs, stud type (no dangling), maximum replacement value no more than $1 S per
               pair




       19.     Sheets and pillowcases, 2 sets, white only
       20.     Towels and washcloths, 4 each, white only
       2L      Blankets, 2 (state issue only)




       22. x   Toothbrush (non-electric) (2) and toothbrush holder (2) (plastic only)
       23. x   Combs, brushes, hair picks (2) (includes Afro combs, plastic, and wood), no sharp pointed ends or metal
       24.     Disposable safety razors (maximum limit l O• If allowed by Policy #506.16)
       25. x   Plastic cup w/lid • non-insulated ( l)
       26. x   Soap dish (I) (plastic only)
       27.     Shower caps (limit 3)
       28.     Hair rollers/clips -- [female only] (20)
       29.     Ponytail bands/holders, black/brown
       30.     Tweezers, round or square ( l)

                Read int! and Writinv Matcrii'.11!:!

       3 l. # = Typewriter (I), portable, battery, electric, or manual, standard size, may possess word processing capability,
                may not include capability for removable storage media (floppy disk, USB flash drive, or tape), no modems,
                attachments, or removable parts such as monitors or displays; maximum replacement value is $25
       32.      Writing paper, stamps (maximum of 40), and envelopes
       33.      Reading material (includes books and magazines in compliance with Policies #112.05 and #507.02)
       34.      Pencils and ba[lpoint ink pens (purchased from commissary only) Quantity limited at Warden/Superintendent
                discretion
       35.      Legal materials in the amount specified in Policy #504.0 l




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       Inmate Personal Property
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       36. c       Battery-operated or electric razor/beard trimmer ( 1) (at the Warden's/Superintendent's discretion), If trimmers
                   are disallowed, inmates shall be afforded the appropriate trimming services provided through the institutional
                   barber and/or cosmetology programs on a routine basis.
       37. c       TV ( 1) up to 15", (15" applies to flat screen TV only) must have earphone and jack for earphone (wireless
                   headphones prohibited), no built-in VCR, cable box for TV (at institutions where applicable), maximum
                   replacement value is $50, TV antennas only at facilities with approved policy exemptions (one converter box if
                   needed).
       38.         Remote control (1)
       39,         TV splitter (I)
       40.         Cable adapter ( l)
       4l.         Coax cable (l) (maximum length-9 feet)
       42. *+=     Radio (l) - AM and FM only, not to exceed 18" x 24" in size, must have jack for earphone, non-detachable
                   speakers, maximum replacement value $25
       43. *i"'·   Tape player/recorder (1) - not to exceed 18" x 24'' in size, must have jack for earphone, internal microphone
                   only, maximum replacement value is $25
       44. * 1=    Compact disc player (I) - not to exceed 18" x 24" in size, must have jack for earphone, non-detachable
                   speakers, remote control allowed, maximum replacement value is $25
       4 5. +==    Compact disc player, AM/FM radio, cassette combination (1) - not to exceed 18" x 24" in size, must have jack
                   for earphone, internal microphones only, non-detachable speakers, remote control allowed, maximum
                   replacement value is $25
       46, ~c  0
                   Radio (l) - "Walkman" type only (with headphone or one-piece unit), no cassette, may not be taken to work site
                   except by certain TR!COR programs approved by the Warden/Superintendent (Maximum custody excluded
                   unless approved by the Warden),
       47. + -     Tape/compact disc case (l) and a maximum combined number of 20 compact disc/audio cassettes fncluding
                   those used for voice mail (only clear plastic covers which can be seen through)
       48.   C     Headphones - to be used for items 37, 42, 43, 44, 45, and 46
       49.   C     Fan (I) 15" maximum, plastic housing and blades, and non-removable grill
       50.   cc,   Electric curling iron or rollers (female only)
       51. =c      Hand-held electric hair dryer (1,500 watts or lower)
       52.         Vendor Approved Tablets and Charger (I) where approved

                   Miscellaneous

       53,     Table garne(s) non-electronic (2), no dice
       54.     Photo album(]), no metal parts (maximum size 9 x 12)
       55,     Photographs - no Polaroid-type pictures may be mailed to inmates
       56. -   Musical instrument (1) replacement value $25.00, (may be approved by the Warden/Superintendent during
               assignment to that specific facility only), the item cannot have the capability for removable storage media
               (floppy disk, tapes, scandisk etc.) no modems, attachments, or removable parts such as monitors or displays:
               Instruments with metallic strings may only be approved for inmates classified medium custody or below.
               Instruments with non-metallic strings may be approved by the Warden/Superintendent for inmates classified to
               any custody.
       57. = Batteries (rechargeable batteries are not pem1itted);
       58. ='" Sewing needle, 2" or less, and thread (as sold in commissary only)
       59, X   Nail clippers (l) no file, 3" maximum length
       60. = Sunglasses, mirror lens not allowed, may be worn outdoors only unless medically required
       61.     Floor rug ( 1) no larger than 3' x 5', fire-retardant label with non-skid back
       62. ==c Surge suppressor ( 1) (limit 6 outlets)
       63,     Mesh bags (2)
       64.x    Bowl, cereal and lid (plastic) (I)
       65.     Ice chest (maximum size - 2 gallon) (No Styrofoam at TDOC facilities) (limit I per inmate)




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                                                                 PageID #: 2416
       Inmate Personal Property
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       66,      Shoe polish, paste (I of each neutral, white, or black) (non-toxic and non-flammable)
       67,      Clear reading lamp and/or light bulb (I)
       68,      Clear container (I) per inmate from the approved catalog (Tupperware style)
       69,      Address book (I)
       70.      Clear calculator, small handheld
       71.      Items sold by the commissary may not be received through the mail
       72.       Approved personal item (I) generated from within the institution as a result of vocational, recreational, or aits
                and crafts programs, as well as items pennitted as a result ofan incentive, honor, grade level, work, educational
                or religious program, may be permitted by the Warden, provided none constitutes a safety or security hazard
                and provided the six cubic feet limit is not exceeded. Any item in that section may be authorized only with the
                understanding that when the inmate is transferred to another institution, these items must be disposed of in
                accordance with Policy #504.02, if not allowed at the receiving institution.
       73.      Clear collapsible storage container for under bunk storage (size sold in catalog)
       74.      Sweatbands (2), white only (at Warden's/Superintendent's discretion)
       75.      Du-rags (2) black only (not to be worn outside the housing unit)

                Inmates may possess two of the three, and if those selections are made, #46 is not allowed.
       +        Inmates admitted to TDOC prior to August I, 1998, may possess these items only until they are released, or the
                items become inoperable.
                These items shall be taken when an inmate is placed on administrative segregation and then removed from the
                institution, except batteries for TV remote control.
       ti       Inmates admitted to TDOC prior to January 15, 2002, may possess these items only until they are released or
                until the item becomes inoperative.
       C        Items purchased after January 15, 2002, must have transparent plastic cover/housing.
       X        Items that can be sold by the commissary and purchased through the approved catalog.

       LRD:LG

       pc:      Tony Parker, Commissioner
                Chuck Taylor, Deputy Commissioner/Chief of Staff
                Debbie fnglis, Deputy Commissioner/General Counsel
                Lee Dotson, Assistant Commissioner of Prisons
                Bobby Straughter, Assistant Commissioner of Operational Support
                Edward Welch, Assistant Commissioner of Rehabilitative Services
                Lisa Helton, Acting Assistant Commissioner of Community Supervision
                Central Office Directors
                Ronald Whitmore, Superintendent TCA
                Cile Crowder, Policy Development Manager
                Historical File #504,01




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                                                                 PageID #: 2417
                                                                   Index #: 504.01              Page 1 of 3
                    ADMINISTRATIVE POLICIES
                        AND PROCEDURES                             Effective Date: November 1, 2019
                         State of Tennessee                        Distribution: B
                      Department of Correction
                                                                   Supersedes: 504.01 (11/15/16)
Approved by: Tony Parker

Subject:        INMATE PERSONAL PROPERTY



           I.       AUTHORITY: TCA 4-3-603 and TCA 4-3-606.

        II.         PURPOSE: To standardize the acquisition and control of personal property of inmates and
                    establish uniform procedures for the removal/and disposition of certain property.

       III.         APPLICATION: To institutional employees and inmates, excluding any offender assigned to and
                    actively participating in a Specialized Alternative Incarceration Unit (SAIU) program, and to
                    employees and inmates of privately managed facilities.

      IV.           DEFINITIONS: Personal Property: Items authorized by the Tennessee Department of Correction
                    (TDOC) for possession by inmates, including personally owned property and certain state-issued
                    articles.

       V.           POLICY: The TDOC shall maintain a comprehensive standardized list of personal property items
                    that inmates are permitted to have in their possession.

      VI.           PROCEDURES:

                    A.     Policy #504.02 shall govern the recording and accounting of all inmate personal property.

                    B.     Items in the personal possession of an inmate shall not occupy more than six cubic feet
                           collectively in his/her individual room, cell, or dormitory housing unit and shall conform to
                           fire-safety regulations. This size box shall be standard use for cell or room searches,
                           routine property checks, and transportation requirements. Property that will not fit inside
                           the box shall be considered excess and removed to the property room until the disposition
                           of the excess items can be accomplished in accordance with Policy #504.02. An item is
                           considered to be excess if it does not fit within the six cubic foot limitations, even though
                           that item may appear on the approved property list. The total amount of legal materials
                           that an inmate may have in his/her possession will not exceed a space delineated by 1.5’ x
                           1’ x 1’. Legal materials that exceed this space allocation may be stored in another area of
                           the facility approved by the Warden/Superintendent. The inmate will be allowed
                           reasonable access to any stored legal materials. The Warden/Superintendent will develop
                           an institutional policy specifying the storage location, methods and process whereby the
                           inmate may have emergency access to stored legal materials.

                    C.     Exceptions to the six cubic foot requirements are:

                           1.      Legal material (does not include personal law books and reference material)

                           2.      Prescribed medical equipment

                           3.      Television



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Subject:   INMATE PERSONAL PROPERTY



                   4.      Fan

                   5.      Approved musical instruments (does not include radio)

                   6.      Linen (state-issued)

                   7.      Approved Third Party Vendor Tablet, charger and flexible keyboard (where
                           Applicable)

            D.     By July 1 of each year, the Commissioner/Designee shall publish a list of personal property
                   that inmates are permitted to have in their possession. This list may be revised as
                   frequently as needed. All inmates are required to be in compliance with the approved
                   property list. Televisions, radios, tape players, typewriters, fans, and musical instruments
                   shall be engraved with the inmate's TDOC number. These items shall be properly recorded
                   so that they may accompany the inmate through the system. Inmates returning to the
                   TDOC as parole violators, escapees, etc., who maintain their current TDOC number shall
                   be allowed to receive their original property if the items show evidence of prior possession
                   (i.e., are engraved with the TDOC identification number) without any modifications.
                   Property which has a modification of its identification, serial number, or any other aspect,
                   will not be allowed and will be disposed of in accordance with Policy #504.02. Inmates
                   are prohibited from exchanging property with other inmates directly or indirectly through
                   third parties. The Warden/Superintendent may permit inmates to transfer personal
                   property to other inmates if they are immediate family members and this relationship can
                   be verified.

            E.     Individual jewelry items must be listed on Offender Property (LIBN), screen printed, and
                   signed by the inmate verifying that the jewelry does not exceed the value established
                   within this policy. The signed forms shall be kept on file in the property room with a copy
                   given to the inmate.

            F.     Each Warden/Superintendent may further restrict this list according to the institution's
                   individual security or treatment requirements. Inmates sentenced to death may receive
                   items that are unique to that particular group. The Warden/Superintendent shall issue an
                   institutional policy which addresses restriction of personal property and defines storage
                   requirements. Inmates may grieve denial of a particular piece of property through the
                   grievance process.

            G.     Provisions shall be made for any inmate who has a medical problem or a physical handicap
                   requiring special equipment, as verified by the institutional physician and meeting the
                   security needs of the institution. This property shall be listed on Offender Property
                   (LIBN). (See Policy #504.02)

            H.     Inmates may possess state-issue items in accordance with Policy #504.05 and items
                   received in accordance with the December special package list as approved by the
                   Commissioner in accordance with Policy #507.02.

            I.     All items on the approved property list which are available from the institutional
                   commissary shall not be received from any other source. All items which are a part of
                   state-issue may be restricted by the Warden/Superintendent as being the only source from
                   which those items may be received.
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                                                                     PageID #: 2419
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Subject:   INMATE PERSONAL PROPERTY



            J.     Inmates who were admitted to a TDOC institution prior to June 15, 1980, who have in their
                   possession excluded items as designated by this policy [such as television(s), radio(s), tape
                   player(s), fan(s), musical instrument(s), or typewriter(s)] which are not in compliance with
                   this policy either by size or value, have received a dispensation for those items only for as
                   long as they remain in the system. They must, however, comply in number, as only one of
                   each of these items is allowed. These items have been marked with an engraver to ensure
                   that they are properly identified so that they may remain with the individual for
                   dispensation and the TDOC number of the inmate. Example: D-000000. This item shall
                   be properly recorded on the inmate’s property list on Offender Property (LIBN) and shall
                   move with him/her through the system. When the inmate is released, the items for which
                   he/she has received the dispensation must go with them or be disposed of. These items
                   shall never remain with TDOC as the result of a transfer of property from one inmate to
                   another.

            K.     Inmates admitted to TDOC prior to August 1, 1998, who have in their possession excluded
                   items as designated by this policy, (i.e., AM and FM radio not to exceed 18”x 24”, audio
                   cassette tape player, compact disc player and case, compact discs, etc.) may retain these
                   items as they move through the system. When released, these items must go with them and
                   may not be transferred to another inmate. These items currently in possession for whatever
                   reason may not be sent out for repair or replacement. The institution education supervisor
                   and/or chaplain will provide access to tape players for those inmates who receive
                   authorized tapes, i.e., educational, religious, legal, and do not possess a tape player.

            L.     All property room personnel will familiarize themselves with the OMS Offender Property
                   (LIBN) for documenting and tracking offender property.

  VII.      ACA STANDARDS: 4-4292 through 4-4294.

 VIII.      EXPIRATION DATE: November 1, 2022.




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                ADMINISTRATIVE POLICIES
                  AND PROCEDURES                            Effective Date: December 15, 2020
                   State of Tennessee                       Distribution: B
                 Department of Correction
                                                            Supersedes: 507.02 (11/15/17)
Approved by: Tony Parker                                                   PCN 20-12 (3/1/20)
                                                                           PCN 20-43 (11/4/20)
Subject:   INMATE MAIL


    I.     AUTHORITY: TCA 4-3-603 and TCA 4-3-606.

   II.     PURPOSE: To establish the procedures governing collection, distribution, and inspection of mail in
           an institutional mail room, and the sending and receiving of inmate mail.

  III.     APPLICATION: Assistant Commissioner of Prisons, Tennessee Department of Correction (TDOC)
           employees, privately managed facilities, and inmates.

  IV.      DEFINITIONS:

           A.     Bulk Rate Mail: Mail, correspondence, or printed material that is not marked first or second
                  class.

           B.     Cassette Tapes: Audio or video magnetic/recording tape devices used to record voice or
                  video transmissions contained in transparent plastic containers commonly used in audio and
                  video cassette recorders.

           C.     Censorship: The entire withholding or deletion of parts of inmate correspondence.

           D.     Contraband: Any item which is not permitted by law or which is either prohibited or not
                  specifically authorized by TDOC or institutional policy.

           E.     Correspondence: Written communication to or from inmates (e.g., letters, post cards, greeting
                  cards) that is delivered by a postal service.

           F.     E-Mail: An electronic transfer of messages from a sending party to a receiving party via an
                  intermediate telecommunication system through a device approved by TDOC.

           G.     Features: Containing depictions of nudity or sexually explicit conduct on a routine or regular
                  basis or promotes itself based upon such depictions in the case of individual one-time issues.
                  Publications containing nudity illustrative of medical, educational, or anthropological content
                  may be excluded from this definition.

           H.     Government Officials: Any person holding an elected or appointed position at the city,
                  county, state, or federal level.

           I.     Inmate Personal Property: The items and amounts of clothing, equipment, mail, or supplies
                  which an inmate is allowed to have in his/her immediate possession.

           J.     Mail: Correspondence, printed or other material (including pictures or packages) and the
                  contents of envelopes and packages sent to or from inmates by means of a postal service or
                  such items sent or received in conjunction with official business of staff.

           K.     Mail Clerk: Staff assigned to the institutional mail room.

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           L.     Nudity: Any depictions where genitalia or female breasts are exposed. Publications
                  containing nudity illustrative of medical, educational, or anthropological content may be
                  excluded from this definition.

           M.     Printed Materials: Books, publications, magazines, newspapers, periodicals, circulars,
                  catalogues, or clippings which are portions of same, delivered by a postal service.

           N.     Privileged Mail: Correspondence clearly addressed to or from attorneys; law students on
                  behalf of attorneys; courts; court clerks; legal aid clinics; or law schools operating such
                  clinics; recognized legal defense funds; and governmental officials or agencies, including the
                  Tennessee Claims Commission, provided such correspondence bears the appropriate name
                  and title of the sender/receiver.

           O.     Reasonable Suspicion: Rational inferences which a reasonably prudent person could make
                  from specific objective facts.

           P.     Restrictive Housing: The purposeful separation of inmates from the general inmate
                  population in confinement or housing where measures are taken to provide maximum
                  security and/or to control their circumstances or circumscribe their freedom. This general
                  status is for either punitive or administrative reasons and is subject to inmates remaining in
                  their cells up to 22 hours each day.

           Q.     Security Threat Group (STG): Group of individuals possessing common characteristics
                  which serve to distinguish them from other groups who have been determined to be acting in
                  concert so as to pose a threat or potential threat to staff, other inmates, the institution, or the
                  community.

           R.     Sexually Explicit: Any depictions of actual or simulated sexual acts including sexual
                  intercourse, oral sex, or masturbation, or material which promotes itself based upon such
                  depictions on a routine or regular basis or in individual one-time issues.

  V.       POLICY: Each institution shall maintain a mail room for the sending, receipt, and distribution of
           staff and inmate mail. Inmates may exchange mail, other than packages, with any person and in any
           language, including braille, and e-mail where applicable, provided that it does not jeopardize the
           safety, security, or operation of the institution or the safety of persons within or outside the
           institution.

  VI.      PROCEDURES:

           A.     Each institution shall designate a mail room.

           B.     All mail addressed to inmates shall be delivered to the mail room, and all outgoing mail shall
                  be collected at and posted from the mail room. Excluding weekends and holidays,
                  correspondence shall be delivered to inmates within 24 hours of receipt. All incoming mail,
                  excluding privileged mail, will be opened and inspected for contraband and may be read by
                  staff. Approved packages should be delivered within 48 hours, excluding weekend and
                  holidays, to the inmate.


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                 1.      Designated staff should collect outgoing mail at least once each regular working day
                         from all locked mailboxes. Such boxes are to be located in areas designated by the
                         Warden/Superintendent and be accessible to all inmates.

                 2.      Disposition of mail and packages addressed to transferred, paroled/discharged, and
                         deceased inmates will be as follows:

                         a.      Mail addressed to inmates who have been transferred to another facility
                                 within the TDOC will be forwarded to that institution. Mail addressed to
                                 deceased inmates will be returned to the sender. Mail addressed to inmates
                                 who have been discharged or paroled will be forwarded to the address
                                 provided by the inmate prior to release. The address should be available
                                 from the offender management system (OMS) (LPDF or LCLA). All mail
                                 that meets the above-mentioned criteria shall be forwarded within 48 hours,
                                 excluding holidays and weekends.

                         b.      Packages addressed to inmates who have been transferred to another facility
                                 will be sent to that inmate by the Central Transportation System (chain bus)
                                 within five working days. Packages addressed to inmates who have paroled
                                 or discharged will be held at the facility for a period of 30 days. A letter will
                                 be sent to the inmate informing them of the receipt of the package and that
                                 they have 30 days to retrieve the package or make arrangements for shipment
                                 to his/her address. Packages addressed to deceased inmates will be held in
                                 the property room for 30 days and the next of kin notified to make
                                 arrangements to retrieve the package. If the 30-day time period has elapsed
                                 and all attempts to notify next of kin have not been successful, the property
                                 will be disposed of in accordance with Policy #504.02, Inmate Personal
                                 Property Accounting System.

                         c.      Inmates who are in the temporary custody of a local jurisdiction may request,
                                 in writing, that their mail be retained in the mail room for a maximum of 30
                                 days. After 30 days, it will be mailed to the inmate.

                 3.      Mail shall be held, stored, and handled in a secure manner which is intended to
                         prevent theft, tampering, delay, or other interference. Staff shall wear personal
                         protective gear to include face mask/shield, and gloves when opening mail and
                         packages.

                 4.      A staff person shall deliver incoming mail to the inmate(s) to whom it is addressed.
                         At no time shall mail be distributed by an inmate or be accessible to any inmate other
                         than the addressee.

                 5.      Inmates shall not be allowed to use the state messenger mail service to send any mail.

                 6.      No correspondence, printed material, inmate personal property, or money may be
                         hand delivered to inmates by visitors. The Warden/Superintendent or his/her
                         designees may allow attorneys of record to hand deliver privileged mail directly to
                         the inmate, subject to examination for contraband.


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                 7.      All staff mail received at an institution shall be checked for contraband by mail room
                         staff utilizing the fluoroscope prior to release from the mail room to the intended
                         recipient.

                 8.      Approved emails received through the contract vendor shall be released to the inmate
                         within two business days of receipt.

           C.    Incoming mail shall be handled as follows:

                 1.      Incoming privileged mail shall be opened only by a staff member in the presence of
                         the inmate addressee in order to examine the contents for contraband, and then
                         documented. Any mail which has papers which are bound together by metal clips
                         shall be disassembled by removing the metal clip. The staff members shall not read
                         the privileged mail or listen to legal tapes unless the Warden/Superintendent has, on
                         the basis of reasonable suspicion, determined that privileged mail or tapes may
                         contain information relating to criminal activity. The privileged mail/tape may be
                         read or listened to outside the presence of the inmate if doing so is necessary to avoid
                         compromising an on-going criminal investigation. A bound ledger shall be
                         maintained by mail room staff that lists each of privileged mail received/sent, the
                         date inspected and delivered, and recipient’s signature. Mail relating to the
                         implementation of Policy #511.05 is not considered privileged mail.

                 2.      All incoming inmate privileged mail, staff mail, and packages shall be fluoroscoped
                         for contraband prior to leaving the mail room.

                 3.      Incoming mail may be determined to be a threat to the security of the institution and
                         returned to the sender if, in the opinion of the Warden/Superintendent, it could
                         reasonably be considered to:

                         a.      Be an attempt to incite violence based on race, religion, sex, creed, or
                                 nationality.

                         b.      Advocate, facilitate, or otherwise present a risk of lawlessness, violence,
                                 anarchy, or rebellion against government authority, prison staff, and/or other
                                 inmates.

                         c.      Be an attempt to incite disobedience toward law enforcement officials or
                                 prison staff.

                         d.      Be an attempt to give instructions for the manufacturing or use of intoxicants,
                                 weapons, explosives, drugs, drug paraphernalia, other unlawful articles or
                                 substances, or any other items deemed as contraband.

                         e.      Contain plans to escape, unauthorized entry into the institution, or
                                 information or maps which might aid an escape attempt.

                         f.      Contain information relating to security threat group activity or use of codes
                                 and/or symbols associated with security threat groups.


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                         g.      Sexually explicit material or material which features nudity which by its
                                 nature or content poses a threat to the security, good order, or discipline of
                                 the institution, or facilitates criminal activity.

                 4.      Incoming correspondence may include only photographs (no Polaroid-type pictures
                         allowed) and clippings from printed materials. No personal checks, certified checks,
                         money orders, or cash will be accepted. Homemade items, layered greeting cards,
                         cards with additional decorations, and music cards are prohibited.

                 5.      Printed materials may be received by inmates in an unlimited amount, provided they
                         are mailed directly from the publisher(s) or recognized commercial distributor.
                         Persons ordering printed materials for inmates should be careful to accurately
                         identify the seller. Some materials offered on the website of recognized commercial
                         distributors are listed for sale by third-party sellers, and when purchased will be
                         mailed from the third-party seller who is not a recognized commercial distributor.

           D.    Books, magazines, and newspapers received directly from the publisher or a recognized
                 distributor are assumed to have been purchased; therefore, when sent into the institution as
                 bulk rate mail, these items will be accepted unless the printed material is denied by the
                 Warden/Superintendent under the provisions outlined in Section VI.(C)(3) above. These
                 items will not be considered packages. All other bulk rate mail will not be processed by
                 institutional mail room staff. Unauthorized items sent by bulk rate with guaranteed postage
                 paid if returned shall be returned to the sender. Other undelivered bulk rate mail shall be
                 destroyed. Inmates who want to receive other items that are normally sent bulk rate mail
                 must prepay first or second class postage for the material to be delivered by TDOC staff.

           E.    Video cassette tapes, microcassettes, compact discs (CDs), and digital video discs (DVDs)
                 are not permitted.

           F.    Audio cassette tapes may be received in accordance with Policy #504.01, Inmate Personal
                 Property, and under the following circumstances:

                 1.      Inmates with a disability or other condition that prevents the inmate from being able
                         to engage in written correspondence may receive communication tapes. Special
                         approval is required by the Warden/Superintendent via the inmate’s counselor.

                 2.      Religious/educational tapes may be received from recognized religious groups. (See
                         Policy #118.01)

                 3.      Inmates participating in an approved educational correspondence course may receive
                         audio cassette tapes mailed directly from the educational facility providing the
                         course. (See Policy #117.02)

                 4.      Legal tapes, CDs, and DVDs may be received from attorneys of record.

                 5.      Musical tapes may not be received.

           G.    All incoming mail must bear the inmate’s committed name, TDOC identification number,
                 and the correct institutional address of the inmate recipient. Aliases may be included when
                 such have been legally changed through the court. Exception to the TDOC identification
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                 number requirement is allowed for incoming Form 1099s, which are issued by the federal
                 government to indicate the inmate’s earned wages. In this instance, the inmate’s Social
                 Security number has been indicated and will serve as proper identification. Every effort shall
                 be made to deliver inmate mail; however, when neither the correct identity of the inmate
                 recipient nor the sender can be determined, the mail/package in question shall be returned to
                 the USPS as “undeliverable mail”. Incoming mail that has been opened must be resealed and
                 returned with postage paid by the facility.

                 1.      Inmates may correspond with others who are incarcerated. Inmates will not be
                         permitted to enclose stamps in correspondence to other inmates.

                 2.      Inmates in segregation or restrictive housing may write and receive letters on the
                         same basis as inmates in the general population.

           H.    Packages may only be received by an inmate directly from the approved contract vendor(s).
                 Individuals on the inmate’s approved visitor list may also purchase items or packages from
                 the approved contract vendor(s) according to the guidelines below and according to Policy
                 #504.01. All items ordered must meet the specifications listed on the Inmate Personal
                 Property List, i.e., clear plastic TV, etc.

                 1.      The number of packages which an inmate may receive is determined by the inmate’s
                         custody designation.

                         a.     Inmates classified as maximum or close custody may receive no more than
                                one package every six months. The Commissioner will designate the number
                                of package(s) allowed in December. Wardens/Superintendents may designate
                                months to level workload of staff.

                         b.     Inmates classified as medium or minimum custody may receive no more than
                                one package every three months. The Commissioner will designate the
                                number of package(s) allowed in December.

                         c.     Inmates who are still confined to a diagnostic center in excess of ninety days
                                and are awaiting transfer shall be allowed to order an approved package
                                containing only the following items; a television, walkman style radio, socks,
                                underwear, toboggan, pair of jersey gloves and one pair of shoes, provided
                                they are otherwise eligible to receive packages. Inmate still confined to the
                                diagnostic center for more than 180 days may request to order one additional
                                item from the approved property list if requested and approved by the facility
                                Warden. Newly committed inmates may order grooming and toilet articles
                                (Items 22- 31 of the Inmate Personal Property Memo) at the discretion of the
                                Warden/Superintendent.

                 2.      Printed materials, or approved arts and crafts material which are not otherwise
                         prohibited, shall not count against the maximum number of packages per month
                         permitted to be received.

                 3.      Inmates convicted of a disciplinary offense, excluding verbal warnings, shall not be
                         eligible to receive any packages, except for clothing items (#1-#10) which are listed
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                         on the personal property memorandum during the number of consecutive months
                         listed below:

                         Class C disciplinary – six months restriction

                         Class B disciplinary – nine months restriction

                         Class A disciplinary – 12 months restriction

                 4.      The disciplinary committee may impose the following escalating sanctions for all
                         convictions on cellular telephone or drug related charges:

                         First Offense - no packages for six consecutive months

                         Second Offense (within 18 months of first offense) - no packages for nine
                         consecutive months

                         Subsequent Offenses (within 24 months of second offense) - no packages for 12
                         consecutive months

                         Inmates that are assigned to a substance abuse treatment program who test positive
                         shall also be subject to these escalating sanctions

           I.    The content of packages received shall be subject to the following limitations:

                 1.      Items, excluding shower shoes, brushes, and combs, which are the same as or similar
                         to items available through the institutional commissary may not be received from the
                         vendor.

                 2.      Clothing, equipment, and supplies permitted by policy will be acceptable subject to
                         restrictions and provisions.

                 3.      Personal property packages received from the approved contract vendor will be
                         subject to the imposed package limit.

           J.    All incoming packages delivered by postal services shall be received in the mail room. They
                 shall be checked and recorded by appropriate staff. Institutions with a security designation of
                 Level II or higher shall fluoroscope all packages for contraband prior to entry into the
                 compound. Packages exceeding two feet in height and two feet in length by one to one and
                 one half (1 - 1½) feet in width will not be accepted unless specifically approved by the
                 Warden/Superintendent. Packages shall be opened by mail clerks or property room staff only
                 in the presence of the inmate addressee. A physical barrier should separate staff from the
                 inmate when packages are opened for inspection.

                 1.      Packages for segregated inmates should be delivered within 48 hours, excluding
                         weekends and holidays, of receipt at the institution. At such time, the package shall
                         be opened in the inmate’s presence by appropriate staff.



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                 2.      All other inmates should be called to a designated area within 48 hours, excluding
                         weekends and holidays, of the package's delivery to the institution. At such time, the
                         package shall be opened in the inmate's presence by appropriate staff.

                 3.      Packages not accepted will be disposed of in accordance with the policy governing
                         inmate personal property. (See Policy #504.02)

           K.    Outgoing Mail:

                 1.      Inmates shall be responsible for the contents of their outgoing mail. Correspondence
                         should not contain any threats to the institution, staff, victims, victim families,
                         inmates, or the public, or contain offensive material/items, language, photographs, or
                         drawings. Coded mail shall not be allowed. All outgoing mail must bear the
                         committed name, TDOC identification number, and the institutional address of the
                         sender. Inmates may include an alias when the name has been legally changed
                         through the court.

                 2.      Indigent inmates assigned to diagnostic centers may be provided with a maximum of
                         four postage stamps. All other indigent inmates may receive two postage stamps per
                         pay period through the Chaplain’s office, upon written request. The
                         Warden/Superintendent/Designee. shall provide indigent inmates desiring to submit
                         an IRS Inmate Economic Impact Payment Form, a U.S. Postage stamp after the
                         inmate completes a trust fund account personal withdrawal request, CR-2727 in
                         advance. The cost of the postage stamp shall be deducted from the inmate’s trust fund
                         account when the inmate has a deposit

                 3.      Except as otherwise provided herein, when the inmate bears the cost of mailing, there
                         is no limit to the number of letters the inmate can send or receive, or to the length,
                         language, or content of mail. First class postage for outgoing legal mail shall be
                         provided by the institution only for mail being sent by indigent inmates to the
                         attorney, court, or offices involved in the inmates’ legal matters. Indigent inmates
                         assigned to diagnostic centers may be provided with a maximum of four postage
                         stamps prior to the inmate receiving funds as defined in Policy #112.08.

                 4.      Outgoing privileged mail shall have the envelope date stamped immediately upon its
                         receipt by a designated employee, who will also make an entry in the log for
                         privileged mail. The mail must be identified as privileged by the inmate, who may
                         write “privileged” on the front of the envelope or who may inform the mail room
                         staff. This requirement shall apply for all inmates, including those in segregation or
                         protective custody status.

                 5.      After the envelope has been date stamped, it shall not be returned to the inmate under
                         any circumstances. The inmate will be notified when an envelope does not have the
                         required amount of postage. The inmate will have two working days to provide the
                         additional postage. The envelope will not be returned to the inmate. Remaining
                         envelopes with insufficient funds will be disposed of after three working days.

                 6.      Outgoing mail, excluding privileged mail, shall be opened for examination upon an
                         order of the Warden/Superintendent when reasonable suspicion exists that the
                         security, order, or programs of the institution are threatened or that it contains
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                         information relating to criminal activity. The inmate sender shall be present
                         whenever outgoing mail is opened, unless the mail is being opened as part of an
                         ongoing criminal investigation and so doing would compromise the investigation.
                         All requests to open outgoing mail as part of a criminal investigation, whether the
                         request is made by another agency or the TDOC, shall be approved by the Director of
                         the Office of Investigations and Conduct (OIC), who will maintain documentation of
                         the requestor, the nature of the investigation, a case number (if applicable), a begin
                         date, and an end date. Should the investigation require that the mail be opened for a
                         period that extends beyond 30 days, a new request must be submitted.

                 7.      Privileged mail may only be opened and/or read with the written permission of the
                         Assistant Commissioner of Prisons/designee. A written request stating the reason for
                         this action must be submitted by the Warden/Superintendent/designee to the
                         Assistant Commissioner of Prisons/designee for approval. Excluding weekends and
                         holidays, approval must be obtained within 24 hours of the mailrooms receipt of the
                         outgoing correspondence.

                 8.      The Warden/Superintendent will have stamped on the back of each envelope “THE
                         DEPARTMENT OF CORRECTION HAS NEITHER INSPECTED NOR
                         CENSORED AND IS NOT RESPONSIBLE FOR THE CONTENTS”.

           L.    Mail rejected by the Warden/Superintendent will be handled as follows:

                 1.      If the Warden/Superintendent determines that mail sent to an inmate could
                         reasonably present a threat to the security, order, or programs of the institution,
                         he/she shall notify both the inmate recipient and sender of his/her intent to reject the
                         mail and return it to the sender, except bulk rate mail covered in Section VI.(D). This
                         notice shall be in writing, dated, and include:

                         a.      The name and address of the sender

                         b.      The name of the inmate recipient

                         c.      The date the mail was received at the institution

                         d.      The reason the Warden/Superintendent intends to reject the mail

                         e.      A statement that either the recipient or sender may appeal this decision to the
                                 Assistant Commissioner of Prisons within 14 working days and that a failure
                                 to appeal will result in rejection of the mail and its return to the sender.

                         f.      The name and address of the Assistant Commissioner of Prisons to whom an
                                 appeal may be sent.

                         g.      Rejection notices regarding magazines or similar publications must contain
                                 information to identify the specific issues or items being rejected (example,
                                 picture on page 7 is pornographic; article on page 8 contains information on
                                 weapons manufacture, etc.).

                 2.      If the Warden/Superintendent orders the examination of outgoing mail, which will
                         include, but not be limited to, privileged mail as set forth in Section (K)(6) and (7)
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                         above, an entry will be made in the ledger entitled “record of censored mail” as
                         provided for in Section VI.(Q)(4)(a)(1-7), and the provisions outlined in (L)(1) (e-f)
                         above will apply. The mail may be returned to the inmate or retained pending the
                         resolution of a disciplinary report or a criminal investigation/hearing.

           M.    If a timely appeal is received by the Assistant Commissioner of Prisons, he/she shall notify
                 the Warden/Superintendent of the appeal, examine the mail in question, and consider the
                 Warden/Superintendent's reasons for rejecting it. If the inmate elects to appeal the rejection,
                 he/she shall send a copy of the appeal to the Warden/Superintendent at the time the original is
                 sent to the Assistant Commissioner of Prisons.

           N.    If the Assistant Commissioner of Prisons agrees with the Warden/Superintendent’s decision,
                 he/she shall notify the Warden/Superintendent, sender, and inmate recipient, in writing, and
                 the mail shall be returned to the sender. If the Assistant Commissioner of Prisons determines
                 that the mail should not be rejected, he/she shall notify the Warden/Superintendent, sender,
                 and inmate recipient, in writing, and the mail shall be delivered to the inmate. The Assistant
                 Commissioner of Prisons should make his/her decision within 14 days of receipt of the
                 appeal.

           O.    Rejected mail may not be returned to the sender until either the time to appeal the
                 Warden/Superintendent's decision has expired or the Assistant Commissioner of Prisons has
                 upheld the Warden/Superintendent's decision.

           P.    Contraband which is discovered in mail shall be handled as follows:

                 1.      Cash Money

                         a.      Cash money, checks, and money orders shall be returned to the sender by
                                 certified mail, with an explanatory letter, at the expense of the institution.

                         b.      Cash money which was obviously hidden in the mail or property shall be
                                 deposited to the general fund. (See Policy #208.06) In those cases, a detailed
                                 description and photograph of the method used to conceal the money shall be
                                 made, and an explanatory letter will be provided to the sender and inmate
                                 involved.

                 2.      Items which appear to be in violation of law or policy may be held for evidentiary
                         purposes.

                 3.      Disposition of information obtained from censored mail, both incoming and
                         outgoing, shall be the responsibility of the Warden/Superintendent.

                 4.      With the exception of cash money, and illegal items, mail shall be marked “Refused”
                         and “Return to Sender” if it is:

                         a.      A package the inmate is ineligible to receive

                         b.      Refused delivery on the basis of content by authority of the
                                 Warden/Superintendent.

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                 5.      All property items that are clearly prohibited or not specifically permitted by policy,
                         but are not otherwise illegal, may be marked “Refused - Return to Sender” or
                         disposed of in accordance with the policy governing inmate personal property. (See
                         Policy #504.01)

                 6.      In all instances, the intended inmate recipient shall be notified, in writing, of the
                         refusal, return, and/or disposition of such items.

                 7.      For items identified in Section VI.(O), the notice shall indicate why the items are
                         prohibited and that the inmate has 14 days to request an opinion from the Assistant
                         Commissioner of Prisons that the item(s) in question is permitted by policy. The
                         Assistant Commissioner of Prisons shall respond to such inquiries within 14 days of
                         receipt.

           Q.    Organization and Record Keeping:

                 1.      The mail room staff is responsible for the receipt and distribution of all incoming
                         mail, and for the sending of all outgoing mail, including that received and sent by
                         state messenger service.

                         a.      Secure depositories for outgoing mail shall be maintained.

                         b.      Inmates or unauthorized staff shall never be permitted access to the mail, the
                                 mail room, or mail depositories.

                 2.      Rubber stamps shall be maintained to mark:

                         a.      The date and time when each item of mail was received.

                         b.      “REFUSED”; “REFUSED DUE TO CONTENT”;                         “RETURN TO
                                 SENDER”; each with a signature line for the mail clerk.

                 3.      A system of index cards shall be maintained for each inmate who is in the total
                         assigned population of the institution

                         a.      The format shall be:

                                       Custody
                                 NAME:______________________TDOC ID #_________ Level :________
                                 (inmate)
                                 Record of Packages Received
                                 Date Name of Sender                 Signature of Employee
                                 ____________________________________________________________
                                 ____________________________________________________________
                                 ____________________________________________________________

                         b.      When a card is completely filled in or an inmate is transferred or released,
                                 the card shall be removed from the file and forwarded to the property room
                                 for inclusion with the inmate's property room documents.

     Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 148 of 198 CCI  000748
                                                                      PageID #: 2431
Effective Date: December 15, 2020                   Index # 507.02                         Page 12 of 15

Subject:   INMATE MAIL


                 4.      A permanently bound ledger(s) titled "RECORD OF CENSORED MAIL" shall be
                         maintained and shall contain the following entries:

                         a.      Regarding mail which the Warden/Superintendent ordered to be read:

                                 (1)     Inmate name and TDOC ID

                                 (2)     Name and address of sender/addressee

                                 (3)     Description of the item

                                 (4)     Date the item was received by the mail room

                                 (5)     Date the item was read

                                 (6)     Signature of staff who read the item

                                 (7)     Approving signature of Warden/Superintendent

                         b.      Regarding mail or items removed from the mail, other than prohibited bulk
                                 rate mail:

                                 (1)     Inmate name and TDOC ID

                                 (2)     Name and address of sender/addressee

                                 (3)     Description of the item

                                 (4)     Date the item was received by the mail room

                                 (5)     Date the item was removed from the mail

                                 (6)     Disposition of the item (i.e. returned to sender; to property room; to
                                         Warden/Superintendent as illegal contraband, etc.)

                                 (7)     Signature of mail clerk

                                 (8)     Signature of Warden/Superintendent, if applicable regarding illegal
                                         contraband

                 5.      The following forms and letters shall be utilized as specified:

                         a.      A form letter on institutional letterhead with CR-2782 will be completed and
                                 mailed to senders of cash monies. The cash shall be enclosed and returned.
                                 A copy shall be sent to the inmate addressee and a copy shall be filed in the
                                 mail room.

                         b.      Personal Property Notification, CR-1415, will be completed and given to an
                                 inmate indicating the removal of contraband items from mail, and specifying
                                 the disposition which has been or is to be made. A copy shall be filed in the
                                 mail room.
     Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 149 of 198 CCI  000749
                                                                      PageID #: 2432
Effective Date: December 15, 2020                   Index # 507.02                      Page 13 of 15

Subject:   INMATE MAIL



                         c.      A supply of rules governing inmate receipt and sending of mail shall be
                                 copied onto institutional letterhead, dated as revised, and kept in sufficient
                                 supply to ensure that any inmate requesting a copy will receive one. Inmates
                                 shall be encouraged to send this to correspondents.

                 6.      A bound ledger shall be maintained to record the following:

                         a.      Privileged mail sent or received

                         b.      Certified or registered mail sent and/or received

           R.    Receiving Mail: Inmates not personally known by staff who receive mail or who sign
                 receipts for mail shall be required to present an institutional identification card.

 VII.      ACA STANDARDS: 5-ACI-3D-01, 5-ACI-3D-01, and 5-ACI-7D-01 through 5-ACI-7D-10, 4CRS-
           6A-01, 4-ACRS-6A-06, 4-ACRS-6A08, and 4-ACRS-6A-09.

VIII.      EXPIRATION DATE: December 15, 2023




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                                                                     PageID #: 2433
Effective Date: December 15, 2020                               Index # 507.02                       Page 14 of 15

Subject:    INMATE MAIL




                                                   (I NSTITUTION LETTERH EAD )




           MEMORANDUM

           TO :
                                                                       (TDOC ID)


                                                                    (Name of Sender)


                                                                   (Senders Address)




           FROM:                      Mailroom Clerk

           DATE :
           SUBJECT:                   Monies


           The enclosed money was found in mail addressed to inmate:


           Name:                                                       TDOC ID
                                                                                   ------------


           By Department of Correction Policy #507.02, No monies in any form may be accepted. (cash, checks
           or money orders) Any monies found in the mail or property shall be returned to the sender.


           Sincerely,



           Mailroom Clerk


                                     Institution


           Enclosure:

           __Q_ Green Money                            ~$ _ _ _ _ _ _ _ _ _ Amount

           _.D_     Money Order I Check                ~$ _ _ _ _ _ _ _ _ _ Amount

                    Money Order I Check Number

           Date Mailed Out:
                               ------------

                    CR-2782 (Rev. 08 .2020)                 Duplicate as Needed              RDA 1100




   Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 151 of 198 CCI  000751
                                                                    PageID #: 2434
Effective Date: December 15, 2020                                                      Index # 507.02                                           Page 15 of 15

Subject:       INMATE MAIL




                                                          TE     ESSEE DEPARTMENT OF OORREC: ION

                                                               PE!RSONAL PROPERTY NO:rJFICAT ION

     l MATE NAM E: _ _ _ _ _ _ _ _ _ _ _ _ _ _ __                                       TDOC ID: _ _ _ _ _ _ _ _ __                    DAliE: _ _ _ _ _ _ __


  T he below lis ed property was ~eceived for deliv~ to you. The iiems desig:na.~ed "Pick-Up" are to be he ld at _ .,..,..- , - - - ---,, - -= --,-, -- - ----,-- and
  may be pided u;p al _ _ _ _ _ _ _ _ _ _ (time). hose kems designated as 1 n-Siarage· are · ems 'htlich you ar<> nol. pennitted 'o possess. II is your
  resJJOl1sibllily o dispose o4 those · ems within 30 days or ihe Depallmen w ill dispose of ti>em


  You may request ar, opi:nioo from 1he Associa' e Warden as to 'htlelh~    or;   not the item(s) are p ~itled by policy. If th<> Associate Ward'er> co:ncu rs with your
  request, Ille · em(s) will be returned to you.


                                                                                        IN-
   QUANTITY             ITEM              VISrTOR SIGNATURE          PICK-UP        STORA-O E      PROPERTI TAG I         PICKUP DATE          INMATE SIGNATURE




                           Sta:! Signa   (Witnes s)                                                                         staff Signab.Jre

     CR-1415 (Rev. 08.2000)                                                                                                                              RDA 11005




   Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 152 of 198 CCI  000752
                                                                    PageID #: 2435
             Department of
 _ _ correction



February 13, 2017



Re:     Religious Activities Committee Request #17-002


Mr. Young Bok Song #379747
TTCC
140 Mason Way
Hartsville, TN 37074

Dear Mr. Song:

I received your Request for Group Accommodations submitted on behalf of the Hebrew-Greek at TTCC, and
the recommendations of the Warden and the Chaplain. The Religious Activities Committee (the "Committee")
has reviewed your request and voted in the following way:

        1. Approval - Per policy 118.01, this group was recognized at NECX. Failure to provide proof of
           denial at your facility.
        2. Approval - This group was recognized at NECX.


Sincerely,


      Lf,µ~
Deborah Thompson
Director of Religious, Volunteer & Religious Services

cc:     TP-17-028
        TP-17-027
        Blair Leibach, Warden
        Jon Shonebarger, Chaplain      ✓




             Department of Correction• 6th Floor Rachel Jackson Building• 320 6th Avenue North•
             Nashville, TN 37243 • Tel: 615-741-1000 • Fax: 615-532-8281 • tn.gov/Correction




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                                                                 PageID #: 2436
  - . Department of
  lllliiiiiiia
       ..........   Correction


 February 13, 2017



 Re:          Religious Activities Committee Request #17-002


 Mr. Young Bok Song #3 79747
 TTCC
 140 Mason Way
 Hartsville, TN 37074

 Dear Mr. Song:

 I received your Request for Group Accommodations submitted on behalf of the Hebrew-Greek at TTCC, and
 the recommendations of the Warden and the Chaplain. The Religious Activities Committee (the "Committee")
 has reviewed your request and voted in th~ following way:

              1. Approval - Per policy 118.01, this group was recognized at NECX. Failure to provide proof of
                 denial at your facility.
              2. Approval - This group was recognized at NECX.


 Sincerely,


       t)Hh.-
 Deborah Thompson
 Director of Religious, Volunteer & Religious Services

 cc:          TP-17-028
              TP-17-027             /
              Blair Leibach, Warden '
              Jon Shonebarger, Chaplain




                    Department of Correction • 6th Floor Rachel Jackson Building• 320 6th Avenue North•
                    Nashville, TN 37243 • Tel: 615-741-1000 • Fax: 615-532-8281 • tn.gov/Correction




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 154 of 198 CCI  000754
                                                                 PageID #: 2437
      Rev. Deborah Thompson
      5th Floor Rachel Jackson Building
      320 6th Avenue North
      Nashville, TN 37243

      January 6, 2017

      Dear Director,

      Attached is a Group Religious Accommodations Request from inmate Young Bok Song, 379747. After
      review from our facility, both the First and Second Accusations are recommended for disapproval. We
      will await the decision from the Religious Activities Committee.



      Respectfully submitted,



      Chaplain Jon T. Shonebarger, Jr.
      CoreCivic/TTCC
      140 Macon Way
      Hartsville, TN




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 155 of 198 CCI  000755
                                                                 PageID #: 2438
      TO: Warden Leibach; AW Pittman
      FM: Chaplain Shonebarger
      RE: Group Religious Accommodations Request; CR-3735 Inmate Song



      While Chaplain Leek was with me a few weeks back, we reviewed this request from inmate Song. He had
      submitted this directly to Director Thompson at TDOC, bypassing us at the facility level.

      Our recommendation for Disapproval is on page 3. This must be submitted to Director Thompson by
      January 10th • Be aware I will be in Nashville next week for De-escalation training. Request your decision
      by Friday so I can submit to TDOC.

      Thx.




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 156 of 198 CCI  000756
                                                                 PageID #: 2439
                              TENNESSEE DEPARTMENT OF CORRECTION
                              GROUP RELIGIOUS ACCOMMODATIONS REQUEST
                              (COMPLETE pages 1 & 2; submit to Chaplain; See Policy# 118.01)

        Date Submitted to Chaplain:


                                               Inmate Name                                                                                 TDOC#

        Estimated Number of Inmates in the Group:

         1.      Official name of the group:
              ''TTC C                   H~brew ,. ; c..;r"'el-:                        e~ble St •!y (7t'bi<f'
                                                                                                         4




         2.      Names and contact information of the group's leaders:
              " Y,, ll/1••,
                          P,c i::              s~'iit,
                                         -'fl 3? Cf{] 1./- )) CC:. - ~ ~..,:)..




        3.       The group's teachings, beliefs, and practices:
              ' v..lr,; >b..l:i       -tL"      W,,;'i        c-f G,,d           1'n   ;t\. Dr;rl\d




        4.      Titles of the group's basic text(s):
              ' Hd, re..; ~ r1.. 1.          6r4ffln-1ll/l     f:U.:, /"'ir,;ue.l;~_-Ti;,,. ,t ;             i• ,:-1.. L:>(;   (cJ/1




              "Ar"J;,:         ~   A•(i'>k~ l7n1rnm;,r ,f!,,,of,                 E·,:-t {~1,}ic. llun'.11'-L,',,,,, 15:b/r.:. A,;;,.},:c.. D,'ct~,.)'t,i-::(
              · L0.U,, ;           L(t,t~•" (;irc.l'>'lrr.0( t"J~·:,I~,           L",t;·,, V'«!~!t1..l<t [3~bk, Lri.1.i:>1 ,D;d,\h,"V                     '
        5.      Other information helpful in researching the group:
              "l,!e ~~bw-hA. <1.-t/\\ft'X ::;,, '.loc'L tAoie.d h, li.kc<X ti.\\ci t!f>pii,c:d l\i. t--.:;Jh t~t~/;i-,1(,:,,,,1,)
                                                                                                                     1
                 ✓ ·r ,,., ('11~ ~1,i~:. bk,1d../-S m,J T,{X;( {!"t,,o,,} At:~.:: t (u,,.1·11LL\:_,:-                          ·

                  "                ~-,,u,4    ,.:bJ ~"'                          tk H;,..,,u"' -H~,td               ,\ '\i,,:_ t~,y i',,   )'t·te,'t/,'it~.   Gh',k,   ·( .-~1;-.

               G:1,;   J   Gv•irJ "i'f>vn,    (1'   b.),e,   11i1u:,n ,.   iJ,,1_,,,,,." ·-l-,c it1• )


       CR-3735 (Rev. 06-10)                                                 Duplicate as Needed




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 157 of 198 CCI  000757
                                                                 PageID #: 2440
         6. . Names of outside clergy or volunteers available to visit the institution:
              .. \iaJ r;JFl        I   ~iii'~:)   l~i/1'\/ N-,;,J,11~))"'--. k.c{e1:1\ P,,,-.>\yt,-1~,, n Chkrch, Nii_<, h1clle I Tu;111e.~£:'E' '2..
                                                  -;,,.
              '' j~wh, _ ~;eph;,;-1 _ , f~ I< PC N-:1.1h~:)),,, TAJ
              .• r>ll.5,tc,{;:, 'Rtri' An~·(\ 8_ ~-<-h~rJ ,)1?r1f'llr,: ".,, H,'\n/e,t. p\}111 ~fo~;(("lj fvit .-Jt,\;-e(, TtJ
               -· ChL'\ p)Acl'l p,L\~ .11,c'{CWII t f\.1/h'.~, k CJ'.,_; ( C/11~b.im Tt•c'.\~•i f\'.J Ct.'ir/-,,;~• ) , 'E:-f1>t~d, l
                               J                                                                                                     rI


         7.       DETAILED description of the accommodation(s) requested:
                  a. First Accommodation
               ~ We. n=d a.. pks...<e. tu                   1ne.if    -f~r   !!>WI'"   e.1->i;: .




                  b. Second Accommodation
              .,. l{) e. ,\q,;_J_        b,H,~it•J        11J':(e    p,,r Ye«,          [ (hr~d:: Wt""~      Ci.,~      ~S'-t-e.r)




                 c. Third Accommodation




                 d. Fourth Accommodation




                 e. Fifth Accommodation




       If more than five accommodations are requested, please add additional pages showing Sixth
       Accommodation, Seventh Accommodation, etc.


       CR-3735 (Rev. 06-1 OJ                                   Duplicate as Needed                                                                 2




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                                                                 PageID #: 2441
          8.   Recommendations by the Warden and the Chaplain

               Date Sent to the Religious Activities Committee: _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __

                                                                   _ _ _ Approval    - · · - - Disapproval




               b. Second Accommodation -- Recommendation:                 Approval            Disapproval
               Reason:   'Z'QAS: /6 f!l>T ct    &:c1_01r-;;;;T~1_ . . ow1 Ff l'y
                 ·-rJ>o(?...                          -                    ~-




               c. Third Accommodation - Recommendation:                   Approval            Disapproval
               Reason:




               d. Fourth Accommodation - Recommendation:           _ _ _ Approval    _ _ _ Disapproval
               Reason:




               e. Fifth Accommodation -- Recommendation:                  Approval            Disapproval
               Reason:




        CR-3735 (Rev. 06-10)                 Duplicate as Needed                                             3




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 159 of 198 CCI  000759
                                                                 PageID #: 2442
         9.   Approval or Disapproval by the Religious Activities Committee

              Date of Approval or Disapproval;

              a. First Accommodation:                   Disapproved    _ _ _ Approved




              b. Second Accommodation:                  Disapproved           Approved - subject to conditions:




              c. Third Accommodation:       ______ Disapproved - - ~ Approved




              d. Fourth Accommodation:                  Disapproved _ _ _ Approved




              e. Fifth Accommodation:                   Disapproved    _ _ _ Approved




       CR-3735 (Rev. 06-10)                      Duplicate as Needed                                              4




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 160 of 198 CCI  000760
                                                                 PageID #: 2443
 November 29, 2017

 Re:    Religious Activities Committee Request #17-016 (TP-17-590) (TP-17-616)



 Mr. Willie Pegues, #202296
 TTCC
 140 Mason Way
 Hartsville, TN 37074

 Dear Mr. Pegues,

 I received your Request for Group Accommodations submitted on behalf of, the Nation of Islam, and the
 recommendatioAs of the Warden and the Chaplain. The Religious Activities Committee (the "Committee")
 has reviewed your request and voted in the following way:

                1.  Approval -This is already being observed in place here at TTCC.
                2.  Disapproval - Requests the group be authorized to receive and purchase DVDs, CDs, and
                    text from "Final Call" the official media arm of the Nation of Islam. Our issue as a facility
                    is that inmates are prohibited from purchasing "Video cassette tapes, microcassettes,
                    compact disc (CDs) and DVDs ... (TDOC 507 .02.VI.E).
                    Approval with modifications - "The Nation of Islam faith group may request religious
                    program materials, in writing, to the Religious Services Department at nee. Upon review
                    and approval, procurement of group faith material will be acquired from vendors at the
                    discretion of the facility. The Assistant Warden of Treatment approves all purchases.
                    Inmates are prohibited by TDOC policy 507 .02 VI.E. to purchase electronic media
                    themselves."
                 3. Approval - TTCC is already being observed and in place here. Chaplain recommended
                    they are in compliance with their faith tenants.




         Deborah Thompson
         Director of Religious, Volunteer & Victim Services

         cc:     TP-17-590
                 TP-17-616
                 Warden Russell Washburn /
                 Chaplain Jon Shonebarger   v


           Communication Department• Sixth Floor Rachel Jackson Building• 320 Sixth
           Avenue North• Nashville, TN 37243 • Tel: 615-253-8144 • Fax: 615-532-8281 •
           tn.gov/correction




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 161 of 198 CCI  000761
                                                                 PageID #: 2444
                                                                        Ill    !I!


                                                                       I I
                                                                 Better the public good.




       Reverend Deborah Thompson
      Director, Religious Programs TDOC
      320 6 th Avenue North
       Rachel Jackson Building
      Nashville, TN 37243-0465

      Sunday, September 17, 2017

      Dear Reverend Thompson and the Religious Activities Committee,

      The attached Tennessee Department of Correction Group Accommodations Request (CR-3735} is
      submitted for your action per TDOC policy 118.01.

      After review of the -request froni the, Nation of Islam _inmate, Warden Washburn, AWT Pittman, Chaplain
      Simic and I recommend approv~I of
                            ••
                                              Mms 7:a. ;rnd 7c.
                                           r /,·   t,   ;1   ,


      To answer 7b. we recommend this for the TDOC/RAC: Approval, with modifications. "The Nation of Islam faith
      group may request religious program materials, in writing, to the Religious Services Department at Trousdale-
      Turner Correctional Center. Upon review and approval, procurement of group faith material will be acquired from
      vendors at the discretion of the facility. The Assistant Warden of Treatment approves all purchases. Inmates are
                                                                                           11
      prohibited by TDOC policy 507.02. VI.E. to purchase electronic media themselves.




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 162 of 198 CCI  000762
                                                                 PageID #: 2445
                       TENNESSEE DEPARTMENT OF CORRECTION
                       GROUP RELIGIOUS ACCOMMODATIONS REQUEST

                       (COMPLETE pages 1 & 2; submitto Chaplain; See Policy# 118.01)

                                                                            __1.._.7_ _ _ _ _ _ _ _ __
       Date Submitted to Chaplain: __,A'""u..._g""u""s...,t..,8.,,..._.2....Q

          Willie X {Peg1ms)                                                                              202296
                                    Inmate Name                                                           TDOC#

        Estimated Number of Inmates in the Group:

         1.   Official name of the group:
               Nation of Islam Study Group



         2.   Names and contact information of the group's leaders:
               Rrn AndrA'        MHbammad

                N;:i~hviUe_ TN 3Z2Q3
                Telephone- (615)255~1441


         3.   The group's teachings, beliefs, and practices:
               Teachings afthe Nation of Islam, Oneness at Allab(Gad) Zakat Prayer EasHog
               (Especially dt icing the Holy Month                at Ramadan),          aod Hajj




         4.   Titles of the group's basic text(s):
               Holy Q11 1rao, Holy Bible, Iorab, Nation of Islam Iext by the Most Honorable Elijah
               Mi ,barornad aod Honorable Minister I 011is Farrakbao,and Fioal Call !'ilewspapers



         5.    Other information helpful in researching the group:
               Watchina DVD's and listenina tn                  r.n•s nf thA Nation of 1~1~m




        CR-3735 (Rev. 06-10)                             Duplicate as Needed




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 163 of 198 CCI  000763
                                                                 PageID #: 2446
         6.     Names of outside clergy or volunteers available to visit the institution:
                  Brother Andrew Muhammad
                  Brother Robert Muhammad
                  RrnthRr EricM11h;:imllli.-..rl_,____ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ _ __




         7.     DETAILED description of the accommodation(s) requested:
               a. First Accommodation
              Jhat. we__b.a.a.bJe.lo_prr1ctice rn 1c..lslamic Reliolrn 1s Briefscc.ill.diDg. to the teaching.s_m
               l\t1o~t Honor0 bJP- Elijah Muhammad and Honorable Minister Louis Farr8kh:=m oLtha
              _Nation afl:;;;l;::inll]ll.[S_Uant to TDOC..Policy #·118.0·1 an,,,,.cl..J.H.,,.L,._,.l.,..,_ll_._PL..JACL.,_ _ _ _ _ __




               b. Second Accommodation
                That we be able to recelye and purchase Nation of lslam mLD..':s.~GD~s and JexL.__
                Material, which to iocll1de the Final Call NP.\Ns.pap.e.r:..p.w:suaot lo TQQC Policy
                #118 01 ;:i_.ru::L#507 O?, ar:id..RW.12.,...,_,_________________




               c. Third Accommodation
              JhaLweJ:i.e...ableJ:CLObserve SA..\lior Day which is celebrated   by the Natinn...aLlslam_.
              _;_011   261b day af Fehn 1ary, ancUbal:::lol¥ Man th af Ramadan pt 1rs11ant lo TDQC Polley
               #118 01 and RUJIPA



               d. Fourth Accommodation




               e. Fifth Accommodation




       If more than five accommoda.tiQns are requested, please add additional pages showing Sixth
       Accommodation, Seventh Accommodation, etc.



        CR-3735 (Rev. 06-10)                          Duplicate as Needed                                                         2




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 164 of 198 CCI  000764
                                                                 PageID #: 2447
       8.   Recommendations by the Warden and the Chaplain

            Date Sent to the Religious Activities Committee·   .;$&pl /   7:" &,CJ//
            a. First Accommodation -- Recommendation:               Y     Approval               _ _ _ Disapproval
            Reason:     0~e         ✓,?_dac4c-,f 77c·c /4~/'e,,,,                       r/·7 /4·z:
                                                                               7                 .;1-"




                                                                                   ..        -~ ,.,,,..,.,1-r,:i:::{J,,-/,·.:::c;.,;,::c,-;4S
            b. Second Accommodation -- Recommendation:            _ _,_/_ Approval tv, ~ - - Disapproval
            Reason:    ~e       aJ;.~.c:iJ.r•4.-.?J·/7c::C /;;,-1:7¢~              9/
                                                                                    ✓-z//7
                                                                           /       l     7               '




            c. Third Accommodation -- Recommendation:                ✓    Approval                                  Disapproval
            Reason:   ~C        O   aoJU 77cc k                      z&;!,.-<.{. 97 hpI z




            d. Fourth Accommodation -- Recommendation:                    Approval                                  Disapproval
            Reason:




            e. Fifth Accommodation -- Recommendation:                     Approval                                  Disapproval
            Reason:




     CR-3735 (Rev. 06-10)                   Duplicate as Needed                                                                            3


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                                                                 PageID #: 2448
                                                                       i!ll    lllll


                                                                       I I
                                                                 Betterp1e public good~




      :E:~.::::l~:hburn #                                     1./ ,1,~
      FM: Chaplain Jon Sho~ebarge~\~~plain To.p-si·
      THRU: AWT Yolanda Pittman . \
                                                            ~~~
                                                       £:7',,✓ ·
                                            l"t:Jktv,....~.. :
      RE: Tennessee Department of      or
                                    tc\lon Gr2,l:'~ \ellg1ous Accommodations Request (CR-3735),
          Nation of Islam          \ )
      Wednesday, September 13, 2017 ,,

      The attached CR-3735 is submitted for your action.

      The Nation of Islam faith group is requesting three accommodations in their faith practice here at Trousdale-
      Turner Correctional Center that we need to address, then submit to the Religious Activities Committee at TDOC.
      Items 7a. and 7c, are already being observed and in place here at TTCC (see attachment). I recommend we
      approve those; they are in compliance with their faith tenants.

      Item 7b. requests the group be authorized to receive and purchase DVDs, CDs and text from "Fino/ Coll, 11 the
      official media arm of the Nation of Islam. Our issue as a facility is that inmates are prohibited from purchasing
      "Video cassette tapes, microcassettes, compact discs (CDs) and DVDs... " (TDOC 507.02. VI.E).
      The policy is attached.

      In addition, CoreCivic facilities have had difficulties with Final Call publications. Materials, both printed and
      electronic, often contain language that indtes violence based on race, religion, sex, creed or nationality. This is
      forbidden (TDOC 507.02.C.3,), As a facility, RLUIPA states we would have a compelling governmental reason to
      deny media for institutional safety and security.

      To answer 7b. J recommend we submit this reply to the TDOC/RAC: Approval, With modifications. "The Nation of
      Islam faith group may request religious prvgram materials, in writing, to the Religious Services Department at
      Trousdale-Turner Correctional Center. Upon review and approval, procurement of group faith material will be
      acquired from vendors at the discretion of the facility. The Assistant Warden of Treatment approves all purchases.
      Inmates are prohibited by TDOC policy 507.02. VI.E. to purchase electronic media themselves."

      AWT and Warden agreement/approval of my recommendations only requires your signature on this MEMO; I will
      submit our reply to TDOC/RAC. If you do not concur, please advise. Possibly a meeting is in order. --JS




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 166 of 198 CCI  000766
                                                                 PageID #: 2449
      Effective Date: September 1, 2014                   ) Index# 507.02                      I Page    4   of   13

      Subject:   lNMATE MAIL


                                reasonable susp1c1on, determined that privileged mail or tapes may contain
                                information relating to criminal activity. The privileged mail/tape may be read or
                                listened to outside the presence of the inmate if doing so is necessary to avoid
                                compromising an on-going criminal investigation.        A bound ledger shall be
                                maintained by mail room staff that lists each of privileged mail received/sent, the
                                date inspected and deiivered, and recipient's signature. Mail relating to the
                                implementation of Policy #511.05 (Identification for Post Release) is not considered
                                privileged mail.

                        2.     All incoming inmate privileged mail, staff mail, and packages shall be fluoroscoped
                               for contraband prior to leaving the mail room.

                        3.     Incoming mail may be determined to be a threat to the security of the institution and
                               returned to the sender if, in the opinion of the Warden, it could reasonably be
                               considered to:

                               a.         Be an attempt to incite violence based on race, religion, sex, creed, or
                                          nationality.

                               b.         Advocate, facilitate, or otherwise present a risk of lawlessness, violence,
                                          anarchy, or rebellion against government authority, prison staff, and/or other
                                          inmates.

                               c.         Be an attempt to incite disobedience toward law enforcement officials or
                                          prison staff.

                               d.         Be an attempt to give instructions for the manufacturing or use of intoxicants,
                                          weapons, explosives, drugs, drug paraphernalia, other unlawful articles or
                                          substances, or any other items deemed as contraband.

                               e.         Contain plans to escape, unauthorized entry into the institution, or
                                          information or maps which might aid an escape attempt.

                               f.         Contain information relating to security threat group activity or use of codes
                                          and/or symbols associated with security threat groups.

                               g.      Sexually explicit material or material which features nudity which by its
                                       nature or content poses a threat to the security, good order, or discipline of
                                       the institution, or facilitates criminal activity.

                        4.     Incoming correspondence may include only photographs (no Polaroid-type pictures
                               allowed) and clippings from printed materials. No personal checks, certified checks,
                               money orders, or cash will be accepted.

                        5.     Printed materials may be received by inmates in an unlimited amount, provided they
                               are mailed directly from the publisher(s) or recognized commercial distributor.
                               Persons ordering printed materials for inmates should be careful to accurately
                               identify the seller. Some materials offered on the website of recognized commercial
                               distributors are listed for sale by third-party sellers, and when µ.1rcbased will be
                               mailed from the third•party seller who is not a recognized commercial distributor.




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 167 of 198 CCI  000767
                                                                 PageID #: 2450
      Effective Date: September 1, 2014                 I Index# 507.02                      I Page   5   of    13

      Subject:   INMATE MAIL



                 D.     Books, magazines, and newspapers received directly from the publisher or a recognized
                        distributor are assumed to have been purchased; therefore, when sent into the institution as
                        bulk rate mail, these items will be accepted unless the printed material is denied by the
                        Warden under the provisions outlined in Section VI.(C)(3) above. These items will not be
                        considered packages. All other bulk rate mail will not be processed by institutional mail
                        room staff. Unauthorized items sent by bulk rate with guaranteed postage paid if returned
                        shall be returned to the sender. Other undelivered bulk rate mail shall be destroyed. Inmates
                        who want to receive other items that are normally sent bulk rate mail must prepay first or
                        second class postage for the material to be delivered by TDOC staff.

                 E.     Video cassette tapes, microcassettes, compact discs (CDs), and DVDs are not permitted.

                 F.     Audio cassette tapes may be received in accordance with Policy #504.01, Inmate Personal
                        Property, and under the following circumstances:

                        I.      Inmates with a disability or other condition that prevents the inmate from being able
                                to engage in written correspondence may receive communication tapes. Special
                                approval is required by the Warden via the inmate's counselor.

                        2.      Religious/educational tapes may be received from recognized religious groups. (See
                                Policy #118.01)

                        3.      Inmates participating in an approved educational correspondence course may receive
                                audio cassette tapes mailed directly from the educational facility providing the
                                course. (See Policy #117.02)

                        4.      Legal tapes, CDs, and DVDs may be received from attorneys of record.

                        5.      Musical tapes may not be received.

                 G.     All incoming mail must bear the inmate's committed name, TDOC identification number,
                        and the correct institutional address of the inmate recipient. Aliases may be included when
                        such have been legally changed through the court. Exception to the TDOC identification
                        number requirement is allowed for incoming Form 1099s, which are issued by the federal
                        government to indicate the inmate's earned wages. In this hsta:nce, the intm1te's Social
                        Security number has been indicated and will serve as proper identification. Every effo1i shall
                        be made to deliver inmate mail; however, when neither the correct identity of the inmate
                        recipient nor the sender can be determined, the mail/package in question shall be returned to
                        the USPS as "undeliverable mail". Incoming mail that has been opened must be resealed and
                        returned with postage paid by the facility.

                        I.      Inmates may correspond with others who are incarcerated. Inmates will not be
                                permitted to enclose stamps in correspondence to other inmates.

                        2.      Inmates in segregation may write and receive letters on the same basis as inmates in
                                the general population.




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                                                                 PageID #: 2451
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                                                              Better the public good.




      Reverend Deborah Thompson
      Director, Religious Programs TDOC
      320 6th Avenue North
      Rachel Jackson Building
      Nashville, TN 37243-0465

      Sunday, September 17, 2017

      Dear Reverend Thompson and the Religious Activities Committee,

      The attached Tennessee Department of Correction Group Accommodations Request (CR-3735) is
      submitted for your action per TDOC policy 118.01.

      After review of the request from the Nation of Islam inmate, Warden Washburn, AWT Pittman, Chaplain
      Simic and I recommend approval of items 7a. and 7c.

      To answer 7b. we recommend this for the TDOC/RAC: Approval. with modifications. "The Nation of Islam faith
      group may request religious program materials, in writing, to the Religious Services Department at Trousdale-
      Turner Correctional Center. Upon review and approval, procurement of group faith material will be acquired from
      vendors at the discretion of the facility. The Assistant Warden of Treatment approves all purchases. inmates are
      prohibited by TDOC policy 507.02. VI, E. to purchase electronic media themselves."
      We will await the decision of the RAC and submit to your directives.




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 169 of 198 CCI  000769
                                                                 PageID #: 2452
     February 14, 2018

     Re:    Religious Activities Committee Request #18-001 (TP-17-822)




     Mr. Michael Tarver, #401478
     nee
     140 Mason Way
     Hartsville, TN 37074

     Dear Mr. Tarver,

     I received your Request for Group Accommodations submitted on behalf of the Sunni Musl;m Community
     Quranic Arabic Studies Class, and the recommendations of the Warden and the Chaplain. The Religious
     Activities Committee (the "Committee") has reviewed your request and voted in the following way:

            1. Disapprove -A special meal will 1,ct be facilitated. Inmates will receive religbus feasts according
               to their individual faith/religious affiliation.
            2. Disapprove -A special meal will ,~ct be facilitated. Inmates will receive religious feasts according
               to their indiv!duai faith/religious ,rffiliation.
            3, Disapprove -The inmates will n·:,: he granted authorization to purchase individual CD players. A
               CD player Is available ln the chap al for religious programs. In addition, a separate Arabic class will
               not be established. The apportu1fi;y tc lean,. Arabic can be accomplished in the weekly Sunni
                  l(!leem religiot1s programs.


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       1~
     cc:    TP-17-822
            Warden Russell Washb1Jrn
            Chaplain Jon Shonebr:.rger




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                Avenue Nor.th• i~i:1shvill::, TN :.<i::!,' __, "-,, <', :i-2$3·3144 • ,:w,, 615•552·6281 •
                tn.gov/correctlon




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 170 of 198 CCI  000770
                                                                 PageID #: 2453
        Reverend Deborah Thompson
        Director, Religious Programs
        320 5th Avenue North
        Rachel Jackson Bulldlng
        Nashvllle, TN 37243-0465

        Wednesday, December 06, 2017

        Dear Reverend Thompson and the Religious Activities Committee,

        The attached Tennessee Department of Correction Group Accommodations Request (CR-3735) Is
        submitted for your action per TDOC policy 118.01.

        After review of the Trousdale-Turner Inmate group submission, Warden Washburn, AWT Pittman and I
        recommend disapproval of all three (3) Accommodations, as stated In the CR-3735.

        We will await the decision of the RAC and wlll submit to your directives.



        Sincerely,



        Chaplain Jon T. Shonebarger, Jr,
        CoreCivlc/TTCC




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                                                                        Ill


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                                                                Better the p11!,{i1: g1,~d.


       Trousdale Turner Correctional Center
       140 Macon Way
       Hartsville, TN 37074




       The attached CR-3735 Is submitted for your action.

       The attached Tennessee Department of Correction Group Accommodations Request (CR-3735) Is submitted for
       your action per TDOC policy 118.01.

       The request was submitted by three Sunni Muslim Inmates. They are seeking three t~ings: A special meal for
       regular program attendees. A special meal for program graduates, and the authorization for each inmate to
       purchase a CD player.

       Be advised, an Arabic Class does not exist at Trousdale-Turner Correctional Center. The Inmates are assuming that
       with this CR-3735 submission a class will be started. The specific request to begin a class is not mention in this
       submission.

       I recommend disapproval of all three requested accommodations, as answered In the attached CR-3735. It is my
       position that Arable studies can be accomplished In the Sunni Taleem study each week, if they choose.

       AWT and Warden agreement/approval of my recommendations only requires your signature on this MEMO; I will
       submit our reply to the TDOC Religious Accommodations Board.




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                                                                 PageID #: 2455
                        TENNESSEE DEPARTMENT OF CORRECTION
                        GROUP RELIGIOUS ACCOMMODATIONS REQUEST

                        (COMPLETE pages 1 & 2; submit to Chaplain; See Polley # 118.01)

         Date Submitted to Chaplain:       _--:...:,:lO=--..,..la'---'l'-t-=----------
               fYYi <,hoe l lcirue<
                              Inmate Name                                                                        TOOC#

         Estimated Number of Inmates in the Group:                      ) (I_

          1.     Official name of the group:
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          2.     Names and contact information of the group's leaders:
                  Mic ~ael    ']Jir-ve,r- ·:pt 40) 1/78             bA,,,.,,.-_._-•"'"-..___________
                 ~~f'"                tfel~H)       j! Y ':/ \,os'\ .J



          3.     The group's teachings, beliefs, and practices:
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          4.     Titles of the group's basic text(s):
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          5.     Other Information helpful In researching the group:
                                               .'//,/,, ..




         CR-3735 (Rev. 06-10)                           Dupllcate as Needed




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 173 of 198 CCI  000773
                                                                 PageID #: 2456
          6.    Names of outside clergy or volunteers available to visit the lnstllutlon:
               _. Tq. 1/\k,; r: e ,}·1   A .·. ....·______________




          7.    DETAILED description of the accommodatlon(s) requested:

                                  )!~:1,tf! 1
                a. First Accommodation
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                e. Fifth Accommodation




         If more than five accommodations are requested, please add additional pages showing Sixth
         Accommodation, Seventh Accommodation, etc.


         CR-3735 (Rev, 06-10)                      Duplicate as Needed                                          2




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 174 of 198 CCI  000774
                                                                 PageID #: 2457
         8.   Recommendations by the Warden and the Chaplain
                                                                              /
              Date Sent to the Religious Activities Committee:   ~Q~-'"'"'-,·:'"'·.,_·_,,._;_:,_•·-----------~
                                                                                                        Disapproval




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                                                                                  _              ----------


              b. Second Accommodation -- Recommendation:




              C.




                                                                                                        Disapproval
              Reason;


              ------------------------- ------ ....................-



              e. Fifth Accommodation-· Recommendation;                      Approval                    Disapproval
              Reason:




        CR-3735 (Rev. 06-10)                   Duplicate as Needed                                                    3




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 175 of 198 CCI  000775
                                                                 PageID #: 2458
  Ill   Depactmeet of
  -.Correction

        September 7, 201 7

        Edwin Steakley #312255
        TTCC
        140 Macon Way
        Hartsville, TN 37074



        Dear Mr. Steakley,

        We received your letter regarding the status of your group accommodations request and
        policy 116.08. Your letter was mailed regarding the Religious Activity Committee decision,
        We are enclosing a copy of the letter in the event you haven't received the letter and a copy
        of policy 116.08. Feel free to contact our office if you have any other questions or concerns.



        Sinc~e,


        Deb~~~
        Director of Religious, Volunteer & Victim Services


        TP-17-566
        Chaplain Jon Shonebarger, Jr,
        Warden Russell Washburn




                                    th
        Department of Correction • 6 Floor Rachel Jackson Building • 320 Sixth Avenue North •
        Nashville, TN 37243 • Tel: 615-253-8261 • Fax: 615-741-1055 • tn.gov/Correction




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 176 of 198 CCI  000776
                                                                 PageID #: 2459
                        ~CoreCivic                       Better the public good.




      August 31, 2017

      RE: Religious Activities Group Accommodation
      TO: Edwin Steakley #312255, FA-110L
      FM: Chaplain Shonebarger, Religious Services Department



      Mr. Steakley,

      Ms. Thompson, Director of Religious, Volunteer & Victim Services has provided me a copy of the
      corrected Religious Activities Committee Request #17-011. This was your Group Accommodation
      Request for the Orthodox Jewish faith group. The corrected reply is attached for your records.

      Be aware there has not been any other Orthodox Jewish inmates seeking to meet. Until a group is
      formed, we encourage you to continue to practice your faith individually, within the bounds of policy,
      and seek our assistance in your faith practice. We are here to support you and all nee inmates with
      their faith.

      We have also solicited donations from Jewish organizations that can benefit all our Jewish inmates.
      If you have questions, please come to the Chaplain's Office.




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 177 of 198 CCI  000777
                                                                 PageID #: 2460
   August 8, 2017

   Re:             Religious Activities Committee Request# 17-011

   Mr. Edwin Lee Steakley #312255
   TTCC
   140 Macon Way
   Hartsville, TN 3 7074

   Dear Mr. Steakley:

   I received your Request for Group Accommodations submitted on behalf of the Jewish Worship
   (Judaism) at TTCC and the recommendations of the Warden and the Chaplain. The Religious
   Activities Committee ("the Committee") has reviewed your request and voted in the following way:

                   1. Approval with modifications - High holy days will be facilitated for inmates registered Jewish in
                      TOMISs. Ceremonial items: kosher grape juice, and matzo will be provided. Religious Group
                      property will be in compliance with TDOC policy. Program times will be scheduled in accordance
                      with safety and security ofTTCC. Inmates will eat the diet they are registered for at TTCC.
                   2. Approval with modifications - Seder services will be facilitated for inmates registered Jewish in
                      TO MIS. The items required on the Seder tray will be provided, as well as kosher for Passover
                      grape juice and matzo. Inmates will eat the diet they are registered for at TTCC.
                   3. Approval with modifications - There are not outside religious ceremonies at TTCC due to
                      security parameter and safety/security considerations, As a result, a sukkot will not be built nor
                      will inmates spend the night outside a secure cell. TTCC will facilitate an indoor evening program
                      with ceremonial kosher grape juice and matzo. Inmates will eat the diet they are registered for.
                   4. Approval with modifications - A battery operated menorah will be provided for the ceremony as a
                      result of safety. While kosher donuts, potato cakes and dredles are not tradition, they are not
                      mandated by policy and will not be facilitated. Inmates will eat the diet they are registered for at
                              TTCC.
                   5. Approval with modifications -The Saturday sabbeth service will be scheduled and facilitated,
                      Battery operated candles will be provided as well as kosher grape juice for the Kiddush. A Torah
                      Scroll wilt not be provided.

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   DeboraJ1 Thompson '
   Director of Religious, Volunteer, & Victim Services

   cc:             TP-17-377
                   TP-17-294
                   TP-17-492
                   Blair Leibach, Warden
                   Jon Shonebarger Jr., Chaplain

                            Communication Department • Sixth Floor Rachel Jackson Building• 320 Sixth
                            Avenue North • Nashville, TN 37243 • Tel: 615-253-8144; Fax: 615-532-8281 •
                            tn,gov/correction




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                                                                 PageID #: 2461
 Shonebarger Jr, Jon

 From:                            Cynthia Sword <Cynthia.Sword@tn.gov>
 Sent:                            Thursday, August 31, 2017 9:31 AM
 To:                              Shonebarger Jr, Jon
 Subject:                         FW: Attached Image
 Attachments:                     3507_001.pdf


 H* This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from unknown senders or
 unexpected email. ***




 From: Cynthia Sword
 Sent: Thursday, August 31, 2017 9:14 AM
 To: 'jonshonebargerjr@corecivic.com'; 'Blair.Leibach@corecivlc.com'; 'yolanda.pittman@corecivic.com'
 Cc: Deborah Thompson
 Subject: FW: Attached Image

 Chaplain,

 I apologize that Mr. Edwin Steakley's #312255 letter was incorrect. The letter that went to the RAC was correct;
 however when I mailed the letter out I failed to type the 5th recommendation. Attached is a corrected copy of the
 letter. Would you please see that Mr. Steakley gets a copy of the corrected letter?

 Thank you in advance for your cooperation in this matter.

 Cindy

 From: noreply@tn.gov [mailto:noreply@tn.gov]
 Sent: Wednesday, August 30, 2017 1:19 PM
 To: Cynthia Sword
 Subject: Attached Image




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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 179 of 198 CCI  000779
                                                                 PageID #: 2462
      Reverend Deborah Thompson
      Director Religious Services TDOC
      320 6th Avenue North
      Rachel Jackson Building
      Nashville TN 37243-0465

      Monday, June 12, 2017



      Reverend Thompson and the Religious Activities Committee,

      The attached Tennessee Department of Correction Group Accommodations Request (CR-3735), is
      submitted for your action per TDOC policy 118.01. After review of the request from the Jewish inmate,
      Warden Washburn, AWT Pittman and Chaplain Shonebarger have approved each accommodation with
      modifications.

     • We will await the decision of the RAC and submit to your directives.




      Rev. Jon T. Shonebarger, Jr.
      Chaplain, CoreCivic/TTCC
      140 Macon Road
      Hartsville, TN 37074




Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 180 of 198 CCI  000780
                                                                 PageID #: 2463
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                                                                                            Better the public good.




      MEMORANDUM

      TO: Warden Washbuf~                                       f //
      Thru: AW Pittman ·                                        'a.il,L.
      FM: Chaplain Shoneba      r
      RE: Tennessee Depart      nt of Correction Group Religious Accommodations Request (CR-3735)

      Thursday, June 08, 2017

      The attached CR-3735 is submitted to you for review and approval.

      This is a request for the establishment of a Jewish faith group and observations of holy days. The inmates
      requesting the establishment of the religion and its practices are all registered Jewish in TOMIS. I do not consider
      them knowledgeable of the faith, however, they do have the right to request their faith be facilitated here at TTCC.

      I have extensive experience with Jewish inmates, prison programming, required faith tenets and their
      security/safety applications in a correctional setting.

      I have answered the Accommodations Request for the prison on the attached form; however, I have copies of the
      request and will modify, correct and/or change anything as directed by the AW or Warden. I recommend the
      approval of each Accommodation, "Subject to conditions."

      Please notice my response to the !<bsher meal reauest. I answered each inmate will receive the diet he is assigned
      here at TTCC, being cognizant that CoreCivic is not offering kosher meals. It could be interesting what Director
      Thompson and the TDOC Religious Activities Committee rules in reference to the inmate's request.

      We must submit to TDOC, Director Thompson and the Religious Activities Committee by June 18th •

      AWT and Warden agreement/approval of my answers only requires an ok on this Memo. Otherwise, please advise
      of modifications. Possibly a meeting is In order. Thx.




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                                                                 PageID #: 2464
                      TENNESSEE DEPARTMENT OF CORRECTION
                      GROUP RELIGIOUS ACCOMMODATIONS REQUEST

                      (COMPLETE pages 1 & 2; submit to Chaplain; See Policy# 118.01)

          Date Submitted to Chaplain:
                           .,     )
                                        /2?,'li. /?//;?OJ 7
                                               {1    ~

                               _.,X;:, ~a .1    ..   Jk
                                                                                       moct1
      Estimated Number of Inmates in th€ Group:               /()·f




      4.




     5.




    GR-3735 (Rev. 06-10)                       Duplicate as Needed


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                                                                 PageID #: 2465
         6.    Names of outside clergy or volunteers available to visit the institution:




         7.    DETAILED description of the accommodation(s) requested;
               a. First Accommodation


                                                                                              l1



               b. Second Accommodation




              c. Third Accommodation




                    ~h Accommodation




              e. Fifth Accommodation




      If more than five accommodations are requested, please add additional pages showing Sixth
      Accommodation, Seventh Accommodation, etc.


      CR-3735 (Rev. 06-10)                      Duplicate as Needed                           2


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                                                                 PageID #: 2466
        8.   Recommendations by the Warden and the Chaplain          -:17J,/\e.. ...-a?, olo / 7
             Date Sent to the Religious Activities Committee:   ~ , . . ( ?6J .,~p,-q(,            £J~




             c. Third Accommodation -- Recommendation:                                             Disapproval




      CR-3735 (Rev. 06-10)                    Duplicate as Needed_                                               3




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                                                                 PageID #: 2467
         9.    Approval or Disapproval by the Religious Activities Committee

               Date of Approval or Disapproval;

               a. First Accommodation:       _ _ _ Disapproved                 Approved




               b. Second Accommodation:      _ _ _ Disapproved         _ _ _ Approved - subject to conditions:




              c. Third Accommodation;        _ _ _ Disapprov.ed _ _ _ Approved




              d. Fourth Accommodation:      _ _ _ Disapproved                  Approved




              e. Fifth Accommodation:       _ _ _ Disapproved                  Approved




      CR-3735 (Rev. 06-10)                    DuJ".)licate as Needed                                        .4


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Case 3:22-cv-00093 Document 33-17 Filed 05/04/22 Page 186 of 198 CCI  000786
                                                                 PageID #: 2469
        June 29. 2017

        Ed·win Lee Steakley, Jr. #312255
        TTCC
        140 Mason Way
        Haitsville TN 37074



        Dear Mr. Steakley, Jr.

        We received your group accommodation request, however, you need to submit this request
        to the Chaplain and Warden for their recommendations per policy. The Chaplain will submit
        to us. Thank you and if you have any further questions, feel free to contact our office.




        Sinc~I Yi
             ·u~Lvi~~
        Deb -rah Thompson
        Director of Religious, Volunteer & Victim Services

         Cc: TP-17-294
        J;haplain Jon Shonebarger
      -✓ Warden Russell Washburn




        Department of Correction • 6th Floor Rachel Jackson Building• 320 Sixth Avenue North •
        Nashville, TN 37243 • Tel: 615-253-8261 • Fax: 615-741-1055 • tn.gov/Correction




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                                                                 PageID #: 2470
       June 29. 2017

       Edwin Lee Steakley, Jr. #312255
       TTCC
       140 Mason Way
       Hartsville TN 37074



       Dear Mr. Steakley, Jr.

       We received your group accommodation request, however, you need to submit this request
       to the Chaplain and Warden for their recommendations per policy. The Chaplain will submit
       to us. Thank you and if you have any further questions, feel free to contact our office.




       Sirtc~rly,
            'l)ttLZV~<
       Deb rah Thompson
       Director of Religious, Volunteer & Victim Services

      ,,,Cc: TP-17-294
     ✓ Chaplain Jon Shonebarger
       Warden Russell Washburn




                                      1
       Department of Correction • 6t1 Floor Rachel Jackson Building • 320 Sixth Avenue North •
       Nashville, TN 37243 • Tel: 615-253-8261 • Fax: 615-7 41-1055 • tn,gov/Correction




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                                                                 PageID #: 2471
 Shonebarger Jr, Jon

 From:                             Shonebarger Jr, Jon
 Sent:                             Tuesday, November 28, 2017 12:48 PM
 To:                               'Christopher Brun'; Washburn, Russell; Pittman, Yolanda
 Cc:                               'Deborah D. Thompson'
 Subject:                          RE: Chris Brun Inquiry

 Follow Up Flag:                   Follow up
 Flag Status:                      Flagged



 Chris,

 I have reviewed the attachments from inmate Steakley. There was an approval from TDOC on a
 "Group Accommodation". However, there is no group (any other inmates) seeking to have an
 organized program. Inmate Steakley is alone. We will respect his faith and assist in his independent
 worship and faith practice. His faith is not being denied. In addition, we have acquired donated books
 for his, and other inmates spiritual studies.

 Be aware that when I spoke to Director Thompson about the lack of a group of inmates, she directed
 me to NOT QUERY the TTCC population for interested inmates. She stated that is each inmate's
 personal responsibility. Be aware I was out on 6 weeks FMLA, but Chaplain Simic did not receive any
 request from any other Jewish inmate. It is apparent to me that inmate Steakley is pressing to merge
 other faith groups in hopes of gaining time and space in the Chapel for whoever shows up. This is not
 acceptable.

 Please advise if you need additional information,

 Chaplain Shonebarger

 From: Christopher Brun [mailto:Christopher.Brun@tn.gov]
 Sent: Tuesday, November 28, 2017 12:12 PM
 To: Washburn, Russell <Russell.Washburn@corecivic.com>; Pittman, Yolanda <Yolanda.Pittman@corecivic.com>;
 Shonebarger Jr, Jon <Jon.ShonebargerJr@corecivic.com>
 Subject: FW: Attached Image


 *** This is an .EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from unknown senders or
 unexpected email. ***

 Attached is documentation along with a grievance inmate Steakley gave me inf unit today. He keeps copies of Director
 Thompsons letter on him at all times and he will probably attempt to stop any of our visitors tomorrow as well with his
 ongoing religious issues. I want as all to be on the same page with his Issue.




  m
 CHRIS BRUN
            Correction

 TDOC LIAISON TROUSDALE TURNER CORRECTIONAL CENTER




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                                                                 PageID #: 2472
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                                                                 I I
                                                           Better the public good.




       Monday, December 11, 2017


       Dear Mr. Edwin Steakley (312255),

       We are responding to your inquiry with Tennessee Department of Correction concerning a kosher diet
       and the Religious Group Accommodations Request for the Jewish Faith Group.

       As Trousdale Turner Correctional Center administration has previously advised you, CoreCivic TDOC
       prisons are not regulated by TDOC policy 116.08 and do not provide kosher diets. Any inmate may
       request an "Alternative" diet if they do not want to consume a "Regular" diet. In addition, the Religious
       Services Department does not prescribe diets based on medical needs. You must consult with our
       Medical Department for health concerns.

       In addition, the Religious Activities Committee Reply #17-011 for your Group Accommodations Request
       (CR-3735}, was approved on August 81 2017. However, as previously conveyed to you, you are the only
       inmate seeking to participate in group activities. There is no "group" here at Trousdale Turner
       Correctional Center. It is the responsibility of every inmate to communicate with the Chaplaincy
       Department on matters of their faith and practice. There has been no interest by the Jewish inmate
       population to start group religious programs. As a result, we will continue to assist you in your personal
       faith and practice until a group can be formed. Finally, TDOC recognizes 90 different religions; not all of
       those religions have formed into groups.

       The religious rights of every inmate continues to be our commitment. Please come to the Chaplain's
       Office to further discuss your questions of faith and practice.




       Chaplain Jon Shonebarger
       CoreCivic/TTCC




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                                                                 PageID #: 2473
 Shonebarger Jr, Jon

 From:                            Patricia Aldridge < Patricia.Aldridge@tn.gov>
 Sent:                            Tuesday, December 12, 2017 6:24 AM
 To:                              Shonebarger Jr, Jon
 Subject:                         Edwin Steakley #312255 response letter approved
 Attachments:                     Edwin Steakley #312255 response letter approved,docx

 Follow Up Flag:                  Follow up
 Flag Status:                     Flagged



 *** This is an EXTERNAL email. Please exercise caution. DO NOT open attachments or click links from   unknown senders or
 unexpected email.   ***
 Good morning,

 The attached response letter has been approved. I have removed my name from the response. Please forward a copy
 of the attached response letter to the inmate. Thank you for your response.




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                                                                 PageID #: 2474
                                                                                   II

                           ~CoreCi                                                 I
                                                                     Better the public good.


      MEMORANDUM
      TO: Warden Russell Washburn
      FM: Chaplain Jon Shonebarger; Chaplain Tom Simic
      THRU: AWT Yolanda Pittman
      RE: Tennessee Department of Correction Group Religious Accommodations Request (CR-3735),
          Nation of Islam

      Wednesday, September 13, 2017

      The attached CR-3735 is submitted for your action.

      The Nation of Islam faith group is reque~ting three accommodations in their faith practice here at Trousdale-
      Turner Correctional Center that we need to address, then submit to the Religious Activities Committee at TDOC.
      Items 7a.   and 7c. are already being observed and in place here at nee (see attachment). I recommend we
      approve those; they are in compliance with their faith tenants.

      Item 7b. requests the group be authorized to receive and purchase DVDs, CDs and text from "Final Call," the
      official media arm of the Nation of Islam. Our issue as a facility is that inmates are prohibited from purchasing
      "Video cassette tapes, microcassettesJ cc;r;<Jpact discs (CDs) and DVDs ... " (TDOC 507 .02. VI.E).
      The policy is attached.

      In addition, CoreCivic facilities have had difficulties with   Final Call publications. Materials, both printed and
      electronic, often contain language that incites violence based on race, religion, sex, creed or nationality. This is
      forbidden (TDOC 507.02.C.3.). As a facility, :1 ..UIPA states we would have a compelling governmental reason to
      deny media for institution,.! safety and security.

      To answer 7b. f recommend we submit t:1is rep/;· to the TDOC/RAC: Abbroval. with modff/catlons.        "The Nation of
      Islam faith group may requesr te/lg!ous ,.>ro;;ram materials, in writing, t'o the Religious Services Department at
      Trousdale-Turner Correctional Center. U;on review and approval, procurement of group faith material will be
      acquired from vendors at the discretion cf t/,5 fr;c/lity. The Assistant Warden of Treatment approves all purchases.
      Inmates are prohibited by TDOC policy 507.02. v:.E. to purchase electronic media themselves."
      AWT and Warden agreement/approvai cf my recommendations only requires your signature :>n this MEMO; I will
      submit our reply to TDOC/RAC. If you d!'. not concur, please advise. Possibly a meeting is in order. --JS




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                                                                 PageID #: 2475
         6.    Names of outside clergy or volunteers available to visit the institution:
                Brother Andrew Muhammad
                Brother Robert Muhammad
                 Rrothm Frie Muh8"-U!..Llla;~d~----------------------




         7.    DETAILED description of the accommodation(s) requested:
               a. First Accommodation

               Ibat we he able ta practice our Islamic ReHgim1s Brief accordio&UQ.the teachings of
               Mnst Hnnornble Elijah Muhammr1d and Hnnor8ble Minister Louis Farrakhan of the
               Natiao af Islam pursuant to TDOC Policy #118'01 and RLUIPA.



               b. Second Accommodation
                                                                                           1
               Ibat we be able ta receive and purchase Nation of Islam DVD's, CD s and Iexi:_
               Material, which ta iocl11de !be Eibal Gall Newspapei:_p1 ,cst iaot lnIDDC Polley
               #11 B 01 r1nrl #S07 0?, ::ind      RI I IIPA




               c. Third Accommodation
              Jbat we be able to observe Savior Day which is celebrated by the Natlao af 1s18'"1L
               on 26th day of Eebn iary, aodlhe Holy Month of Ramada • p11rs11aot to IDOC Policy
               #118 01 anrl RI lJIPA



               d. Fourth Accommodation




               e. Fifth Accommodation




        If more than five accommodations are requested, please add additional pages showing Sixth
        Accommodation, Seventh Accommodation, etc.


        CR-3735 (Rev. 06-10)                      Duplicate as Needed                             2




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                                                                 PageID #: 2476
     Effective Date: September I, 2014                  I Index# 507.02                      I Page    4   of 13

     Subject:   INMATE MAIL


                               reasonable susp1c10n, determined that privileged mail or tapes may contain
                               information relating to criminal activity. The privileged mail/tape may be read or
                               listened to outside the presence of the inmate if doing so is necessary to avoid
                               compromising an on-going criminal investigation. A bound ledger shall be
                               maintained by mail room staff that lists each of privileged mail received/sent, the
                               date inspected and delivered, and recipient's signature. Mail relating to the
                               implementation of Policy #511.05 (Identification for Post Release) is not considered
                               privileged mail.

                       2.      All incoming inmate privileged mail, staff mail, and packages shall be fluoroscoped
                               for contraband prior to leaving the mail room.

                       3,      Incoming mail may be determined to be a threat to the security of the institution and
                               returned to the sender if, in the opinion of the Warden, it could reasonably be
                               considered to:

                               a.        Be an attempt to incite violence based on race, religion, sex, creed, or
                                         nationality.

                               b.        Advocate, facilitate, or otherwise present a risk of lawlessness, violence,
                                         anarchy, or rebellion against government authority, prson staff, and/or other
                                         inmates.

                               c.        Be an attempt to incite disobedience toward law enforcement officials or
                                         prison staff.

                               d.        Be an attempt to give instructions for the manufacturing or use of intoxicants,
                                         weapons, explosives, drugs, drug paraphernalia, other unlawful articles or
                                         substances, or any other items deemed as contraband.

                               e.        Contain plans to escape, unauthorized entry into the institution, or
                                         information or maps which might aid an escape attempt.

                               f.        Contain information relating to security threat group activity or use of codes
                                         and/or symbols associated with security threat groups.

                               g.        Sexually explicit material or material which features nudity which by its
                                         nature or content poses a threat to the security, good order, or discipline of
                                         the institution, or facilitates criminal activity.

                        4.     Incoming correspondence may include only photographs (no Polaroid-type pictures
                               allowed) and clippings from printed materials. No personal checks, certified checks,
                               money orders, or cash will be accepted.

                        5.     Printed materials may be received by inmates in an unlimited amount, provided they
                               are mailed directly from the publisher(s) or recognized commercial distributor.
                               Persons ordering printed materials for inmates should be careful to accurately
                               identify the seller. Some materials offered on the website of recognized commercial
                               distributors are listed for sale by third-party sellers, and when p.1rchased will be
                               mailed from the third-party seller who is not a recognized commercial distributor.




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                                                                 PageID #: 2477
     Effective Date: September 1, 2014                I Index# 507 .02                     I Page    5   of 13

     Subject:   INMATE MAIL



                D.     Books, magazines, and newspapers received directly from the publisher or a recognized
                       distributor are assumed to have been purchased; therefore, when sent into the institution as
                       bulk rate mail, these items will be accepted unless the printed material is denied by the
                       Warden under the provisions outlined in Section Vl.(C)(3) above. These items will not be
                       considered packages. All other bulk rate mail will not be processed by institutional mail
                       room staff. Unauthorized items sent by bulk rate with guaranteed postage paid if returned
                       shall be returned to the sender. Other undelivered bulk rate mail shall be destroyed. Inmates
                       who want to receive other items that are normally sent bulk rate mail must prepay first or
                       second class postage for the material to be delivered by TDOC staff.

                E.     Video cassette tapes, microcassettes, compact discs (CDs), and DVDs are not permitted

                F.     Audio cassette tapes may be received in accordance with Policy #504.01, Inmate Personal
                       Property, and under the following circumstances:

                        1.     Inmates with a disability or other condition that prevents the inmate from being able
                               to engage in written correspondence may receive communication tapes. Special
                               approval is required by the Warden via the inmate's counselor.

                       2.      Religious/educational tapes may be received from recognized religious groups. (See
                               Policy #118.01)

                       3.      Inmates participating in an approved educational correspondence course may receive
                               audio cassette tapes mailed directly from the educational facility providing the
                               course. (See Policy #117 .02)

                       4.      Legal tapes, CDs, and DVDs may be received from attorneys of record.

                       5.      Musical tapes may not be received.

                G.     All incoming mail must bear the inmate's committed name, TDOC identification number,
                       and the correct institutional address of the inmate recipient. Aliases may be included when
                       such have been legally changed through the court. Exception to the TDOC identification
                       number requirement is allowed for incoming Form 1099s, which are issued by the federal
                       government to indicate the inmate's earned wages. In this hstance, the inmate's Social
                       Security number has been indicated and will serve as proper identification. Every effort shall
                       be made to deliver inmate mail; however, when neither the correct identity of the inmate
                       recipient nor the sender can be determined, the mail/package in question shall be returned to
                       the USPS as "undeliverable mail". Incoming mail that has been opened must be resealed and
                       returned with postage paid by the facility.

                        1.     Inmates may correspond with others who are incarcerated. Inmates will not be
                               permitted to enclose stamps in correspondence to other inmates.

                       2.      Inmates in segregation may write and receive letters on the same basis as inmates in
                               the general population.




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                                                                 PageID #: 2478
               _Core
                                            Ill    II


                                            IVI                                TROUSDALE TURNER CORRECTIONAL CENTER




               MEMORANDUM                                                                    #18-043
                TO:                 ALL Inmate Population

                FROM:               Russell Washburn, Warden

                DATE:               April 12, 2018


                SUBJECT:            UNION SUPPLY CATALOG

              The following is a list of items not allowed at nee as designated through TDOC of our In-house policy:

                   ..     Page 5            Item # 1055013               Shower Sandal
                   "      Page 5            I tern # 1055009             Shower Slippers
                          Page 6                                         All Insoles
                   "
                   •      Page 14           Item # 5040001               Wristband
                   ..     Page 15           Item # 2506005               Handkerchief
                   ..     Page 19           Item # 4001123               Clear Tunes Antenna
                          Page 24           Item# 7520063                Wide Tooth Comb
                   "
                          Page 24           Item# 7520083                9" Comb
                   ..     Page 24           Item# 7505004                Vented Brush
                          Page 24           Item # 7099025               Body Puff
                   ..     Page 24           Item# 7515110                Toe Nail Clipper (No File)
                          Page 26           Item # 6070070               Abalone Shell
                          Page 26           Item # 6070169               Turkey Feather
                   Ill    Page 26           Item # 6070126               Drum Kit
                   ..     Page 27           Item ff 6070039              Modern Tallit w/Matching Kipa, Tallit Bag
                          Page 28           Item ff 6070210              Brass Cauldron 3'

               Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

                          Page 33           Item# 7520205                Jumbo Ouchless Ponytail Holders
                   .,     Page 33           Item # 7520201               Ouchless Ponytail Holder
                          Page 33           Item # 7520067               Super Stretch Rubber Band

              The following items cannot be ordered, although you may check them out of the library:

                          Page 27           Item # 6599942               Torah
                   "
                   ..     Page 27           Item ff 6599938              The Prose Edda-The Tale from Norse
                                                                         Mythology
                          Page 27           Item # 6599943               Bhagavad Gita
                   ..     Page 27           Item It 6599939              The Poetic Edda-The Mythological Poems
                          Page 28           Item # 6070010               The Qur'an Translation


               CC: TDOC

      140 Macon Way· Hartsville, TN 37074               Phone (615) 808-0400 · Fax (615) 808-0499             www, corecivic.com




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                                                                 PageID #: 2479
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                  Core IVI                                                       TROUSDALE TURNER CORRECTIONAL CENTER




               MEMORANDUM                                                                      #18-043A
                TO:                ALL Inmate Population


                FROM:              Russell Washburn, Warden


                DATE:              August 2, 2018


                SUBJECT:           UNION SUPPLY CATALOG


              The following is a list of items not allowed at TTCC as designated through TDOC of our in-house policy:

                         Page 5             Item # 1055013                 Shower Sandal
                   ..    Page 5             Item # 1055009                 Shower Slippers
                   ..    Page 6                                            All Insoles
                         Page 14            Item # 5040001                 Wristband

                   "'    Page 15            Item It- 2506005               Handkerchief

                   "     Page 19            Item # 4001123                 Clear Tunes Antenna
                   Ill   Page 24            Item# 7520063                  Wide Tooth Comb
                   ..    Page 24            Item# 7520083                  9" Comb
                         Page 24            Item # 7505004                 Vented Brush
                         Page 24            Item # 7099025                 Body Puff
                         Page 24            Item# 7515110                  Toe Nail Clipper (No File)
                         Page 26            Item # 6070070                 Abalone Shell
                         Page 26            Item # 6070169                 Turkey Feather
                   "
                   i>    Page 26            Item # 6070126                 Drum Kit

                   "     Page 27            Item # 6070039                 Modern Tai lit w/Matching Kipa, Tai lit Bag
                   111   Page 28            Item# 6070210                  Brass Cauldron 3'

               Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

                   "     Page 33            Item # 7520205                 Jumbo Ouchless Ponytail Holders
                         Page 33            Item# 7520201                  Ouchless Ponytail Holder
                   "
                         Page 33            Item If 7520067                Super Stretch Rubber Band
                   "




               CC:TDOC


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                                                                 PageID #: 2480
                                              Iii    Ill


                  C                           IVIC                                 TROUSDALE TURNER CORRECTIONAL CENTER




               MEMORANDUM                                                                        #18-043B
                TO:                 ALL Inmate Population

                FROM:               Russell Washburn, Warden

                DATE:               September 20, 2018

                SUBJECT:            UNION SUPPLY CATALOG


              The following is a list of items not allowed at   nee as designated through TDOe of our in-house policy:
                   ..     Page S             Item # 1055013                  Shower Sandal
                   Ill    Page 5             Item # 1055009                  Shower Slippers
                   ..     Page 6                                             All Insoles
                   ..     Page 14            Item # 5040001                  Wristband
                   .,     Page 15            Item # 2506005                  Handkerchief
                          Page 19            Item # 4001123                  Clear Tunes Antenna
                   .."'   Page 24            Item   # 7520063                Wide Tooth Comb
                          Page 24            Item# 7520083                   9" Comb
                          Page 24            Item ff 7505004                 Vented Brush
                          Page 24            Item # 7099025                  Body Puff
                          Page 24            Item# 7515110                   Toe Nail Cllpper (No File)
                   "
                   ..     Page 24            Item # 7515010                  Trim Nail Clipper
                   ..     Page 24            Item # 4034239                  Level 10 Battery Shaver
                          Page 26            Item # 6070070                  Abalone Shell
                   ..     Page 26            Item# 6070169                   Turkey Feather
                          Page 26            Item ti 6070126                 Drum Kit
                   ..     Page 27            Item # 6070039                  Modern Tai lit w/Matching Kipa, Tallit Bag
                          Page 28            Item# 6070210                   Brass Cauldron 3'

              Nothing from the Women's section pages 29-33. Allowable items on page 33 are as follows:

                   ..     Page 33            Item # 7520205                  Jumbo Ouchless Ponytail Holders
                   ,.     Page 33            Item# 7520201                   Ouchless Ponytail Holder
                          Page 33            Item# 7520067                   Super Stretch Rubber Band




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                                                                 PageID #: 2481
